Exhibit A

Agency Agreement
Execution Version

AGENCY AGREEMENT

This Agency Agreement (“Agreement”) is made as of February 26, 2025, by and between
(a) JOANN Inc. (together with its subsidiaries listed on Annex 1, the “Merchant”) and
(b) GA Joann Retail Partnership, LLC (“Agent”) and Wilmington Savings Fund Society, FSB, in
its capacity as prepetition term loan agent (the “Term Agent” and together with Agent,
“Purchaser”; Purchaser and Merchant are each a “Party” and collectively the “Parties”).

Section 1. Recitals

WHEREAS, on January 15, 2025 (the “Petition Date”), Merchant commenced voluntary
chapter 11 bankruptcy cases (the “Bankruptcy Cases”) in the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”).

WHEREAS, Merchant entered into that certain Second Amended and Restated Credit
Agreement (the “ABL Credit Agreement”) dated as of April 30, 2024, by and among Jo-Ann
Stores, LLC, as borrower, the other Loan Parties thereto, Bank of America, N.A., as administrative
agent and collateral agent (the “ABL Agent”), and 1903P Loan Agent, LLC, as FILO
Documentation Agent (as defined in the ABL Credit Agreement) (the “FILO Agent”); and

WHEREAS, Merchant entered into that certain Credit Agreement (the “Term Loan Credit
Agreement”) dated as of April 30, 2024, by and among Needle Holdings, LLC, as borrower,
JOANN Holdings 2, LLC, the Term Agent, and the lenders party to the Term Loan Credit
Agreement from time to time (the “Term Lenders”); and

WHEREAS, Merchant operates retail stores and desires that Agent act as Merchant’s
exclusive agent for the purposes of, including with respect to the activities set forth in the order
approving Merchant’s motion seeking approval to commence store closing sales (the “Store
Closing Procedures Order”), and effective only from and after the Closing:

(a) — selling all of the Merchandise (as hereinafter defined) from Merchant’s retail store
locations identified on Exhibit l(a)(1) attached hereto (each a “Store” and
collectively the “Stores”), distribution centers (including e-commerce facilities
such as third-party logistics and e-commerce inventory services) identified on
Exhibit 1(a)(2) attached hereto (each a “Distribution Center” and collectively, the
“Distribution Centers”), wholesale channels or any other channel by means of a
“going out of business,” “store closing,” “sale on everything,” “everything must
go,” or similar sale as described further below (the “GOB Sale”), with the nature
and manner of advertising the GOB Sale being in Agent’s sole discretion, subject
to the terms and conditions of this Agreement and the Sale Guidelines and Approval
Order (each as defined below);

(b) marketing and selling, or otherwise designating the purchasers of the furniture,
furnishings, trade fixtures, machinery, equipment, office supplies, Supplies (as
defined below), conveyor systems, racking, rolling stock, and other tangible
personal property (collectively, “FF&E”) owned by Merchant as of the Closing,
wherever located (“Owned FF&E”);
(c)

(d)

(e)

designating the purchasers, assignees, sublessees, or other transferees of any or all
of Merchant’s unexpired leases of non-residential real property (together with all
amendments, extensions, modifications, and other material documents related
thereto, each a “Lease” and all such Leases collectively, the “Leases”) and
executory contracts (together with all amendments, extensions, modifications, and
other material documents related thereto, each a “Contract” and all such Contracts
collectively, the “Contracts”), in each case excluding any Leases or Contracts that
may be rejected as permitted and in accordance with the procedures under the
Approval Order (defined below) and subject to the assumption and assignment
procedures to be incorporated into the Approval Order;

marketing and selling, or otherwise designating the purchasers, assignees, and/or
licensees of any or all IP Rights owned by Merchant (the “Intellectual Property”);
and

marketing and selling, or otherwise designating the purchasers, licensees, and/or
assignees of any or all of Merchant’s right, title, and interest in and to other real or
tangible property (such right, title and interest, the “Other Assets” and, collectively
with Merchant’s right, title, and interest in and to the Merchandise, Owned FF&E,
Leases, Contracts, and Intellectual Property, the “Assets”). For the avoidance of
doubt, the Other Assets include but are not limited to all cash on hand in the
Merchant’s retail store locations, cash in transit, cash in bank accounts, Merchant’s
interest in and rights with respect to cash posted as collateral for letters of credit or
bonds, receivables (including credit card receivables) (collectively, the foregoing
are “Acquired Cash”), refunds of any nature, deposits, security deposits, credit card
processing float, payment processor reserves, real property, sublease income,
proceeds of retail sales of Merchandise in all of the Debtors’ retail store locations
from and after the Closing, claims and causes of action arising under chapter 5 of
the Bankruptcy Code and similar state law (“Avoidance Actions”), and, except as
provided for in Section 16.21(d), all other claims and causes of action, including
but not limited to commercial tort claims, based on facts and circumstances existing
as of the Closing, whether or not theretofore discovered or asserted (“Other Causes
of Action”); provided that, effective upon the occurrence of the Closing, neither
Purchaser, nor any Person claiming by, through, or on behalf of Purchaser
(including by operation of law, sale, assignment, conveyance, or otherwise) shall
pursue, prosecute, litigate, institute, or commence an action based on, assert, sell,
use defensively, convey, assign or file any claim or cause of action that relates to
(i) any Other Cause of Action against (x) the ABL Agent and Prepetition ABL
Lenders, as defined in the Cash Collateral Order, (y) FILO Agent and the
Prepetition FILO Lenders, as defined in the Cash Collateral Order, and all of the
Prepetition FILO Agent’s affiliates including Gordon Brothers Retail Partners,
LLC, or (z) any Related Party of Merchant, including former directors and officers,
or (ii) any Avoidance Action; provided, further, that Other Assets shall not include
any Excluded Assets. Acquired Cash exclusive of cash posted as collateral for
letters of credit or bonds is “Available Closing Cash.”

NOW, THEREFORE, in consideration of the Purchase Price (as defined below) and the
mutual covenants and agreements set forth in this Agreement, the Parties hereby agree as follows:

Section 2. Appointment of Agent/Approval Order. As soon as practicable after selection of
this Agreement as the Winning Bid (as defined in the order approving the terms of the bidding
process, the “Bid Procedures Order”), Merchant shall seek entry in the Bankruptcy Cases of a
proposed form of order (the “Approval Order’) in form and substance satisfactory to Purchaser.
The Approval Order shall, among other things:

(a)

(b)

find that:

(i)

(ii)

(ili)

(iv)

(v)

this Agreement is in the best interest of Merchant, its estate and
creditors, and other parties-in-interest;

the Parties entered into this Agreement in good faith pursuant to
section 363(m) of the Bankruptcy Code and without collusion as
described in section 363(n) of the Bankruptcy Code;

time is of the essence in effectuating this Agreement and proceeding
with the GOB Sale at the Stores uninterrupted;

Merchant’s decision to enter into this Agreement and perform its
obligations under this Agreement is a reasonable exercise of Merchant’s
sound business judgment consistent with its fiduciary duties and is in
the best interests of Merchant, its estate, its creditors, and other parties-
in-interest; and

this Agreement was negotiated in good faith and at arms’ length and
Purchaser is entitled to the protections of section 363(m) and 364(e) of
the Bankruptcy Code; and

order, adjudge, and decree that:

(i)

(ii)

(iii)

this Agreement and all of the transactions contemplated hereby are
approved in their entirety;

the Parties are authorized to continue to take any and all actions as may
be necessary or desirable to implement this Agreement and each of the
transactions contemplated hereby;

following the satisfaction of the Debt Payoff, all liens and security
interests of the ABL Agent and FILO Agent shall be deemed satisfied
in full, released, and discharged, and as such, following the satisfaction
of the Debt Payoff, the Initial Wind-Down Payment, and the Initial
Central Services Payment (each as defined herein) (together, the “Initial
Purchase Price Funding”), and in accordance with this Agreement, and
subject to Purchaser’s compliance with its other obligations hereunder,
Agent shall have the exclusive right to market and sell, or otherwise
(iv)

(v)

(vi)

(vil)

(viii)

(ix)

designate the purchasers, licensees, and/or assignees of, any or all of the
Assets free and clear of all liens, claims, and encumbrances thereon
(other than Permitted Encumbrances) without further order of the
Bankruptcy Court;

the sale, license, transfer, or other conveyance of any Assets (other than
the Assets being sold pursuant to the GOB Sale, as to which no further
notice shall be required) reflected in notices filed in the Bankruptcy
Cases from time to time by Agent, substantially in the form annexed
hereto as Exhibit 2(b)(iv) (each an “Asset Designation Notice”), shall
be automatically effective on the date reflected in the applicable Asset
Designation Notice and subject to the satisfaction of any closing
conditions reflected therein, and the sale or other conveyance of such
Assets shall be free and clear of all liens, claims, and encumbrances
(other than Permitted Encumbrances) without further order of the
Bankruptcy Court; provided, however, that nothing in the Approval
Order shall inhibit the ability of Agent to seek other or further orders of
the Court in connection with the sale or other disposition of any Assets;

the form of Asset Designation Notice is approved;

subject to Agent’s compliance with its payment obligations under this
Agreement and the Approval Order, Agent is authorized to execute, in
the name of and as agent for Merchant, any and all deeds, bills of sale,
and other instruments or documents necessary to effectuate the sale,
transfer, or other conveyance of any of the Assets, none of which
instruments or documents shall require Merchant to incur any
obligations or other liabilities beyond the terms of this Agreement;

following the satisfaction of the Initial Purchase Price Funding, all
Proceeds received by, or that otherwise come into the possession of,
Merchant or Purchaser at any time after the Closing shall be the sole
property of Purchaser;

following the occurrence of the Closing, and the satisfaction of the
Initial Purchase Price Funding, Merchant and any trustee appointed in
the Bankruptcy Cases or any successor cases thereto shall hold the
Assets (other than the Assets being sold through the GOB Sale) strictly
in trust for the benefit of Purchaser and, as such, the Assets shall not
constitute property of Merchant’s bankruptcy estate pursuant to and
consistent with 11 U.S.C. § 541(b)(1) at any time following the Closing;

following the satisfaction of the Initial Purchase Price Funding, any
Proceeds received by, or that otherwise come into the possession of,
Merchant at any time after the Closing shall be segregated and held
strictly in trust for the benefit of Purchaser, shall not be commingled
with Merchant’s own assets, and, as such, shall not become property of
(xi)

(xil)

(xiii)

(xiv)

Merchant’s bankruptcy estate pursuant to and consistent with 11 U.S.C.
§541(b)(1), and shall be paid over to Agent promptly, but in any event,
not later than in connection with each Weekly Sale Reconciliation;

following the satisfaction of the Initial Purchase Price Funding, and
solely to the extent that any Assets or Proceeds are, notwithstanding the
Approval Order, subsequently determined to constitute property of
Merchant’s estate, but subject to Agent’s obligation to pay Expenses
and fund the Wind-Down Payments, Agent shall have first priority,
senior security interests and liens on all such Assets and Proceeds,
which liens shall be deemed automatically perfected and (x) the
Merchant shall be expressly prohibited from granting any security
interests or liens on the Assets and Proceeds thereof and (y) to the extent
that any security interest or lien is granted or otherwise attaches,
voluntarily or involuntarily, (other than the security interests and liens
in favor of the Agent) to any Assets or Proceeds, such security interests
and liens shall be void ab initio without further order of the Court;
provided that nothing in the Approval Order shall inhibit Agent’s
ability, and the Approval Order shall expressly authorize Agent, to take
any action Agent deems appropriate to perfect and enforce security
interests and liens granted in its favor;

following the satisfaction of the Initial Purchase Price Funding and
subject to Agent’s obligation to pay Expenses and fund the Wind-Down
Payments, until all Assets have been sold or otherwise disposed of, and
solely to the extent that any Assets or Proceeds are, notwithstanding the
Approval Order, subsequently determined to constitute property of
Merchant’s estate, Agent shall have a superpriority administrative
expense claim, which is senior to all other administrative expense
claims (including any other superpriority administrative expense
claims) against Merchant to the extent of any amounts owing from
Merchant to Agent in connection with this Agreement, including as a
result of any breach of this Agreement and/or as a result of any Proceeds
being in Merchant’s possession;

the Lease/Contract Designation Rights are approved, and Agent is
authorized to designate the assignees of any or all of the Contracts and
Leases pursuant thereto;

Agent shall have the exclusive right to use the Stores and all other Assets
for the purpose of conducting the GOB Sale, free of any interference
from any entity or person, subject to compliance with this Agreement
(including payment of Expenses and Wind-Down Payments) the Sale
Guidelines (as defined below) and Approval Order;

Agent, as the exclusive agent for Merchant, is authorized to conduct,
advertise, post signs, utilize sign-walkers, and otherwise promote the
(xv)

(xvi)

(xvil)

(xvili)

39 oe 39 Ge

GOB Sale as a “going out of business”, “store closing”, “sale on
everything”, “everything must go”, or similarly themed sale, in
accordance with the Sale Guidelines (as the same may be modified and
approved by the Bankruptcy Court), subject to compliance with the Sale
Guidelines, the Approval Order, and all applicable federal, state, and
local laws, regulations and ordinances, including, without limitation, all
laws and regulations relating to advertising, privacy, consumer
protection, occupational health and safety and the environment, together
with all applicable statutes, rules, regulations and orders of, and
applicable restrictions imposed by, governmental authorities
(collectively, the “Applicable General Laws”), other than all applicable
laws, ordinances, rules, regulations, or licensing requirements in respect
of “going out of business”, “store closing” or similarly-themed sales
(collectively, the “Liquidation Sale Laws”); provided, however, that
notwithstanding any other provision in the Approval Order, no party
waives any rights to argue any position with respect to whether the
conduct was in compliance with the Approval Order and/or any
applicable law, or that the enforcement of such applicable law is
preempted by the Bankruptcy Code;

provided that the GOB Sale is conducted in accordance with and subject
to the Sale Guidelines and the Approval Order, and in light of provisions
in the laws of many Governmental Units (as defined in the Bankruptcy
Code) that exempt court-ordered sales from their provisions, Agent and
Merchant, to the extent applicable, will be presumed to be in compliance
with any Liquidation Sale Laws and are authorized to conduct the GOB
Sale in accordance with the terms of the Approval Order and the Sale
Guidelines without the necessity of further showing compliance with
any such Liquidation Sale Laws;

Agent may use all Intellectual Property consistent with Merchant’s
ordinary course of business usage and in connection with the conduct of
the GOB Sale;

unless otherwise ordered by the Bankruptcy Court, all newspapers and
other advertising media in which the GOB Sale is advertised shall be
directed to accept the Approval Order as binding and to allow the Parties
to consummate the transactions provided for in this Agreement,
including, without limitation, conducting and advertising the GOB Sale
in the manner contemplated by this Agreement;

unless otherwise ordered by the Bankruptcy Court, all utilities,
landlords, creditors, and other interested parties and all persons acting
for or on their behalf shall not interfere with or otherwise impede the
conduct of the GOB Sale, or institute any action in any forum other than
the Bankruptcy Court that in any way directly or indirectly interferes
with or obstructs or impedes the conduct of the GOB Sale;
(xix)

(xx)

(xxi)

(xxi)

(xxiii)

(xxiv)

(xxv)

(xxvi)

(xxvll)

(xxvlll)

(xxix)

the Bankruptcy Court retains exclusive jurisdiction over the
enforcement and interpretation of, and over and all matters arising from,
this Agreement;

Merchant is directed to provide weekly reporting to Agent of all
amounts expended for Expenses and the Central Services Expenses as
set forth in the Central Services Budget;

Merchant shall make its books and records reasonably available to
Agent;

Agent shall not be liable for any claims against Merchant except as
expressly provided for in this Agreement and Merchant shall not be
liable for any claims against Agent except as expressly provided for in
this Agreement;

all payments made by Merchant on account of the Central Services
Expenses shall be made pursuant to, and solely in accordance with, the
Central Services Budget (on a line item basis);

Agent shall neither have nor incur any obligation to advance or fund any
amounts to or for Merchant except as set forth in this Agreement;

any amendment to or other modification of the Central Services Budget
shall only be effective upon approval by Agent in its sole discretion;

Agent is authorized to sell the Additional Agent Merchandise on the
terms set forth herein, subject to the Sale Guidelines;

Except as provided for herein, following the occurrence of the Closing,
neither the Merchant nor any other entity acting on its behalf or as its
successor (including but not limited to any statutory committee
appointed in the Bankruptcy Cases and any chapter 7 or 11 trustee) may
recover from the Agent any costs or expenses of preserving, or
disposing of, any of the Assets, this Agreement shall be binding on any
chapter 7 or 11 trustee, and any subsequently appointed chapter 7 trustee
is authorized to and shall conduct the business of the Merchant for the
limited purposes of complying with and executing under and in
accordance with this Agreement, all of the foregoing without further
order of the Court;

Agent and its designees are granted derivative standing to pursue the
Avoidance Actions (subject to Section 11.2(f) below) and Other Causes
of Action in the name of and/or on behalf of Merchant;

in the event any of the provisions of the Approval Order are modified,
amended or vacated by a subsequent order of the Bankruptcy Court or
any other court, Agent shall be entitled to the protections provided in
(xxx)

(xxx1)

(xxxIl)

(xxxill)

(Xxxiv)

(xxxv)

Bankruptcy Code sections 363(m) and 364(e) and, no such appeal,
modification, amendment or vacatur shall affect the validity and
enforceability of the GOB Sale or the liens or priority authorized or
created under this Agreement or the Approval Order;

neither Agent nor any entity comprising Agent is or shall be a mere
continuation of Merchant or otherwise subject to successor liability in
connection with any of the Assets;

upon receipt by the ABL Agent and FILO Agent and certain other
persons of the Debt Payoff as directed in the Payoff Letters pursuant to
Section 3.1(a) of this Agreement, all ongoing commitments under the
ABL Credit Agreement shall be canceled and terminated;

to the extent Agent has not designated the Agent or other assignee of
any Assets (any Assets so not designated by such date, the “Residual
Assets”) as of May 31, 2025 (as may be amended by written agreement
of the Parties, the “Asset Designation Rights Termination Date”),
(1) ownership of all cash (on hand, in the bank, in transit, posted in
respect of letters of credit or bonds or otherwise), credit card processing
float, accounts receivable, notes receivable, credit card receivables,
other receivables, deposits, security deposits, proceeds of retail sales in
all of the Debtors’ retail store locations, rights to refunds, other rights to
payment, Intellectual Property, and, subject to Section 7.1, ownership
of all Remaining Merchandise, comprising Residual Assets shall vest in
Agent or its designee, and (2) ownership of all other Residual Assets
shall revert to the Debtors’ estates, each on the Asset Designation Rights
Termination Date;

the Credit Bid is a proper credit bid that is consistent in all respects with
section 363(k) of the Bankruptcy Code and is an appropriate credit bid
that is in accordance with the Term Loan Credit Agreement and all
attendant debt documents, including any intercreditor agreement;

the Debtors shall release the Term Agent and all lenders under the Term
Loan Credit Agreement with respect to any and all claims or causes of
action related to the Credit Bid, this Agreement, the bidding process,
and the sale process, which such release provision shall be in form and
substance acceptable to the Term Agent and the required lenders under
the Term Loan Credit Agreement;

the Final Reconciliation (as defined below), once agreed to by Merchant
and Agent, shall be automatically deemed approved pursuant to
Bankruptcy Code section 105(a) and Rule 9019 of the Federal Rules of
Bankruptcy Procedure without further order of the Bankruptcy Court or
action by any party; and
(xxxvi) this Agreement, the Approval Order, and all provisions hereof and
thereof are binding on any successor to Merchant, including but not
limited to any chapter 7 or chapter 11 trustee, and subject to Agent’s
obligation to pay Expenses and fund the Wind-Down Payments, any
such successor shall continue to hold all Assets and Proceeds strictly in
trust for the benefit of Purchaser.

Section 3. Consideration to Merchant and Purchaser.

3.1 Purchase Price. The aggregate consideration being provided to Merchant
in exchange for Purchaser’s rights and Merchant’s obligations under this Agreement is as follows
(collectively, the “Purchase Price’):

(a) Debt Payoff. On the Closing Date, in accordance with payoff letters by each of
the ABL Agent (the “ABL Payoff Letter”) and FILO Agent (the “FILO Payoff Letter” and,
together with the ABL Payoff Letter, the “Payoff Letters”) in form and substance satisfactory to
each such party, Purchaser shall:

(i) to the ABL Agent, for the benefit of the ABL Lenders, and certain
other persons as directed in the ABL Payoff Letter, (a) pay the amount in cash necessary to
indefeasibly pay in full in cash all Prepetition Revolving Obligations (as defined in the Cash
Collateral Order), including, without limitation, all outstanding principal, accrued interest, fees,
costs and expenses (including, without limitation, all attorneys’ fees, costs and expenses), and
(b) provide and/or post cash collateral for (and/or replacement of) any issued and outstanding
letters of credit (in form and substance acceptable the Prepetition ABL Agent), in each case in
accordance with and as set forth in the ABL Payoff Letter (such amounts and other consideration,
the “ABL Payoff”); and

(ii) pay to the FILO Agent, for the benefit of the FILO Lenders, and
certain other persons as directed in the FILO Payoff Letter, the amount in cash necessary to
indefeasibly pay in full in cash all Prepetition FILO Obligations (as defined in the Cash Collateral
Order), including, without limitation, all outstanding principal, accrued interest, fees, costs and
expenses (including, without limitation, all attorneys’ fees, costs and expenses) and make whole
obligations, all as set forth in the FILO Payoff Letter (such amounts and other consideration, the
“FILO Payoff” and, together with the ABL Payoff, the “Debt Payoff”).

(b) Wind-Down Funding, At Closing, Agent shall make an initial cash payment to
Merchant equal to sixty-five percent (65%) of the Wind-Down Budget (the “Initial Wind-Down
Payment”); provided that, notwithstanding anything herein to the contrary, the Initial Wind-Down
Payment shall include the payment of all reasonable and documented fees and expenses of the
Term Agent advisors and the Term Loan Ad Hoc Group Advisors in an amount not to exceed
$1,660,000. The remaining thirty-five percent (35%) of the Wind-Down Budget shall be funded
from Acquired Cash and, to the extent necessary, Proceeds, within thirty (30) days after the
Closing (together with the Initial Wind-Down Payment, the “Wind-Down Payments”), The Wind-
Down Payments shall not exceed the amounts set forth in Exhibit 3.1(b) in the aggregate
(the “Wind-Down Budget”); provided, however, that, solely with respect to the 503(b)(9) Claim
subcategory of the Wind-Down Budget, any amounts that have not been expended by Merchant

as of the Asset Designation Rights Termination Date shall be returned to Agent (the amounts so
returned, the “503(b)(9) Savings”) upon the earlier of (i) the effective date of a plan of liquidation
of Merchant, subject to the 503(b)(9) Allocation (defined below), or (ii) the dismissal or
conversion of the Bankruptcy Cases. With respect to the 503(b)(9) Claim subcategory, Merchant
agrees not to make any payments until the date that is 60 days from the Closing (unless extended
upon mutual agreement between Merchant and Agent). Merchant shall keep Agent informed on a
timely basis of its efforts to reconcile 503(b)(9) claims and shall use best efforts to negotiate
settlements with respect to the 503(b)(9) claims, in consultation with Agent. Agent shall also pay
to or for the benefit of the Stalking Horse Bidder (as defined in the Bid Procedures Order), the
Expense Reimbursement as defined in, and pursuant to, Section 16.19 below. Stub rent included
in the Initial Wind-Down Payment shall be paid from the Initial Wind-Down Payment within two
weeks after the Closing.

(i) 503(b)(9) Allocation, To the extent Merchant consummates a
chapter 11 plan, then on the Effective Date of such plan, Agent shall contribute 50% of the
503(b)(9) Savings, if any, for distribution under the plan for the benefit of Merchant’s general
unsecured creditors (the “GUC 503(b)(9) Share”) and shall retain the remainder of the 503(b)(9)
Savings as Proceeds; provided, however, that Purchaser guarantees that the GUC 503(b)(9) Share
contributed in connection with such plan shall not be less than $1,500,000; provided further,
however, the Term Loan Ad Hoc Group will not oppose a chapter 11 plan of Merchant on the basis
that such plan does not provide a distribution to Term Loan lenders from the 503(b)(9) Savings on
account of any deficiency claim, or as otherwise may be agreed between Purchaser and the
Committee.

(c) Central Services Funding. At Closing, Agent shall make an initial cash
payment to Merchant equal to the agreed upon estimated amount to be incurred in the two weeks
following Closing, in an amount set forth in the Central Services Budget (the “Initial Central
Services Payment”), After Closing, from time to time, Agent, upon request by the Merchant, shall
make additional payments to Merchant on account of the Central Services Expenses
(the “Subsequent Central Services Payments” and, together with the Initial Central Services
Payment, the “Central Services Payments”). The Central Services Payments are subject to and to
be used solely as set forth in the budget and schedule attached as Exhibit 3.1(c) hereto (as may be
amended from time to time by agreement of the Parties, subject to approval by Agent in its sole
discretion, the “Central Services Budget”), Merchant shall provide Agent with a register of all
payments Merchant intends to issue for Central Services Expenses at least one business day before
issuance, which register shall identify the amounts and expense categories of such payments. Any
portion of the Subsequent Central Services Payments not expended by Merchant as of the Asset
Designation Rights Termination Date shall be returned to Agent upon the earlier of (i) the
dismissal or conversion of the Bankruptcy Cases; or (ii) the effective date of a plan of liquidation
of Merchant. For the avoidance of doubt, Agent’s obligation to fund the Central Services
Payments shall not exceed the Central Services Budget; provided, however, that, in accordance
with Section 4.1, Agent shall be responsible for the payment of any Central Services Expenses in
excess of the Central Services Budget to the extent such expenses are incurred at the direction of
the Agent, to facilitate Agent’s conduct under this Agreement, or otherwise as agreed to by the
Agent in writing.

10
(d) Expenses. Subject to and only upon Closing, Agent shall be responsible for the
payment of all Expenses pursuant to Section 4.1 below.

(ec) Credit Bid. The Term Agent, at the direction of an ad hoc group of the Term
Lenders (the “Term Loan Ad Hoc Group”), will credit bid the amount of $105,000,000
(the “Credit Bid”) at the Closing. A true, correct, and complete copy of the direction letter from
the Term Loan Ad Hoc Group directing the Term Agent to make the Credit Bid in accordance with
the terms of this Agreement is attached hereto as Exhibit 3.1(e) (the “Term Loan Ad Hoc Group
Direction Letter”), and such Term Loan Ad Hoc Group Direction Letter has been duly executed
and delivered by, and is binding and enforceable upon, the Term Lenders in compliance with all
terms and conditions of the Term Loan Credit Agreement.

3.2 Consideration to Purchaser,

(a) Proceeds. Upon the occurrence of the Closing, all Proceeds (including proceeds
from Additional Agent Merchandise) shall be the exclusive property of Agent, subject to
distribution in accordance with the waterfall set forth below:

(i) First, to Agent in an amount equal to the Purchase Price, which, for
the avoidance of doubt, shall include the Debt Payoff, the Wind Down Payments, the Central
Services Payments, and all Expenses pursuant to Section 4.1.

(ii) Thereafter, all Proceeds shall be retained by Purchaser and shall be
further allocated between Agent and the Term Agent as may be agreed upon between them.

(b) Assets and Proceeds Held in Trust. Merchant shall hold all of the Assets in
trust for the benefit of Agent. Any Proceeds received by, or that otherwise come into the
possession of, Merchant at any time after the Closing shall be segregated and held strictly in trust
for the benefit of Purchaser, shall not be commingled with Merchant’s own assets, shall not
become property of Merchant’s bankruptcy estate, and shall be paid over to Agent promptly upon
receipt by Merchant or upon notice received by Merchant from Agent, but in any event no later
than the Weekly Sale Reconciliation.

(c) Remaining Merchandise. To the extent that there is Merchandise remaining at
the Sale Termination Date (the “Remaining Merchandise”), such Remaining Merchandise shall be
deemed automatically transferred to Agent free and clear of all liens, claims, and encumbrances
(other than Permitted Encumbrances). Agent and its affiliates shall be authorized to sell or
otherwise dispose of the Remaining Merchandise with all logos, brand names, and other
Intellectual Property intact, and shall be authorized to advertise the sale of the Remaining
Merchandise using the Intellectual Property.

3.3 Proceeds of GOB Sales.

(a) Following the satisfaction of the Initial Purchase Price Funding, Agent may (but
shall not be required to) establish its own accounts (including without limitation credit card
accounts and systems), dedicated solely for the deposit of the Proceeds of the GOB Sales
(including Proceeds from Additional Agent Merchandise) (the “GOB Sale Proceeds”) and the

11
disbursement of amounts payable to Agent in connection with the GOB Sales (the “Agency
Accounts”); and Merchant shall promptly, upon Agent’s reasonable request, execute and deliver
all necessary documents to open and maintain the Agency Accounts, at no additional cost to
Merchant; provided, however, Agent shall have the right, in its sole and absolute discretion, to
continue to use the Merchant Designated Deposit Accounts (as defined below) as the Agency
Accounts in which case the Merchant Designated Deposit Accounts shall be deemed to be Agency
Accounts. Agent shall exercise sole signatory authority and control with respect to the Agency
Accounts. The Agency Accounts shall be dedicated solely to the deposit of GOB Sale Proceeds
and other amounts contemplated by this Agreement in connection with the GOB Sale and the
distribution of amounts payable hereunder in connection with the GOB Sale. Merchant shall not
be responsible for, and Agent shall pay as an Expense hereunder, all bank fees and charges,
including wire transfer charges, related to the GOB Sale and the Agency Accounts. Following
Agent’s notice to Merchant of Agent’s designation of the Agency Accounts (other than the
Merchant Designated Deposit Accounts), all GOB Sale Proceeds (including credit card GOB Sale
Proceeds) shall be deposited into the Agency Accounts.

(b) Agent shall have the right to use Merchant’s credit card facilities, including
Merchant’s credit card terminals and processor(s), credit card processor coding, Merchant’s
identification number(s) and existing bank accounts for credit card transactions relating solely to
the GOB Sale; provided, that, Agent’s use of any such credit card facilities is in compliance with
Applicable General Laws and industry standards, including the Payment Card Industry Data
Security Standard (“PCI-DSS”). In the event that Agent elects to use Merchant’s credit card
facilities, Merchant shall process credit card transactions on behalf of Agent and for Agent’s
account, applying Merchant’s customary practices and procedures. Without limiting the
foregoing, Merchant shall make reasonable efforts to (1) cooperate with Agent to download data
from all credit card terminals each day during the Sale Term to effect settlement with Merchant’s
credit card processor(s), and (ii) take such other actions necessary to process credit card
transactions on behalf of Agent under Merchant’s identification number(s). At Agent’s request,
Merchant shall cooperate with Agent to establish Merchant’s identification numbers under Agent’s
name to enable Agent to process all such credit card GOB Sale Proceeds for Agent’s account.
Merchant shall not be responsible for, and Agent shall pay as an Expense hereunder, all credit card
fees, charges, and chargebacks related to the GOB Sale, whether received during or after the Sale
Term. Agent shall not be responsible for, as an Expense or otherwise, any credit card fees, charges,
or chargebacks relating to periods prior to the Closing.

(c) Unless and until Agent establishes its own Agency Accounts (other than the
Merchant Designated Deposit Accounts), all GOB Sale Proceeds and other amounts contemplated
by this Agreement (including credit card GOB Sale Proceeds), shall be collected by Merchant and
deposited on a daily basis into depository accounts owned in the name of Merchant and designated
solely for the deposit of GOB Sale Proceeds and other amounts contemplated by this Agreement
(including credit card GOB Sale Proceeds), and the disbursement of amounts payable to or by
Agent hereunder (the “Merchant Designated Deposit Accounts”). All funds in the Merchant
Designated Deposit Accounts shall at all times be held in trust for the benefit of Agent. The
Merchant Designated Deposit Accounts shall be cash collateral accounts, with all cash, credit card
payments, checks and similar items of payment, deposits and any other amounts in such accounts
being GOB Sale Proceeds or other amounts contemplated hereunder, and Merchant hereby grants

12
to Agent a first-priority senior security interest in and lien upon each of the Merchant Designated
Deposit Accounts and all funds on deposit in such accounts from and after the Closing.

(d) Merchant shall take all actions necessary to designate Agent as an authorized
signer on all Merchant Designated Deposit Accounts and to grant Agent the ability to initiate wire
transfers from such Merchant Designated Deposit Accounts.

(e) On each business day to the extent practicable, Merchant shall promptly pay to
Agent by wire transfer all GOB Sale Proceeds held in any bank account of Merchant, including
but not limited to all funds in the Merchant Designated Deposit Accounts (including, without
limitation, GOB Sale Proceeds, GOB Sale Proceeds from credit card sales, proceeds from the sale
of Owned FF&E, and all other amounts) deposited into the Merchant Designated Deposit Accounts
for the prior day(s).

Section 4. Expenses.

4.1 Subject to and only upon Closing, Agent shall be responsible for all
“Expenses,” which shall be paid by Agent in accordance with Section 4.2 below. As used herein,
“Expenses” shall mean the actual operating expenses that arise solely after Closing through the
Sale Termination Date, that are incurred at the direction of the Agent, to facilitate Agent’s
conduct under this Agreement, or otherwise as agreed to by the Agent in writing, which are

strictly limited to the following expenses:

(a) actual hourly or salaried payroll, as applicable, with respect to all Retained
Employees and any temporary labor engaged for the GOB Sale that are used in connection with
conducting the GOB Sale for actual days/hours worked;

(b) any amounts related to (i) benefits arising, accruing or attributable to the
period between the Closing and the Sale Term: (w) vacation days or vacation pay, (x) sick days
or sick leave or any other form of paid time off, (y) maternity leave or other leaves of absence, and
(z) ERISA coverage and similar contributions, and (ii) any amounts payable by Merchant for
benefits (including FICA, unemployment taxes, workers’ compensation and healthcare insurance,
but excluding Excluded Payroll Benefits) for Retained Employees used in the GOB Sale
(the “Payroll Benefits”);

(c) subject to Section 6.1, the actual Occupancy Expenses;

(d) Retention Bonuses, if applicable, for Retained Employees, as provided for
in Section 9.4 below;

(e) advertising and direct mailings initiated by Agent relating to the GOB Sale,
Store interior and exterior signage and banners procured by Agent, and sign-walkers or drivers
procured by Agent, in each case relating to the GOB Sale;

(f) credit card fees, bank card fees, and chargebacks and credit/bank card
discounts with respect to Merchandise sold in the GOB Sale;

13
(g) bank service charges (for Store, corporate accounts, and Agency Accounts),
check guarantee fees, and bad check expenses to the extent directly attributable to the GOB Sale;

(h) — costs for additional Supplies at the Stores necessary to conduct the GOB
Sale as solely to the extent requested by Agent;

(i) all fees and charges required to comply with applicable laws in connection
with the GOB Sale solely to the extent agreed to by Agent;

(j) Store cash theft and other Store cash shortfalls in the registers;

(k) any Central Services Expenses in excess of the Central Services Budget to
the extent such expenses are incurred at the direction of the Agent, to facilitate Agent’s conduct
under this Agreement, or otherwise as agreed to by the Agent in writing.

(1) the Distribution Center Expenses;

(m) postage, courier and overnight mail charges requested by Agent to the
extent relating to the GOB Sale;

(n) third party payroll processing expenses associated with the GOB Sale; and

(0) costs of transfers initiated by Agent of Merchandise and Additional Agent
Merchandise between and among the Stores and Distribution Centers during the Sale Term,
including delivery and freight costs, it being understood that Agent shall be responsible for
coordinating such transfer of Merchandise.

Notwithstanding anything herein to the contrary, there will be no double counting or double
payment of Expenses to the extent that Expenses appear or are contained in more than one Expense
category.

As used herein, the following terms have the following respective meanings:

(i) “Central Services Expenses” means the actual costs and expenses
for Merchant’s central administrative services necessary for the conduct and support of the GOB
Sale, including, but not limited to inventory control systems, payroll systems, MIS and POS
services, cash and inventory reconciliation, data processing and reporting, email preparation and
distribution, information technology support management and maintenance, accounting, office
facilities at Merchant’s central office, central administrative services and personnel to process and
perform sales audit, banking, and other normal course administrative services customarily
provided to or for the benefit of operating the Distribution Centers and/or the Stores, and such
other central office services reasonably necessary (in the judgment of Agent) for the Sale
(collectively, “Central Services”).

(ii) “Distribution Center Expenses” means the actual costs and
expenses, including use and Occupancy Expenses and Distribution Center employee payroll, both
hourly and salary, and other obligations, of the operations of the Distribution Centers, and the
actual costs and expenses (including outbound freight) related to the processing, transfer, and

14
consolidation of Merchandise, Additional Agent Merchandise, and supplies in the Distribution
Centers and from the Distribution Centers to the Stores, and all actual costs and expenses
associated with Agent’s on-site supervision of the Stores, corporate offices and Distribution
Centers, including (but not limited to) any and all fees, wages, taxes, third party payroll costs and
expenses, and deferred compensation of Agent’s field personnel, travel to, from or between the
Stores, corporate offices, and Distribution Centers, and out-of-pocket and commercially
reasonable expenses relating thereto (including reasonable and documented corporate travel to
monitor and manage the GOB Sale).

(iii) “Excluded Payroll Benefits” means (i) the following benefits
arising, accruing or attributable to the period prior to, during (except as required by applicable law
or otherwise agreed to between Merchant and Agent), or after the Sale Term, if any: (w) vacation
days or vacation pay, (x) sick days or sick leave or any other form of paid time off, (y) maternity
leave or other leaves of absence, and (z) ERISA coverage and similar contributions and/or (ii) any
payments due under WARN Act or similar state laws.

(iv) “Occupancy Expenses” means base rent, percentage rent, HVAC,
utilities, CAM, storage costs, real estate and use taxes, Merchant’s association dues and expenses,
utilities expenses, cash register maintenance, routine repairs, building maintenance, trash and snow
removal, housekeeping and cleaning expenses, local and long-distance telephone and internet/wifi
expenses, security (including, without limitation, security systems, courier and guard service,
building alarm service and alarm service maintenance), and rental for furniture, fixtures and
equipment.

(v) “Third Party” means, with reference to any Expenses to be paid to a
Third Party, a party which is not affiliated with or related to Merchant.

(vi) Notwithstanding any other provision of this Agreement to the
contrary, “Expenses” shall not include any other costs, expenses or liabilities payable by Merchant
not provided for herein, all of which shall be paid solely by Merchant.

4.2 Payment of Expenses.

Subject to and only upon Closing, Agent shall be responsible for the payment of all
Expenses out of Proceeds (or from Agent’s own accounts if and to the extent there are insufficient
Proceeds), All Expenses incurred by the Merchant during each week of the GOB Sale (i.e. Sunday
through Saturday) shall be paid by Agent to or on behalf of Merchant, or paid by Merchant and
thereafter reimbursed by Agent as provided for herein; provided, however, in the event that the
actual amount of an Expense is unavailable on the date of the reconciliation (such as payroll),
Merchant and Agent shall agree to an estimate of such amounts, which amounts will be reconciled
once the actual amount of such Expense becomes available. To the extent necessary or
appropriate, Agent shall work with Merchant in good faith to fund Expenses in advance as needed
to ensure the timely payment thereof. Agent and/or Merchant may review or audit the Expenses
at any time. To the extent such Expenses are paid by Merchant, Merchant shall provide Agent
with payments that Merchant intends to issue for such Expenses at least one business day before
issuance, which register shall identify amounts and expense categories of such payments.

15
Section 5. Merchandise.

5.1 Merchandise Subject to This Agreement,

(a) “Excluded Goods” means all (1) goods that are not owned by Merchant,
including but not limited to goods that belong to sublessees, licensees, department lessees, or
concessionaires of Merchant and (2) goods held by Merchant on memo, on consignment (except
to the extent otherwise agreed by the applicable consignor), or as bailee. Merchant shall be solely
responsible for the disposition and/or abandonment of all Excluded Goods and all costs, expenses,
and obligations associated therewith. Agent shall incur no cost, expense, or obligation in
connection with any Excluded Goods.

(b) “Merchandise” means all goods owned by Merchant for resale as of the
occurrence of the Closing, wherever located, including, for clarity, all goods that are on-order or
in-transit as of the Closing, other than Excluded Goods.

5.2 Valuation.

(a) “Cost Value” shall mean, with respect to each item of Merchandise, the
lower of (i) the lower of (x) the actual cost of such item and (y) the lowest cost of such item as
reflected in the Merchandise File and (ii) the Retail Price.

(b) “Retail Price” shall mean with respect to each item of Merchandise, the
lower of the lowest ticketed, marked, shelf, Merchandise File, or other file price as reflected in
Merchant’s books and records for such item.

(c) “Merchandise File” shall mean “7.52 Project Thread_Inventory by Article
(FW01).zip” and all subsequent and/or refreshed files received by Agent from and after the date
of this Agreement.

5.3 Inventory Count.

During the Sale Term, for purposes of counting the Merchandise, Merchant and
Agent shall jointly keep (i) a strict count of gross register receipts from the sale of Merchandise,
less applicable taxes and excluding any prevailing Sale-related discounts (“Gross Rings”), and (ii)
cash reports of sales within each Store. Register reports shall show for each item sold the Cost
Value and Retail Price for such item and the markdown or discount, if any, specifically granted by
the Agent. All such records and reports shall be made available to Merchant and Agent during
regular business hours upon reasonable notice.

Section 6. Sale Term.

6.1 Term. Subject to satisfaction of the conditions precedent set forth in
Section 10 hereof, the GOB Sale shall commence at each Store on a date determined by Agent in
its sole discretion after the occurrence of the Closing (the “Sale Commencement Date”) and shall
end at each Store no later than May 31, 2025 (the “Sale Termination Date”, and the period from
the Sale Commencement Date to the Sale Termination Date as to each Store being the “Sale

16
Term”), Agent may, in its discretion, earlier terminate the GOB Sale on a Store-by-Store basis or
close a Distribution Center, upon written notice to Merchant at least five (5) days prior to the end
of a calendar month (a “Vacate Notice”) and vacate such Store or Distribution Center, in
accordance with Section 6.2, by the end of such calendar month (the “Vacate Date”); provided,
however, that Agent’s obligations to pay all Expenses, including Occupancy Expenses, for each
Store or Distribution Center, as applicable, subject to a Vacate Notice shall continue only until the
applicable Vacate Date.

6.2 Vacating the Stores. At the conclusion of the GOB Sale, Agent agrees to
leave each Store in “broom clean” condition, ordinary wear and tear excepted, except for unsold
items of Owned FF&E which may be abandoned by Agent in place in a neat and orderly manner
pursuant to Section 7 below. Agent shall vacate each Store or Distribution Center on or before the
earlier of (a) the Sale Termination Date or, if applicable, (b) the Vacate Date, as provided for
herein, at which time Agent shall surrender and deliver the Store or Distribution Center premises,
and, if in Agent’s possession, keys, to Merchant unless the applicable Lease is being conveyed
pursuant to the Lease/Contract Designation Rights. Notwithstanding the foregoing, Agent’s
obligations to pay all Expenses for the Stores and Distribution Centers shall be limited as provided
for in Section 6.1.

Section 7. FF&E/ Merchandise.

7.1 Abandonment_of FF&E/Merchandise. Agent shall be authorized to
abandon any and all FF&E or Remaining Merchandise, whether owned or not by Merchant, in
place without any cost or liability to Agent. For the avoidance of doubt, Agent shall have no
responsibility whatsoever with respect to FF&E that is not owned by Merchant; provided that
nothing in this Section 7 shall limit Agent’s rights with respect to Owned FF&E under the Asset
Designation Rights or with respect to leased FF&E under the Lease/Contract Designation Rights.

Section 8. Conduct of the GOB Sale.

8.1 Rights of Agent. Subject to entry of the Approval Order, in addition to any
other rights granted to Agent elsewhere in this Agreement, Agent shall be permitted to conduct the
GOB Sale as a “going out of business,” “store closing,” “sale on everything,” “everything must
go,” or similarly themed sale throughout the Sale Term, without compliance with any Liquidation
Sale Laws, subject to the Approval Order. Agent shall conduct the GOB Sale in the name of and
on behalf of Merchant in a commercially reasonable manner and in compliance with the terms of
this Agreement and Applicable General Laws and subject to the Approval Order. Agent shall
conduct the GOB Sale in accordance with the sale guidelines attached hereto as Exhibit 8.1
(the “Sale Guidelines”). In addition to any other rights granted to Agent hereunder in conducting
the GOB Sale, Agent shall have the right:

(a) to establish GOB Sale prices and discounts and Store hours;

(b) except as otherwise expressly included as an Expense, to use without charge
during the Sale Term all FF&E, IT Systems, existing Supplies, intangible assets (including
Merchant’s name, logo and tax identification numbers and, other Intellectual Property), Store keys,
case keys, security codes and safe and lock combinations required to gain access to and operate

17
the Stores, and the Distribution Centers, and any other assets of Merchant located at the Stores or
Distribution Centers (whether owned, leased, or licensed), solely to the extent such use does not
violate any Applicable General Law;

(c) (i) subject to satisfaction of Agent’s payment obligations under this
Agreement, to be provided by Merchant with central office facilities, central administrative
services and personnel to process and perform Central Services and provide other central office
services reasonably necessary for the GOB Sale; (11) to use reasonably sized offices located at
Merchant’s central office facility to effect the GOB Sale; and (iii) to use all customer lists, mailing
lists, email lists, and web and social networking sites and other Intellectual Property utilized by
Merchant in connection with its business (to the extent such items can be segregated to the Stores
or Distribution Centers and solely in connection with the GOB Sale and subject to Applicable
General Laws and any other restrictions requested by Merchant in order for Merchant and Agent
to comply with Merchant’s privacy policies, contracts, agreements, or applicable laws governing
the use and dissemination of personal or confidential information, including consumer personal
data);

(d) to establish and implement advertising, signage and promotion programs
consistent with the “going out of business,” “store closing,” “sale on everything,” “everything must
go,” or similarly themed sale, including without limitation by means of media advertising, and
similar interior and exterior signs and banners, and the use of sign walkers or drivers, each at
Agent’s sole cost as an Expense;

(e) to include Additional Agent Merchandise in the GOB Sale in accordance
with Section 8.9; and

(f) to transfer Merchandise between and among the Stores and Distribution
Centers.

8.2 Terms of Sales to Customers; Final/As Is Sales. During the Sale Term, all
sales of Merchandise and Additional Agent Merchandise will be “final sales” and “as is,” and
appropriate signage and sales receipts will reflect the same. Agent shall not warrant the
Merchandise in any manner, but will, to the extent legally permissible, pass on all manufacturers’
warranties to customers. Except as otherwise provided herein, during the Sale Term, all sales will
be made only for cash or nationally recognized bank credit or debit cards. Upon entry of the
Approval Order, Agent shall not accept or honor coupons during the Sale Term. Agent shall
clearly mark all receipts for the Merchandise sold at the Stores during the Sale Term so as to
distinguish the sale of such Merchandise from the goods sold prior to the Sale Commencement
Date.

8.3 Tax Matters.

(a) During the Sale Term, all sales, use, excise, gross receipts and other taxes
attributable to sales of Merchandise and Additional Agent Merchandise, as indicated on
Merchant’s point of sale equipment (other than taxes on net income) payable to any taxing
authority having jurisdiction (collectively, “Sales Taxes”) shall be added to the sales price of
Merchandise and Additional Agent Merchandise and collected by Agent, on Merchant’s behalf, at

18
the time of sale. All Sales Taxes shall be deposited into a segregated account designated by
Merchant and Agent solely for the deposit of such Sales Taxes (the “Sales Taxes Account”). For
the avoidance of doubt, Merchant will have payment authority on the Sales Taxes Account from
inception until Merchant no longer has any obligation with respect to the payment of Sales Taxes
hereunder. For any Sales Taxes Account that Agent obtains control or payment authority over,
Agent agrees to remit any funds in such Sales Taxes Account to Merchant. Merchant shall prepare
and file all applicable reports and documents required by the applicable taxing authorities with
respect to Sales Taxes incurred on transactions processed under Merchant’s identification
number(s), and Merchant shall promptly pay all such Sales Taxes from the Sales Taxes Account.
Merchant will be given access to the computation of gross receipts for verification of all such tax
collections. Provided that Agent performs its responsibilities in accordance with this Agreement,
Agent shall have no further obligation to Merchant, any taxing authority, or any other party, and
Merchant shall indemnify and hold harmless Agent from and against any and all reasonable out-
of-pocket costs, including, but not limited to, reasonable attorneys’ fees, assessments, fines or
penalties, which Agent sustains or incurs as a result or consequence of the failure by Merchant to
promptly pay such taxes to the proper taxing authorities and/or the failure by Merchant to promptly
file with such taxing authorities all reports and other documents required by applicable law to be
filed with or delivered to such taxing authorities. If Agent fails to perform its responsibilities in
accordance with this Section 8.3, and provided Merchant complies with its obligations hereunder,
Agent shall indemnify and hold harmless Merchant from and against any and all costs, including,
but not limited to, reasonable attorneys’ fees, assessments, fines or penalties which Merchant
sustains or incurs as a result or consequence of the failure by Agent to collect Sales Taxes and/or
the failure by Agent to promptly deliver any and all reports and other documents required to enable
Merchant to file any requisite returns with such taxing authorities. Agent shall use commercially
reasonable efforts to cooperate with Merchant to obtain any tax refunds in respect of Sales Taxes.

(b) Notwithstanding anything in this Agreement to the contrary, nothing in this
Agreement shall be interpreted as establishing the federal, state, or local tax consequences of the
transactions contemplated by this Agreement.

(c) Agent shall, and shall cause each of its respective affiliates to, use
commercially reasonable efforts to cooperate and consult with Merchant with respect to applicable
Sales Taxes matters and other tax matters reasonably associated with the transactions contemplated
by this Agreement, including the preparation and filing of applicable tax reports, returns, and
documents (including applicable allocations of purchase price) required by the applicable taxing
authorities with respect thereto and any audit, litigation, or other proceeding with respect thereto.

(d) Agent shall be responsible for all documentary, stamp, transfer (including
real property transfer), motor vehicle registration, sales, use, value added, excise, and other similar
non-income taxes and all filing and recording fees (and any interest, penalties and additions with
respect to such taxes and fees) arising from or relating to the consummation of the transactions
contemplated by this Agreement (collectively, “Transfer Taxes”), regardless of the party on whom
liability is imposed under the provisions of the applicable laws relating to such Transfer Taxes.
Merchant and Agent will consult and cooperate on a reasonable basis in preparing and timely filing
all tax returns, declarations, reports, estimates, information returns or other statements
(collectively, “Tax Returns’’) with respect to any Transfer Taxes and will cooperate on a reasonable

19
basis and otherwise take reasonable best efforts to obtain any available exemptions from or
reductions in such Transfer Taxes.

(e) Merchant shall provide to Agent a properly completed and duly executed
IRS Form W-9 on behalf of each entity listed on Annex | on or prior to the Closing Date.

8.4 Supplies. Agent shall have the right to use, without charge, all existing
supplies located at the Stores, Distribution Centers and corporate office(s), including, without
limitation, boxes, bags, paper, twine and similar sales materials (collectively, “Supplies”);
provided, however, that the term “Supplies” does not include any IT System. In the event that
additional Supplies are required in any of the Stores during the GOB Sale, Merchant agrees to
promptly provide the same to Agent, if available, for which Agent shall reimburse Merchant at
Merchant’s cost therefor as set forth in Section 4 hereof.

8.5 Returns of Merchandise. After the Closing Date, Merchant shall modify
its return policy such that all sales are “final” as of the Closing Date. Agent shall accept returns
of goods sold by Merchant for fourteen (14) days following the Closing Date or such other date as
may be authorized by the Bankruptcy Court, whichever is earlier. In the Stores where store-closing
sales are already being conducted pursuant to the Store Closing Procedures Order, all sales are
final and returns will no longer be accepted as of March 2, 2025. Following such date, the Agent
shall have no obligation to accept returns of goods sold.

8.6 Gift Certificates, Credits. By the Closing Date, Merchant shall use
commercially reasonable best efforts to modify its gift certificate, coupon, and loyalty program
policies such that Merchant’s gift cards, gift certificates, coupons and credits will only be accepted
during the fourteen (14) day period following the Closing or such other date as may be authorized
by the Bankruptcy Court, whichever is earlier, and that Merchant’s loyalty program will be
terminated as of the Closing. Following such date, Agent shall have no obligation to accept gift
cards, gift certificates, coupons and credits or honor any of Merchant’s loyalty programs during
the Sale Term. After the Petition Date, Merchant shall discontinue the sale of gift certificates and
gift cards and use commercially reasonable best efforts to direct any third-party merchants to stop
the sale of such gift certificates and gift cards.

8.7 Right to Monitor. Merchant shall have the right to monitor the GOB Sale
and activities attendant thereto and to be present in the Stores during the hours when the Stores are
open for business; provided that Merchant’s presence does not unreasonably disrupt the conduct
of the Sale. Merchant shall also have a right of access to the Stores at any time in the event of an
emergency situation and shall promptly notify Agent of such emergency.

8.8 Sale Reconciliation, On each Wednesday during the Sale Term, Agent and
Merchant shall cooperate to reconcile the sales of Merchandise and Additional Agent
Merchandise, the sale of FF&E, Expenses, make payments/setoffs on account of the GOB Sale
Proceeds and reconcile such other GOB Sale-related items as either party shall reasonably request,
in each case for the prior week or partial week (i.e. Sunday through Saturday), all pursuant to
procedures agreed upon by Merchant and Agent (the “Weekly Sale Reconciliation”). Within
thirty (30) days after the end of the Sale Term, or as soon as practicable thereafter, Agent and
Merchant shall complete a final reconciliation of the Sale (the “Final Reconciliation”), the written

20
results of which shall be certified by representatives of each of the Merchant and Agent as a final
settlement of accounts between the Merchant and Agent with respect to the GOB Sale. Within
five (5) days after the completion of the Final Reconciliation and execution of a settlement letter
including an appropriate mutual release for the benefit of Merchant and Agent, Agent shall pay to
Merchant, or Merchant shall pay to Agent, as the case may be, any and all amounts due the other
pursuant to the Final Reconciliation. The Approval Order shall provide that the Final
Reconciliation, once agreed to by Merchant and Agent, shall be automatically deemed approved
pursuant to Bankruptcy Code section 105(a) and Rule 9019 of the Federal Rules of Bankruptcy
Procedure without further order of the Bankruptcy Court or action by any party. During the Sale
Term, and thereafter until all of Merchant’s and Agent’s obligations under this Agreement have
been satisfied, Merchant and Agent shall have reasonable access to each other’s records with
respect to the GOB Sale (including, but not limited to Merchandise, Additional Agent
Merchandise, GOB Sale Proceeds, and Expenses) to review and audit such records.

8.9 Additional Agent Merchandise.

(a) Agent shall be entitled to include in the Sale supplemental goods procured
by Agent which are of like kind, and no lesser quality to the Merchandise located in the Stores
(“Additional Agent Merchandise”). Agent shall be responsible for payment of the costs associated
with procuring any Additional Agent Merchandise and all direct costs and expenses related to, or
incurred in connection with, the marketing and sale of the Additional Agent Merchandise, as a
Retail Expense of the Sale. Agent may utilize the Distribution Centers for the receipt, processing,
handling and distribution of such Additional Agent Merchandise.

(b) The Additional Agent Merchandise shall be at all times subject to the
control of Agent, and Merchant and Lenders shall cooperate with Agent with respect to all filings
(including, without limitation, UCC-1 financing statements) and other actions to the extent
reasonably requested by Agent in connection with the Additional Agent Merchandise. Ifrequested
by Agent, Merchant shall, at Agent’s expense as a Retail Expense, insure the Additional Agent
Merchandise and, if required, promptly file any proofs of loss with regard to same with Merchant’s
insurers.

(c) Any transactions relating to the Additional Agent Merchandise are, and
shall be construed as, a true consignment from Agent to Merchant. Merchant acknowledges, and
the Approval Order shall provide, that the Additional Agent Merchandise shall be consigned to
Merchant as a true consignment under Article 9 of the Uniform Commercial Code (the “UCC”).
Agent is hereby granted a first priority security interest in (i) the Additional Agent Merchandise
and (ii) the Additional Agent Merchandise proceeds, which security interest Agent shall be
authorized to perfect prior to entry of the Approval Order, but which security interest shall, if not
sooner perfected, be deemed perfected pursuant to the Approval Order without the requirement of
filing UCC financing statements or providing notifications to any prior secured parties, it being
understood that the filing and service by Merchant of a sale approval motion and entry by the
Bankruptcy Court of the Approval Order constitute adequate prior notice to all preexisting secured
parties, provided, however, that Agent is hereby authorized to deliver any notices and file any
financing statements and amendments thereof under the UCC identifying Agent’s interest in the
Additional Agent Merchandise and any proceeds from the sale thereof as consigned goods

21
thereunder and Merchant as the consignee therefor, and Agent’s security interest in such
Additional Agent Merchandise and Additional Agent Merchandise proceeds. The Lenders hereby
(x) acknowledge and agree that the Additional Agent Merchandise are the subject of a true
consignment by Agent to Merchant and, as such, are not collateral of the Lenders or any other
secured party of Merchant, and (y) consent to the inclusion of the proceeds of the sale of Additional
Agent Merchandise as “Proceeds” hereunder.

(d) | Agent shall provide signage in the Stores notifying customers that the
Additional Agent Merchandise has been included in the Sale.

8.10 Force Majeure. If any casualty, act or threatened act of war or terrorism,
act of God, epidemic or pandemic, or governmental rules or regulations in response to any of the
foregoing prevents or substantially inhibits the conduct of business in the ordinary course at any
Store for a period of five (5) consecutive days (a “Force Majeure Event’), such Store and the
Merchandise located at such Store may, in Agent’s sole discretion, be eliminated from the Sale
and considered to be deleted from this Agreement as of the first date of such event, and Agent and
Merchant shall have no further rights or obligations hereunder with respect thereto; provided,
however, that the proceeds of any insurance attributable to such Merchandise shall constitute
Proceeds hereunder and there shall be no adjustment to Purchase Price.

Section 9. Employee Matters.

9.1 Merchant’s Employees. Subject to the Central Services Budget and
payment of Expenses, Agent may use Merchant’s employees in the conduct of the GOB Sale to
the extent Agent deems necessary for the GOB Sale, and Agent may select and schedule the
number and type of Merchant’s employees required for the GOB Sale. Agent shall identify any
such employees to be used in connection with the GOB Sale (each such employee, a “Retained
Employee”) prior to the Sale Commencement Date. Notwithstanding the foregoing, Merchant’s
employees shall at all times remain employees of Merchant. Agent’s selection and scheduling of
Merchant’s employees shall at all times comply with all applicable collective bargaining
agreements, laws and regulations. Merchant and Agent agree that, except to the extent that wages
and benefits of Retained Employees constitute Expenses hereunder, nothing contained in this
Agreement and none of Agent’s actions taken in respect of the GOB Sale shall be deemed to
constitute an assumption by Agent of any of Merchant’s obligations relating to any of Merchant’s
employees including, without limitation, Worker Adjustment Retraining Notification Act
(“WARN Act”) claims and other termination type claims and obligations, or any other amounts
required to be paid by statute or law; nor shall Agent become liable under any employment
agreement, collective bargaining agreement, or be deemed a joint or successor employer with
respect to such employees. For the avoidance of doubt, Merchant shall be responsible for
providing any required notice under the WARN Act or state laws with respect to its employees
and otherwise comply with the WARN Act or state laws with respect to any “plant closing” or
“mass layoff’ (as defined in the WARN Act) or group termination or similar event affecting the
employees, whether before or after the date of this Agreement. Merchant shall not, without the
prior consent of Agent, raise the salary or wages or increase the benefits for, or pay any bonuses
or other extraordinary payments to, any Store or Distribution Center employees prior to the Sale
Termination Date. Merchant shall not transfer any employee in anticipation of the GOB Sale nor
any Retained Employee during the Sale Term, in each case without Agent’s prior consent, not to

22
be unreasonably withheld. To the extent reasonably requested in writing by Agent, and at Agent’s
expense, Merchant shall use commercially reasonable efforts to hire additional temporary
employees to facilitate the GOB Sale, which employees shall constitute Retained Employees for
purposes of this Agreement.

9.2 Termination of Employees. Agent may in its discretion stop using any
Retained Employee at any time during the GOB Sale, subject to the conditions provided for herein.
In the event that Agent desires to cease using any Retained Employee, Agent shall notify Merchant
at least seven (7) days prior thereto in writing; provided, however, that, in the event that Agent
determines to cease using an employee “for cause” (such as dishonesty, fraud or breach of
employee duties), the seven (7) day notice period shall not apply; provided that Agent shall notify
Merchant immediately after such discontinuance. Contemporaneous with providing such notice,
Agent shall provide to Merchant all information and other materials in Agent’s knowledge,
possession or control concerning supporting Agent’s determination to terminate any Retained
Employee “for cause.” From and after the date of this Agreement and until the Sale Termination
Date, Merchant shall not transfer or dismiss employees of the Stores or Distribution Centers except
“for cause” without Agent’s prior consent, not to be unreasonably withheld. Notwithstanding the
foregoing, Agent shall not have the right to terminate the actual employment of any employee, but
rather may only cease using such employee in the GOB Sale and paying any Expenses with respect
to such employee (and all decisions relating to the termination or non-termination of such
employees shall at all times rest solely with Merchant). Notwithstanding any other provision
hereof, Agent will indemnify and hold Merchant harmless from and against any and all costs or
expenses incurred (including, without limitation, reasonable attorneys’ fees) in connection with
any claims by Retained Employees arising from Agent’s conduct in connection with Retained
Employees.

9.3 Payroll Matters. During the Sale Term, Merchant shall process the payroll
for all Retained Employees and any former employees and temporary labor engaged for the GOB
Sale. Each Wednesday of each week during which payroll is being paid by Merchant (or such
other date as may be reasonably requested by Merchant to permit the funding of the payroll
accounts before such payroll is due and payable) during the Sale Term, Agent shall transfer to
Merchant’s payroll accounts an amount equal to the payroll for Retained Employees plus related
payroll taxes, workers’ compensation and benefits for each such week, to the extent such amount
constitutes Expenses hereunder.

9.4 Employee Retention Bonuses. Subject to approval by the Bankruptcy
Court, Agent may, in its sole discretion, pay, as an Expense, retention bonuses and/or severance
pay (“Retention Bonuses”), which bonuses shall be inclusive of payroll taxes, but as to which no
severance benefits shall be payable to such Retained Employees who do not voluntarily leave
employment, are not otherwise entitled to receive severance pay, and are not terminated “for
cause,” as Agent may determine in its reasonable and good faith discretion. Subject to approval
by the Bankruptcy Court, the amount of such Retention Bonuses shall be in an amount to be
determined by Agent, in its reasonable and good faith discretion, and shall be payable within
thirty (30) days after the Sale Termination Date and shall be processed through Merchant’s payroll
system,

23
Section 10. Conditions Precedent and Subsequent.

(a) Agent shall consummate the transactions contemplated under this
Agreement (the “Closing”) by February 27, 2025 (the “Closing Date”) subject only to the
satisfaction of the following conditions, unless specifically waived in writing by Agent in its
reasonable discretion:

(i) The Petition Date shall have occurred no later than
January 15, 2025;

(ii) On the Petition Date, Merchant shall have filed a motion and
proposed form of Bid Procedures Order;

(iii) © The Bankruptcy Court shall have entered an order approving the use
of cash collateral (the “Cash Collateral Order”) on a final basis no later than February 26, 2025;

(iv) The Bankruptcy Court shall have entered the Bid Procedures Order
on a final basis no later than February 17, 2025;

(v) | The bid deadline under the Bid Procedures Order shall be no later
than February 18, 2025;

(vi) The Auction, ifany, under the Bid Procedures Order shall be no later
than February 21, 2025;

(vii) The Bankruptcy Court shall have entered the Approval Order no
later than February 26, 2025;

(viii) The Bankruptcy Court shall have entered an order, pursuant to
section 365(d)(4) of the Bankruptcy Code, extending the Merchant’s time to assume or reject the
leases for the Stores to the date that is 210 days after the Petition Date;

(ix) |The Termination Declaration Date, as defined in the Cash Collateral
Order, shall not have occurred;

(x) | (A) All representations and warranties of Merchant in Section 11.1
(other than the representations and warranties set forth in Sections 11.1(a), (b), and (c)) shall be
true and correct, except where the failure to be true and correct has not had and would not
reasonably be expected to have a material adverse effect on the Assets taken as a whole, (B) all
representations and warranties of Merchant in Sections 11.1(a), (b), and (c) shall be true and
correct in all material respects as of the Closing, and (C) Merchant shall have in all material
respects performed the obligations and complied with the covenants required by this Agreement
to be performed or complied with by it prior to the Closing;

(xi) No chapter 11 trustee has been appointed and the Merchant’s
bankruptcy cases have not been converted to cases under Chapter 7 of the Bankruptcy Code;

24
(xii) There shall not have been a variance greater than five percent (5%)
of the expenses set forth in “Total Expenses/Wind Down Costs” line item of the cash collateral
budget without the written consent of Agent; and

(xiii) All of the Parties shall have executed this Agreement.

(b) The willingness of Merchant to enter into the transactions contemplated
under this Agreement, and the occurrence of the Closing, are directly conditioned upon the
satisfaction of the following conditions at the time or during the time periods indicated, unless
specifically waived in writing by Merchant, with the prior written consent of the Prepetition ABL
Agent and the Prepetition FILO Agent to the extent such waiver would materially affect their
interests:

(i) No judgment enacted, promulgated, issued, entered, amended or
enforced by any governmental authority or any applicable law shall be in effect enjoining or
otherwise prohibiting consummation of the transactions contemplated hereby;

(ii) | All representations and warranties of Agent hereunder shall be true
and correct in all material respects as of the Closing, and Agent shall have in all material respects
performed the obligations and complied with the covenants required by this Agreement to be
performed or complied with by it prior to the Closing;

(iii) The ABL Agent, the FILO Agent and any other persons designated
by them have received full and indefeasible payment in cash (or other consideration as applicable)
of all Debt Payoff specified in the Payoff Letters on the Closing Date; and

(iv) All of the Parties shall have executed this Agreement.

Section 11. Representations, Warranties and Covenants.

11.1 Merchant’s Representations and Warranties. Merchant hereby represents
and warrants in favor of Agent as follows:

(a) As of the date of this Agreement and at the Closing, Merchant (i) is duly
organized, validly existing and in good standing under the laws of the State of its organization;
(ii) has all requisite corporate power and authority to own, lease and operate the Assets and to
carry on its business as presently conducted; (iii) is duly authorized and qualified to do business
and in good standing in each jurisdiction where the nature of its business or properties requires
such qualification, including all jurisdictions in which the Stores are located, except, in each case,
to the extent that the failure to be in good standing or so qualified would not reasonably be expected
to have a material adverse effect on the ability of Merchant to execute and deliver this Agreement
and perform fully its obligations hereunder; and (iv) has paid when due all United States Trustee
fees.

(b) Subject only to entry of the Approval Order, Merchant, as of the date of this
Agreement and at the Closing, has the right, power and authority to execute and deliver this
Agreement and each other document and agreement contemplated hereby (collectively, together
with this Agreement, the “Agency Documents”) and to perform fully its obligations thereunder.

25
Subject only to entry of the Approval Order, Merchant has taken all necessary actions required to
authorize the execution, delivery and performance of the Agency Documents, and no further
consent or approval is required for Merchant to enter into and deliver the Agency Documents, to
perform its obligations thereunder and to consummate the Sale, except for any such consent the
failure of which to be obtained would not reasonably be expected to prevent or materially delay or
impair the ability of Merchant to execute and deliver this Agreement and perform fully its
obligations hereunder. Subject only to entry of the Approval Order, each of the Agency
Documents has been duly executed and delivered by Merchant and, upon the due authorization,
counter-execution, and delivery of this Agreement by Agent, constitutes the legal, valid and
binding obligation of Merchant enforceable in accordance with its terms.

(c) Merchant, as of the date of this Agreement and at the Closing, owns good
and valid title to all of the Assets, free and clear of all security interests, liens, claims and
encumbrances of any nature other than the security interests securing the Prepetition Secured
Obligations (as defined in the Cash Collateral Order) and Permitted Encumbrances.

(d) Since January 1, 2024, Merchant has maintained its pricing files, including
but not limited to the Merchandise File, in the ordinary course of business, and prices charged to
the public for goods are the same in all material respects as set forth in such pricing files, including
but not limited to the Merchandise File, for the periods indicated therein, all pricing files, including
but not limited to the Merchandise File, and records are true and accurate in all material respects
as to the actual cost to Merchant for purchasing the goods referred to therein and as to the selling
price to the public for such goods without consideration of any point of sale discounts, as of the
dates and for the periods indicated therein. Merchant represents that (1) the ticketed prices of all
items of Merchandise do not and shall not include any Sales Taxes and (ii) all registers located at
the Stores are programmed to correctly compute all Sales Taxes required to be paid by the customer
under applicable law, as such calculations have been identified to Merchant by its retained service
provider.

(e) Merchant has ticketed or marked all goods and items of inventory received
and currently located at the Stores or Distribution Centers in a manner consistent with similar
Merchandise located at the Stores or Distribution Centers, and in accordance with Merchant’s
ordinary course past practices and policies relative to pricing and marking goods and inventory.

(f) Since January 1, 2025, Merchant has not purchased for or transferred to or
from the Stores or Distribution Centers any inventory or goods outside the ordinary course.

(g) | To Merchant’s knowledge after reasonable inquiry, all Merchandise is in
compliance in all material respects with all applicable federal, state and local product safety laws,
rules and standards.

(h) Since January 1, 2024, Merchant has paid all self-insured or Merchant-
funded employee benefit programs for Store employees, including health and medical benefits and
insurance and all proper claims made or to be made in accordance with such programs.

(i) Since January 1, 2025, Merchant has not taken any actions with the intent
of increasing the Expenses of the Sale as compared to ordinary course operations prior to the Sale

26
Commencement Date, including without limitation increasing salaries or other amounts payable
to employees; except to the extent an employee was due an annual raise in the ordinary course.

Qj) Other than filing the Bankruptcy Case, no action, arbitration, suit, notice, or
legal, administrative or other proceeding before any court or governmental body is pending, by or
against Merchant, or has been settled or resolved, or to Merchant’s knowledge, is threatened
against or affects Merchant, relative to Merchant’s business or properties, or which questions the
validity of this Agreement, in any case, that would reasonably be expected to adversely affect the
conduct of the Sale.

(k) As of February 27, 2025, (i) Available Closing Cash shall be equal to or
greater than $54,000,000 minus the portion, if any, of the Wind-Down Budget in Section 3.1(b)
paid with Acquired Cash or (ii) to the extent Available Closing Cash is less than $54,000,000, the
Debt Payoff shall be equal to $443,100,000 less the amount by which Available Closing Cash is
less than $54,000,000.

11.2. Merchant’s Covenants.

(a) Merchant, during the Sale Term, (1) will continue to be duly authorized and
qualified to do business and in good standing in each jurisdiction where the nature of its business
or properties requires such qualification, including all jurisdictions in which the Stores are located,
except, in each case, to the extent that the failure to be in good standing or so qualified would not
reasonably be expected to have a material adverse effect on the ability of Merchant to execute and
deliver this Agreement and perform fully its obligations hereunder; and (ii) will continue to pay
when due all United States Trustee fees.

(b) Merchant shall not create, incur, assume or suffer to exist any security
interest, lien or other charge or encumbrance (other than Permitted Encumbrances) upon or with
respect to any of the Assets. From and after the Closing, subject to the Central Services Budget
and Agent’s satisfaction of its payment obligations under this Agreement, Merchant shall use
commercially reasonable efforts to perform such tasks and services as are reasonably necessary,
in the ordinary course to maintain and preserve the Assets in saleable condition and to maintain
good and valid title to all of the Assets at all times until all Assets have been sold or otherwise
disposed of, and such other tasks and services as Agent may otherwise reasonably request in
connection with the GOB Sales, including but not limited to paying all ad valorem taxes and
utilities when due, performing all routine maintenance in the ordinary course, and renewing all
necessary licenses and registrations.

(c) | Except as necessary to comply with Merchant’s obligations under the Store
Closing Procedures Order, through the Sale Commencement Date, Merchant shall continue to
ticket or mark all goods and items of inventory received at the Stores or Distribution Centers in a
manner consistent with similar Merchandise located at the Stores or Distribution Centers, and in
accordance with Merchant’s ordinary course past practices and policies relative to pricing and
marking goods and inventory.

(d) | Except as necessary to comply with Merchant’s obligations under the Store
Closing Procedures Order, through the Sale Commencement Date Merchant shall transfer

27
inventory or goods to or from Distribution Centers in the ordinary course and shall not deviate
from that schedule.

(e) Except as necessary to comply with Merchant’s obligations under the Store
Closing Procedures Order, through the Sale Commencement Date Merchant shall not, purchase
for or transfer to or from the Stores or Distribution Centers any inventory or goods outside the
ordinary course.

(f) Merchant shall provide Agent with reasonable access to and/or copies of its
historic policies and practices, if any, regarding product recalls, as Agent may reasonably request
prior to the Sale Commencement Date.

(g) Subject to the Agent satisfying its payment obligations under this
Agreement, Merchant shall, throughout the Sale Term, maintain in good working order, condition,
and repair all cash registers, heating systems, air conditioning systems, elevators, escalators and
all other mechanical devices necessary for the conduct of the GOB Sale at the Stores in the ordinary
course. Except as otherwise restricted by the Bankruptcy Code upon filing of the Bankruptcy
Case, and absent a bona fide dispute, throughout the Sale Term, Merchant shall remain current on
all expenses and payables necessary or appropriate for the conduct of the GOB Sale.

(h) Subject to payment of Expenses and other obligations under this Agreement
by Agent, and approval by the Bankruptcy Court, Merchant will continue to pay all self-insured
or Merchant-funded employee benefit programs for Store employees, including health and medical
benefits and insurance and all proper claims made or to be made in accordance with such programs.

(i) Payment of Expenses and other obligations under this Agreement by Agent,
and approval by the Bankruptcy Court, Merchant will continue to pay throughout the Sale Term
all self-insured or Merchant-funded employee benefit programs for Store employees, including
health and medical benefits and insurance and all proper claims made or to be made in accordance
with such programs.

(j) Merchant shall not throughout the Sale Term take any actions with the intent
of increasing the Expenses of the Sale as compared to ordinary course operations prior to the Sale
Commencement Date, including without limitation increasing salaries or other amounts payable
to employees; except to the extent an employee was due an annual raise in the ordinary course.

(k) Prior to the execution of this Agreement, Merchant has provided Agent
reasonable access to all pricing and cost files, including but not limited to the Merchandise File,
and data files, inter-Stores transfer logs, markdown schedules, invoices, style runs and all other
documents relative to the price, mix and quantities of inventory located at the Stores and the
Distribution Centers or on order or in transit.

(1) Merchant hereby acknowledges that, as of and after the date of this
Agreement, Agent intends to begin to make arrangements for the purchase of Additional Agent
Merchandise from Agent’s suppliers of goods as well as Merchant’s existing suppliers of goods.
To assist Agent in that regard, from and after the date of this Agreement, Merchant shall use
Merchant’s best efforts to assist and cause Merchant’s employees to assist Agent with Agent’s
efforts to negotiate orders with Merchant’s suppliers for goods that Agent is interested in

28
purchasing as Additional Agent Merchandise and to assist Agent with creating SKUs in and
otherwise updating Merchant’s systems for and in connection with all such Additional Agent
Merchandise.

(m) Except as necessary to comply with Merchant’s obligations under the Store
Closing Procedures Order, Merchant (i) shall not, prior to or after the Sale Commencement Date,
offer any promotions or discounts at the Stores, through any e-commerce sites, social media sites,
any other retail location, or any other promotional or retail sales channel owned or controlled
directly by Merchant, except as detailed on Exhibit 11.2(m) (the “Promotional Calendar’) and
(ii) shall make commercially reasonable efforts to notify third party websites or social media sites
of such restrictions.

(n) Merchant shall discontinue its current return program and shall stop the
sale of gift cards as of the execution date of this Agreement.

(0) Merchant shall operate the Stores in accordance with the terms of the Store
Closing Procedures Order, including, but not limited to Agent approving signage package to
Stores, discounting cadence and staffing and supervision, in each case, in accordance with such
terms,

11.3 Agent’s Representations, Warranties and Covenants. Agent hereby
represents, warrants and covenants in favor of Merchant as follows:

(a) | Agent: (i) is duly and validly existing and in good standing under the laws
of the State of its organization; (ii) has all requisite power and authority to carry on its business as
presently conducted and to consummate the transactions contemplated hereby; (iii) is duly
authorized and qualified to do business and in good standing in each jurisdiction where the nature
of its business or properties requires such qualification, including, in the case of the entities
comprising Agent, all jurisdictions in which the Stores are located, except, in each case, to the
extent that the failure to be in good standing or so qualified would not reasonably be expected to
have a material adverse effect on the ability of Agent to execute and deliver this Agreement and
perform fully its obligations hereunder.

(b) Agent: (i) has the right, power and authority to execute and deliver each of
the Agency Documents to which it is a party and to perform fully its obligations thereunder; (ii) has
taken all necessary actions required to authorize the execution, delivery and performance of the
Agency Documents, and no further consent or approval is required on the part of Agent for Agent
to enter into and deliver the Agency Documents, to perform its obligations thereunder and to
consummate the transactions contemplated thereby, and (iii) has duly executed and delivered each
of the Agency Documents and, assuming the due authorization, execution, and delivery of this
Agreement by Merchant, constitutes the legal, valid and binding obligation of Agent enforceable
in accordance with its terms, except as such enforceability may be limited by bankruptcy,
insolvency, reorganization, moratorium, and similar laws affecting the rights of creditors generally
and by general principles of equity. No court order or decree of any federal, state or local
governmental authority or regulatory body is in effect that would prevent or impair, or is required
for, Agent’s consummation of the transactions contemplated by this Agreement, and no consent
of any third party which has not been obtained is required therefor, other than as provided herein.

29
No contract or other agreement to which Agent is a party or by which Agent is otherwise bound
will prevent or impair the consummation of the transactions contemplated by this Agreement.

(c) No action, arbitration, suit, notice or legal administrative or other
proceeding before any court or governmental body has been instituted by or against Agent, or has
been settled or resolved or, to Agent’s knowledge, has been threatened against or affects Agent,
which questions the validity of this Agreement or any action taken or to be taken by Agent in
connection with this Agreement or which, if adversely determined, would have a material adverse
effect upon Agent’s ability to perform its obligations under this Agreement.

(d) | The GOB Sale shall be conducted in compliance with all applicable state
and local laws, rules and regulations and Merchant’s leases and other agreements, except as
otherwise provided for in this Agreement, the Sale Guidelines or the Approval Order.

(ec) Absent prior consent by Merchant, Agent will not cause any non-emergency
repairs or maintenance (emergency repairs are repairs necessary to preserve the security of a Store
premise or to ensure customer safety) to be conducted at the Stores.

(f) Agent will have at the Closing and at any time that payments are required
to be made by Agent under this Agreement or under the other Agent documents sufficient funds
available in cash, including from Acquired Cash and Proceeds, to pay the amounts then required
to be paid by Agent in connection with the transactions contemplated by this Agreement.

(g) Assuming (i) the satisfaction or waiver of the conditions set forth in
Section 10, and (11) the accuracy of the Express Representations (without regard to any knowledge
or materiality qualifications contained therein), Agent and its subsidiaries will be Solvent. Agent
is not entering into the transactions contemplated by this Agreement with the intent to hinder, delay
or defraud either present or future creditors of Agent, Merchant or their respective subsidiaries.
For purposes of this Agreement, “Solvent,” when used with respect to any Person, means that such
Person (1) will not be insolvent as defined in section 101 of the Bankruptcy Code, (ii) has property
with fair value greater than the total amount of their debts and liabilities, contingent, subordinated
or otherwise (it being understood that the amount of contingent liabilities at any time shall be
computed as the amount that, in light of all the facts and circumstances existing at such time, can
reasonably be expected to become an actual or matured liability), (iii) has assets with present fair
salable value not less than the amount that will be required to pay their liability on their debts as
they become absolute and matured, (iv) will be able to pay its debts and liabilities, subordinated,
contingent or otherwise, as they become absolute and matured, and (v) are not engaged in business
or a transaction, and are not about to engage in business or a transaction, for which they have
unreasonably small capital.

(h) As of the date of this Agreement, there are no contracts, undertakings,
commitments, agreements or obligations, whether written or oral, between Agent, on the one hand,
and any member of the management of Merchant or its respective board of directors (or applicable
governing body of any Affiliate of any Person within Merchant), any holder of equity or debt
securities of Merchant, or any lender or creditor of Merchant or any Affiliate of Merchant, on the
other hand, (a) relating in any way to the Assets or the transactions contemplated by this
Agreement, other than any agreements entered into between Agent, the Term Agent, and/or any

30
lenders under the Term Loan Credit Agreement related to this Agreement, or (b) that would be
reasonably likely to prevent, restrict, impede or affect adversely the ability of Merchant or any of
its Affiliates to entertain, negotiate or participate in any such transactions.

(i) Except for the representations and warranties expressly contained in
Section 11.1 (as qualified by the Schedules and in accordance with the express terms and
conditions (including limitations and exclusions) of this Agreement) (the “Express
Representations’) (it being understood that Agent and its affiliates and representatives have relied
only on such Express Representations), Agent acknowledges and agrees, on its own behalf and on
behalf of its affiliates and representatives, that neither Merchant, any of its Affiliates, nor any other
Person on behalf of Merchant or any of its Affiliates makes, and neither Agent nor any of its
affiliates and representatives has relied on, is relying on, or will rely on the accuracy or
completeness of any express or implied representation or warranty with respect to Merchant, the
any of the Assets, or any businesses or liabilities of Merchant or its Affiliates, or with respect to
any information, statements, disclosures, documents, projections, forecasts or other material of any
nature made available or provided by any Person, including in any “dataroom” or elsewhere to
Agent or any of its affiliates or representatives on behalf of Merchant or any of its Affiliates or
representatives. Without limiting the foregoing, neither Merchant, any of its affiliates nor or any
of its or their representatives nor any other Person will have or be subject to any Liability
whatsoever to Agent, or any other Person, resulting from the distribution to Agent or any of its
Affiliates or representatives, or Agent’s or any of its Affiliates’ or Representatives’ use of or
reliance on, any such information, including in any dataroom or otherwise in expectation of the
transactions or any discussions with respect to any of the foregoing information or otherwise.

(Gj) Agent acknowledges and agrees, on its own behalf and on behalf of its
affiliates and representatives, that it will not assert, institute, or maintain, and will cause each of
its affiliates and representatives not to assert, institute or maintain, any Action that makes any
claim contrary to the agreements and covenants set forth in Section 11.3(f).

Section 12. Efforts.

12.1 Subject to the terms and conditions of this Agreement, each of the Agent
and Merchant shall cooperate with each other and use (and shall cause its affiliates to use) its
reasonable best efforts (unless, with respect to any action, another standard of performance is
expressly provided for herein) to promptly (i) take, or cause to be taken, all actions, and do, or
cause to be done, and assist and cooperate with each other in doing, all things necessary, proper or
advisable to cause the conditions to Closing to be satisfied as promptly as reasonably practicable
and to consummate and make effective, in the most expeditious manner reasonably practicable,
the transactions contemplated by this Agreement, including preparing and filing promptly and fully
all documentation to effect all necessary filings, notices, petitions, statements, registrations,
submissions of information, applications and other documents, (ii) obtain all approvals, consents,
registrations, waivers, permits, authorizations, orders and other confirmations from any
governmental authority or third party necessary, proper or advisable to consummate the
transactions contemplated hereby, (iii) execute and deliver any additional instruments necessary
to consummate the transactions contemplated hereby and (iv) defend or contest in good faith any
action brought by a third party that could otherwise prevent or impede, interfere with, hinder or
delay in any material respect the consummation of the transactions contemplated hereby.

31
Section 13. Insurance.

13.1 Merchant’s Liability Insurance. Until the Asset Designation Rights
Termination Date or as otherwise earlier directed by Agent or set forth in this Agreement,
Merchant shall continue to maintain, subject to the satisfaction by Agent of its payment obligations
under this Agreement, in such amounts as it currently has in effect, all of its liability insurance
policies, including but not limited to commercial general liability, products liability,
comprehensive public liability, auto liability and umbrella liability insurance, covering injuries to
persons and property in, or in connection with, the Assets and/or Merchant’s operation of its
business and the Stores and Distribution Centers; and Merchant shall make commercially
reasonable efforts to cause Agent to be named as an additional named insured (as its interest may
appear) with respect to all such policies. Merchant shall make commercially reasonable efforts to
deliver to Agent certificates evidencing such insurance setting forth the duration thereof and
naming Agent as an additional named insured. All such policies shall require at least thirty (30)
days’ prior notice to Agent of cancellation, non-renewal or material change. In the event of a claim
under any such policies, Merchant shall be responsible for the payment of all deductibles,
retentions or self-insured amounts thereunder (which shall be reimbursed as an Expense), unless
it is determined that liability arose by reason of the willful misconduct or grossly negligent acts or
omissions of Agent, or Agent’s employees, independent contractors or agents, in which case Agent
shall be solely responsible for any such deductibles, retentions or self-insured amounts. Merchant
shall not make any change in the amount of any deductibles or self-insurance amounts on or after
the date of this Agreement without Agent’s prior written consent or unless such a change is
required by the relevant insurer(s) in connection with a renewal or extension of the policy.

13,2 Merchant’s Casualty Insurance. Until the Asset Designation Rights
Termination Date, as otherwise earlier directed by Agent, or, if earlier, until the sale or other
disposition of all Assets covered by such policies, Merchant shall continue to maintain, subject to
the satisfaction by Agent of its payment obligations under this Agreement, all of its presently
existing property casualty coverage related to the Assets (including but not limited to fire, flood,
wind, hail, natural disaster, theft, and extended coverage casualty insurance). From and after the
Closing, Merchant will make commercially reasonable efforts to cause all such policies to also
name Agent as an additional named insured or loss payee, as applicable (as its interest may appear).
In the event of a loss to the Assets on or after the Closing, all proceeds of such insurance shall
constitute Proceeds hereunder after subtraction of any expenses reasonably incurred securing such
proceeds. Merchant shall make commercially reasonable efforts to deliver to Agent certificates
evidencing such insurance, setting forth the duration thereof and naming Agent as an additional
insured or loss payee, as applicable. Merchant will make commercially reasonable efforts to
provide thirty (30) days’ prior notice to Agent of cancellation, non-renewal or material change.
Merchant shall not make any change in the amount of any deductibles or self-insurance amounts
on or after the date of this Agreement without Agent’s prior written consent or unless such a change
is required by the relevant insurer(s) in connection with a renewal or extension of the policy. Upon
the sale, conveyance, or other disposition of any Asset specifically identified in any of Merchant’s
casualty insurance policies, Merchant may, with the Agent’s prior consent (such consent not to be
unreasonably withheld or delayed), cancel the casualty coverage specifically applicable to such
Asset.

32
13.3 Agent’s Insurance. Agent shall maintain, at Agent’s cost (as an Expense)
and in such amounts as Agent currently has in effect, commercial general liability policies covering
injuries to persons and property in or in connection with Agent’s agency at the Stores and shall
cause Merchant to be named as an additional insured with respect to such policies. Agent shall
deliver to Merchant certificates evidencing such insurance policies setting forth the duration
thereof and naming Merchant as an additional insured, in form and substance reasonably
satisfactory to Merchant. In the event of a claim under any such policies, Agent shall be
responsible for the payment of all deductibles, retentions or self-insured amounts thereunder,
unless it is determined that liability arose by reason of the willful misconduct or grossly negligent
acts or omissions of Merchant or Merchant’s employees, independent contractors or agents (other
than Agent or Agent’s employees, agents or independent contractors). Agent shall not make any
change in the amount of any deductibles or self-insurance amounts prior to the Sale Termination
Date without Merchant’s prior written consent.

13.4 Worker’s Compensation Insurance. Merchant shall, at all times while any
employees are in its employ, maintain in full force and effect workers’ compensation insurance
(including employer liability insurance) in compliance with all statutory requirements.

13.5 Risk of Loss. Without limiting any other provision of this Agreement,
Merchant acknowledges that Agent is conducting the GOB Sale on behalf of Merchant solely in
the capacity of an agent, and that in such capacity (a) except for any Additional Agent
Merchandise, Agent shall not be deemed to be in possession or control of the Stores, Distribution
Centers, or the assets located therein or associated therewith, or of Merchant’s employees located
at the Stores or Distribution Centers, and (b) except as expressly provided in this Agreement, Agent
does not assume any of Merchant’s obligations or liabilities with respect to any of the foregoing.
Agent shall not be deemed to be a successor employer. Merchant and Agent agree that, subject to
the terms of this Agreement, Merchant shall bear all responsibility for liability claims of customers,
employees, and other persons arising from events occurring at the Stores during and after the Sale
Term, except to the extent any such claim arises from the acts or omissions of Agent, or its
supervisors, agents, independent contractors, or employees located at the Stores (an “Agent
Claim”), In the event of any liability claim that Merchant and Agent agree is not an Agent Claim,
Merchant shall administer such claim and shall present such claim to Merchant’s liability insurance
carrier in accordance with Merchant’s policies and procedures existing immediately prior to the
Sale Commencement Date, and shall provide a copy of the initial documentation relating to such
claim to Agent at the address listed in this Agreement. To the extent that Merchant and Agent
agree that a claim constitutes an Agent Claim, Agent shall administer such claim and shall present
such claim to its liability insurance carrier, and shall provide copies of the initial documentation
relating to such claim to Merchant. In the event that Merchant and Agent cannot agree whether a
claim constitutes an Agent Claim, each party shall present the claim to its own liability insurance
carrier, and a copy of the initial claim documentation shall be delivered to the other party to the
address designated for delivery of notices hereunder.

13.6 Merchant Indemnification. From and after the Closing, Merchant shall
indemnify and hold Agent, and its officers, directors, employees, agents, representatives, and
independent contractors (collectively, “Agent Indemnified Parties”) harmless from and against all
claims, causes of action, demands, penalties, losses, liability, damage, or other obligations,

33
including, without limitation, reasonable attorneys’ fees and expenses, directly or indirectly
asserted against, resulting from or related to: (a) Merchant’s material breach of or failure to comply
with any of its agreements or covenants contained in this Agreement, in each case, solely to the
extent such covenant or agreement requires performance after the Closing; (b) any consumer
warranty or products liability claims relating to Merchandise; (c) any harassment or any other
unlawful, tortious, or otherwise legally actionable treatment of any customers, employees or agents
of Agent by Merchant or any of their respective representatives (other than Agent); and (d) the
willful misconduct of Merchant or its respective officers, directors, employees, agents (other than
Agent) or representatives.

13.7 Agent Indemnification.

(a) From and after the Closing, Agent shall indemnify and hold Merchant and
its respective officers, directors, employees, agents and representatives harmless from and against
all claims, causes of action, demands, penalties, losses, liability, damage, or other obligations,
including, without limitation, reasonable attorneys’ fees and expenses, directly or indirectly
asserted against, resulting from, or related to: (a) Agent’s material breach of or failure to comply
with any of its agreements, or covenants, contained in this Agreement, in each case, solely to the
extent such covenant or agreement requires performance after the Closing; (b) any claims by any
party engaged by Agent as an employee or independent contractor arising out of such employment;
(c) any harassment or any other unlawful, tortious or otherwise legally actionable treatment of any
customers, employees or agents of Merchant by Agent or any of its representatives; (d) any
consumer warranty or products liability claims relating to Additional Agent Merchandise; (e) as
set forth in Section 8.3 above; (f) the willful misconduct of Agent, its officers, directors,
employees, agents or representatives.

(b) Agent shall indemnify Merchant (and their respective estates) for up to
$10,000,000.00 in the aggregate on account of any Administrative Expense Claim or Priority Tax
Claim attributable to the tax consequences associated with the elimination or cancellation of,
transfer of, or withdrawal from the Key Man Insurance Policy Program provided for under certain
Pre-1986 Corporate Owned Life Insurance policies issued in 1984 and 1985 by Provident Life and
Accident Insurance Company (the “Key Man Insurance Policies” and any associated tax liability,
the “Key Man Insurance Tax Liability”) upon the tax becoming payable to the relevant taxing
authority. Merchant shall use best efforts to, and reasonably cooperate with, Agent and its
professionals in efforts to, mitigate and/or offset the amount of any Key Man Insurance Tax
Liability, including by evaluating the availability of any tax attributes that could reduce or
eliminate the Key Man Insurance Tax Liability, considering the appropriate classification of any
Key Man Insurance Tax Liability, considering structuring alternatives to monetize the Key Man
Insurance Policies or otherwise preventing any Key Man Insurance Tax Liability from arising. For
the avoidance of doubt, Agent shall be entitled to the net proceeds (if any), after payment of any
associated tax liability, of the Key Man Insurance Policies, including if such proceeds become due
and payable prior to the Merchant’s withdrawal. Merchant shall use commercially reasonable
efforts to estimate the Key Man Insurance Tax Liability within six months after the Closing. For
the avoidance of doubt, the proceeds of the Key Man Insurance Policies constitute Proceeds.

34
Section 14. Agent’s Security Interest.

(a) | Upon the occurrence of the Closing and satisfaction of the Debt Payoff,
Agent is hereby granted first priority, senior security interests in and liens upon all Assets, all
Proceeds, and any proceeds thereof, which security interests and liens shall be deemed by the
Approval Order to be automatically perfected. The Approval Order shall grant Agent relief from
the automatic stay, and nothing in the Approval Order shall inhibit Agent’s ability, to take any
action Agent deems appropriate to perfect such security interests and liens. From and after the
Closing, the Merchant shall not grant any other party any security interests in or liens upon the
Assets, Proceeds, or proceeds thereof. Any security interests in or liens upon the Assets prior to
the Closing and satisfaction of the Debt Payoff shall attach to the Purchase Price as of the Closing.

(b) Subject to, and subordinated to, the Carve Out, as defined in the Cash
Collateral Order, upon the occurrence of the Closing and until all Assets have been sold or
otherwise disposed of and Merchant receives the full amount of the Wind-Down Budget, Agent
shall have a superpriority administrative expense claim against Merchant, which is senior to all
other administrative expenses (including any other superpriority administrative expense claims,
not including amounts subject to the Carve Out) to the extent of any amounts owing from Merchant
to Agent in connection with this Agreement, including as a result of any breach of this Agreement.

Section 15. Designation Rights.

15.1 Lease/Contract Designation Rights.

(a) Upon the occurrence of the Closing and until the earlier to occur of (1) the
end of the Lease/Contract Designation Rights Period applicable to a particular Lease or Contract
and (ii) May 31, 2025 (as may be amended by written agreement of the Parties, the “Lease
Designation Rights Termination Date” and the period through such date, the “Lease/Contract
Designation Rights Period”), Agent shall have the exclusive right to designate the purchasers,
assignees, sublessees, or other transferees of Merchant’s right, title, and interest in and to any or
all of the Leases and Contracts (the “Lease/Contract Designation Rights”) upon the terms and
conditions agreed upon between Agent and such designee. If the Parties extend the Designation
Rights Termination Date, the Asset Designation Rights Termination Date, and/or the Sale
Termination Date, Agent shall be responsible for (x) the increased Central Services Expenses
arising from such extension and (y) an additional Wind-Down Payment not to exceed $500,000 in
respect of the actual allowed fees and expenses of estate professionals arising from such extension.
Purchaser shall cooperate in good faith with the Committee to develop procedures reasonably
acceptable to Purchaser and the Committee with respect to the Lease/Contract Designation Rights.

(b) Merchant shall cooperate reasonably with Agent to arrange for the sale,
sublease, assignment, and other transfer, as applicable, of the Leases and Contracts, with such sale
and assignment to be on such terms as Agent deems acceptable in its sole and absolute discretion.
Without limiting the generality of the foregoing, Merchant agrees (1) to provide Agent with all
due diligence materials and information as Agent shall reasonably request in connection with its
efforts to market and attempt to sell or otherwise dispose of the Leases and Contracts (including
complete copies thereof and any abstracts prepared with respect thereto, and all communications
with the counterparties thereunder, all property surveys, all environmental reports and tax and

35
utility records), with Agent to bear all reasonable third party out-of-pocket costs and expenses
relating thereto, in all cases to the extent reasonably available to Merchant, and (2) to cooperate
with Agent, its agents, and any potential purchasers assignees, sublessees, or other transferees of
any of the Leases and/or Contracts.

(c) Solely to the extent requested by Agent, Merchant shall exercise renewal
and/or extension options under the Leases and Contracts,

(d) At any time prior to the end of the Lease/Contract Designation Rights
Period applicable to a particular Lease or Contract, Agent shall have the right, which right may be
exercised at any time and from time to time, to file a Lease/Contract Assumption Notice in the
Bankruptcy Cases designating the purchasers, assignees, sublessees, or other transferees (which
may in certain circumstances be Agent, any of the entities comprising Agent, any of their
respective affiliates, and/or a new entity created by any of the foregoing) of one or more Leases
and/or Contracts (which may occur without further order of the Bankruptcy Court pursuant to the
Approval Order) and setting forth the proposed cure amount due pursuant to section 365 of the
Bankruptcy Code. The Approval Order shall provide that (a) the counterparties to the Leases or
Contracts identified in any Lease/Contract Assumption Notice shall have fourteen (14) days to
object to the proposed assumption and assignment, (b) if no objection to the proposed assumption
and assignment of a Lease or Contract is timely received, such Lease or Contract shall, upon
payment of the applicable cure payment, if any, to the applicable counterparty, automatically be
deemed assumed by Merchant and sold, assigned, or otherwise transferred to the purchasers,
assignees, or other transferees identified in the Lease/Contract Assumption Notice pursuant to
sections 363 and 365 of the Bankruptcy Code, without further order of the Bankruptcy Court or
further action by any person or entity, and (c) if an objection to the proposed assumption and
assignment of a Lease or Contract is timely received, such Lease or Contract shall not be assumed
or assigned until such objection is resolved by agreement of the applicable counterparty or order
of the Bankruptcy Court.

(e) The designee under any Lease/Contract Assumption Notice shall be
required, if requested by the applicable counterparty, to provide adequate assurance of future
performance with respect to such Lease or Contract if the applicable counterparty so requests.
Merchant shall have no responsibility for any cure amounts with respect to any Lease or Contract
assumption and assignment.

15.2 Asset Designation Rights

(a) | Upon the occurrence of the Closing, Agent shall have the exclusive right to
market and sell, and/or otherwise designate the purchasers, transferees, and/or assignees of (which
may in certain circumstances be Agent, any of the entities comprising Agent, any of their
respective affiliates, and/or a new entity created by any of the foregoing), any or all of the Assets
free and clear of all liens, claims, and encumbrances thereon (other than Permitted Encumbrances),
without further order of the Bankruptcy Court (the “Asset Designation Rights”). Agent is
authorized to execute, in the name of and as agent for Merchant, any and all deeds, bills of sale,
and other instruments or documents necessary to effectuate the sale, transfer, or other conveyance
of any of the Assets, none of which instruments or documents shall require Merchant to incur any
obligations or other liabilities beyond the terms of this Agreement.

36
(b) Pursuant to the Approval Order, the sale or other conveyance of any Assets
reflected in Asset Designation Notices filed in the Bankruptcy Cases from time to time by Agent
shall be automatically effective on the date reflected in the applicable Asset Designation Notice
and subject to the satisfaction of any closing conditions reflected therein, and the sale, transfer, or
other conveyance of such Assets shall be free and clear of all liens, claims, and encumbrances
(other than Permitted Encumbrances) without further order of the Bankruptcy Court; provided,
however, that nothing in the Approval Order shall inhibit the ability of Agent to seek other or
further orders of the Court in connection with the sale or other disposition of any Assets.

(c) The costs of maintaining the Assets available for marketing and sale shall
constitute Expenses. All costs of effectuating assumption and assignment shall be deemed an
Expense hereunder.

15.3 Agent Dropout Rights. At any time prior to the expiration of the Lease Designation
Rights Termination Date or the Asset Designation Rights Termination Date (as applicable), Agent
shall have the right, upon five (5) days’ written notice (the “Dropout Notice Period”), which right
may be exercised at any time and from time to time in Agent’s sole and absolute discretion, to
provide notice to Merchant (each such notice, a “Dropout Notice”) of Agent’s election to
discontinue its efforts to market and attempt to sell, assign, transfer, license, designate the acquirer
or purchaser, or otherwise dispose of any Asset (each, a “Dropout Asset” and, collectively,
the “Dropout Assets”). Upon the effective date of any Dropout Notice, (i) Agent shall have no
further obligation or liability with respect to the subject Dropout Asset, and (11) Merchant shall
thereafter be solely responsible for all such Dropout Asset(s) from and after the effective date of
the Dropout Notice. Upon expiration of the Dropout Notice Period, all rights to the Dropout Assets
shall revert to Merchant, and Merchant may dispose of such Dropout Asset in such manner as
Merchant may elect, and one hundred percent (100%) of all proceeds realized upon a disposition
of such Dropout Asset shall be the exclusive property of Merchant (and shall not constitute
Proceeds), The delivery of a Dropout Notice shall not result in a reduction of the Purchase Price
payable hereunder. Prior to the expiration of the Dropout Notice Period, the Agent, in its sole and
absolute discretion, may withdraw any Dropout Notice upon written notice to Merchant. Effective
upon the occurrence of the Asset Designation Rights Termination Date, and without any further
act by or on behalf of the Agent (such date, the “Deemed Drop Out Date”), Agent shall be deemed
to have provided Merchant with a Dropout Notice (the “Deemed Drop Out Notice’) for all
remaining Assets (other than Assets that were subject to a prior Asset Designation Notice, which
Deemed Drop Out Notice shall be deemed effective as of the Deemed Drop Out Date).

Section 16. Miscellaneous.

16.1 Non-Survival of Representations and Warranties and Certain Covenants;
Certain Waivers, Each of the representations and warranties and the covenants and agreements

(to the extent such covenant or agreement contemplates or requires performance by such Party
prior to the Closing) of the Parties set forth in this Agreement or in any other Agency Document,
will terminate effective immediately as of the Closing such that no claim for breach of any such
representation, warranty, covenant or agreement, detrimental reliance or other right or remedy
(whether in contract, in tort or at law or in equity) may be brought with respect thereto after the
Closing. Each covenant and agreement that explicitly contemplates performance after the Closing,
will, in each case and to such extent, expressly survive the Closing in accordance with its terms,

37
and if no term is specified, then for five years following the Closing, and nothing in this
Section 16.1 will be deemed to limit any rights or remedies of any Person for breach of any such
surviving covenant or agreement.

16.2 Expenses. Except with respect to the expense reimbursement provided for
in Section 16.19 herein, whether or not the Closing takes place, except as otherwise provided
herein, all fees, costs and expenses (including fees, costs and expenses of representatives) incurred
in connection with the negotiation of this Agreement, the performance of this Agreement and the
other Agent Documents and the consummation of the transactions contemplated by this Agreement
will be paid by the Party incurring such fees, costs and expenses.

16.3 Notices. All notices and communications provided for pursuant to this
Agreement shall be in writing and sent by electronic mail and will be deemed to have been given
(a) when personally delivered, (b) when transmitted by electronic mail (having obtained electronic
delivery confirmation thereof), if delivered by 5:00 P.M. local time of the recipient on a business
day and otherwise on the following business day, (c) the day following the day on which the same
has been delivered prepaid to a reputable national overnight air courier service or (d) the third
business day following the day on which the same is sent by certified or registered mail, postage
prepaid, in each case, to the respective Party at the number, electronic mail address or street
address, as applicable, set forth below, or at such other number, electronic mail address or street
address as such Party may specify by written notice to the other Party:

If to Merchant:

JOANN Inc.

5555 Darrow Rd.

Hudson, Ohio 44236

Attn: Ann Aber

Email: ann.aber@joann.com

With copies (which shall not constitute notice) to:

Kirkland & Ellis LLP

601 Lexington Avenue

New York, New York 10022

Attn: Joshua A. Sussberg, P.C. and Aparna Yenamandra, P.C.

Email: joshua.sussberg@kirkland.com; aparna.yenamandra@kirkland.com

-and-

Kirkland & Ellis LLP

333 West Wolf Point Plaza

Chicago, Illinois 60654

Attn: Anup Sathy, P.C; Jeffrey Michalik; and Lindsey Blumenthal

Email: anup.sathy@kirkland.com:; jeff.michalik(@kirkland.com; and
lindsey.blumenthal@kirkland.com

38
If to Agent:

GA Joann Retail Partnership, LLC

c/o GA Group

30870 Russell Ranch Road, Suite 250

Westlake Village, CA 91362

Attention: Scott K. Carpenter and Tim Shilling

Tel: (818) 746-9309

scarpenter@brileyfin.com; tshilling@pbrileyfin.com;
legal@brileyfin.com

With copies (which shall not constitute notice) to:

Lowenstein Sandler LLP

One Lowenstein Drive
Roseland, NJ 07068
Attention: Andrew Behlmann
Tel: (973) 597-2332
abehImann@lowenstein.com

16.4 Governing Law/Exclusive Jurisdiction.

(a) Jurisdiction and Exclusive Venue, Each of the Parties irrevocably agrees
that any Action of any kind whatsoever, including a counterclaim, cross-claim, or defense,
regardless of the legal theory under which any liability or obligation may be sought to be imposed,
whether sounding in contract or in tort or under statute, or whether at law or in equity, or otherwise
under any legal or equitable theory, that may be based upon, arising out of, or related to this
Agreement or the negotiation, execution, or performance of this Agreement or the Transactions
and any questions concerning the construction, interpretation, validity and enforceability of this
Agreement (each, an “Agreement Dispute”) brought by any other Party or its successors or assigns
will be brought and determined only in (a) the Bankruptcy Court and any federal court to which
an appeal from the Bankruptcy Court may be validly taken or (b) if the Bankruptcy Court is
unwilling or unable to hear such Action, in the Court of Chancery of the State of Delaware (or if
such court lacks jurisdiction, any other state or federal court sitting in the State of Delaware) (the
“Chosen Courts”), and each of the Parties hereby irrevocably submits to the exclusive jurisdiction
of the Chosen Courts for itself and with respect to its property, generally and unconditionally, with
regard to any Agreement Dispute. Each of the Parties agrees not to commence any Agreement
Dispute except in the Chosen Courts, other than Actions in any court of competent jurisdiction to
enforce any Order, decree or award rendered by any Chosen Courts, and no Party will file a motion
to dismiss any Agreement Dispute filed in a Chosen Court on any jurisdictional or venue-related
grounds, including the doctrine of forum non conveniens. The Parties irrevocably agree that venue
would be proper in any of the Chosen Court, and hereby irrevocably waive any objection that any
such court is an improper or inconvenient forum for the resolution of any Agreement Dispute.
Each of the Parties further irrevocably and unconditionally consents to service of process in the

39
manner provided for notices in Section 10.3. Nothing in this Agreement will affect the right of any
Party to serve process in any other manner permitted by Law.

(b) Governing Law; Waiver of Jury Trial. Except to the extent the mandatory
provisions of the Bankruptcy Code apply, this Agreement and any Agreement Dispute will be

governed by and construed in accordance with the internal Laws of the State of Delaware
applicable to agreements executed and performed entirely within such State without regards to
conflicts of law principles of the State of Delaware or any other jurisdiction that would cause the
Laws of any jurisdiction other than the State of Delaware to apply.

(c) EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
AGREEMENT DISPUTE IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT
ISSUES AND THEREFORE HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED
BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY
AGREEMENT DISPUTE. EACH OF THE PARTIES AGREES AND CONSENTS THAT ANY
SUCH AGREEMENT DISPUTE WILL BE DECIDED BY COURT TRIAL WITHOUT A JURY
AND THAT THE PARTIES MAY FILE AN ORIGINAL COUNTERPART OF A COPY OF
THIS AGREEMENT WITH ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF
THE PARTIES TO THE IRREVOCABLE WAIVER OF THEIR RIGHT TO TRIAL BY JURY.
EACH PARTY (1) CERTIFIES THAT NO ADVISOR OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF ANY AGREEMENT DISPUTE, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 16.4(c).

16.5 Amendments, This Agreement may not be modified except in a written
instrument executed by all of the Parties.

16.6 No Waiver. No consent or waiver by any Party, express or implied, to or
of any breach or default by the other in the performance of its obligations hereunder shall be
deemed or construed to be a consent or waiver to or of any other breach or default in the
performance by such other Party of the same or any other obligation of such Party. Failure on the
part of any Party to complain of any act or failure to act by the other Party or to declare the other
Party in default, irrespective of how long such failure continues, shall not constitute a waiver by
such Party of its rights hereunder.

16.7 Currency, All reference to dollars in this Agreement and all schedules,
exhibits, and ancillary documents related to this Agreement shall refer to U.S. dollars.

16.8 Successors and Assigns. This Agreement shall inure to the benefit of and
be binding upon Agent and, subject to entry and the terms of the Approval Order, Merchant and
their respective successors and assigns, including, but not limited to, any chapter 11 or chapter 7
trustee; provided, however, that this Agreement may not be assigned by any of the Parties without
the prior written consent of the other; provided further, however, that notwithstanding the
foregoing, Agent may collaterally assign its interest in this Agreement to its lenders, but no such
assignment shall relieve Agent from its obligations or liabilities under this Agreement.

40
16.9 Third Party Beneficiaries, Except as otherwise expressly provided herein,
nothing expressed or referred to in this Agreement will be construed to give any Person other than
(i) for purposes of Section 16.10, the Non-Recourse Persons, and (ii) the Parties hereto and such
permitted assigns, any legal or equitable right, remedy, or claim under or with respect to this
Agreement or any provision of this Agreement.

16.10 Non-Recourse. This Agreement may only be enforced against, and any
Action based upon, arising out of or related to this Agreement may only be brought against, the
Persons that are expressly named as parties to this Agreement. Except to the extent named as a
party to this Agreement, and then only to the extent of the specific obligations of such parties set
forth in this Agreement, no past, present or future shareholder, member, partner, manager,
director, officer, employee, Affiliate, agent or advisor of any Party (each, a “Non-Recourse
Person”) will have any liability (whether in contract, tort, equity or otherwise) for any of the
representations, warranties, covenants, agreements or other obligations or liabilities of any of the
parties to this Agreement or for any Agreement Dispute and (ii) in no event shall any Party have
any shared or vicarious liability, or otherwise be the subject of legal or equitable claims, for the
actions or omissions (including through equitable claims (such as unjust enrichment) not
requiring proof of wrongdoing committed by the subject of such claims) of any other Person, and
each of such Persons are intended third party beneficiaries of this Section 16.10 and shall be
entitled to enforce this Section 16.10 as ifa party directly hereto,

16.11 Construction. The language used in this Agreement will be deemed to be
the language chosen by the Parties to express their mutual intent, and no rule of strict construction
will be applied against any Person. The headings of the sections and paragraphs of this Agreement
have been inserted for convenience of reference only and will in no way restrict or otherwise
modify any of the terms or provisions hereof.

16.12 No Right of Set-Off. Agent, on its own behalf and on behalf itself and its
Affiliates and representatives and its and their respective successors and permitted assigns, hereby
waives any rights of set-off, netting, offset, recoupment or similar rights that any of them has or
may have with respect to the payment of the Debt Payoff or Wind-Down Payments or any other
payments to be made by Agent pursuant to this Agreement or any other document or instrument
delivered by Agent in connection herewith.

16.13 Fiduciary Obligations. Nothing in this Agreement, or any document
related to the Transactions, will require Merchant or any of its Affiliates or any of their respective
managers, officers or members, in each case, in their capacity as such, to take any action, or to
refrain from taking any action, to the extent inconsistent with their fiduciary obligations or
applicable law.

16.14 Execution in Counterparts. This Agreement may be executed in one or
more counterparts. Each such counterpart shall be deemed an original, but all such counterparts
together shall constitute one and the same agreement. This Agreement, to the extent signed and
delivered by means of a facsimile machine, electronic mail, or other electronic transmission in
which the actual signature is evident, shall be treated in all manner and respects as an original
agreement or instrument and shall be considered to have the same binding legal effect as if it were
the original signed version thereof delivered in person. At the request of any Party, each other

4]
Party shall re-execute original forms hereof and deliver them to all other Parties. No Party shall
raise the use of a facsimile machine, electronic mail, or other electronic transmission in which the
actual signature is evident to deliver a signature or the fact that any signature or agreement or
instrument was transmitted or communicated through the use of a facsimile machine, electronic
mail or other electronic transmission in which the actual signature is evident as a defense to the
formation of a contract and each Party forever waives such defense. In proving this Agreement, it
shall not be necessary to produce or account for more than one such counterpart signed by the
Party against which enforcement is sought.

16.15 Section Headings. The headings of sections of this Agreement are inserted
for convenience only and shall not be considered for the purpose of determining the meaning or
legal effect of any provisions hereof.

16.16 Wiring of Funds. All amounts required to be paid under any provision of
this Agreement shall be made by wire transfer of immediately available funds no later as 2:00 p.m.
(Eastern Time) on the date that such payment is due, so long as all information necessary to
complete the wire transfer has been received by the payor by 10:00 a.m. (Eastern Time) on the
date that such payment is due. In the event that the date on which any such payment is due is not
a business day, then such payment shall be made by wire transfer on the next business day.

16.17 Nature of Remedies. No failure to exercise and no delay in exercising, on
the part of Agent, any right, remedy, power, privilege or adjustment hereunder, shall operate as a
waiver thereof; nor shall any single or partial exercise of any right, remedy, power, privilege, or
adjustment hereunder preclude any other or further exercise thereof or the exercise of any other
right, remedy, power, privilege, or adjustment.

16.18 Entire Agreement. This Agreement contains the entire agreement between
the Parties with respect to the transactions contemplated hereby and supersedes and cancels all
prior agreements, including, but not limited to, all proposals, letters of intent or representations,
written or oral, with respect thereto. In the event an ambiguity or question of intent or
interpretation arises with respect to this Agreement, the terms and provisions of the execution
version of this Agreement will control and prior drafts of this Agreement and the documents
referenced herein will not be considered or analyzed for any purpose (including in support of parol
evidence proffered by any Person in connection with this Agreement), will be deemed not to
provide any evidence as to the meaning of the provisions hereof or the intent of the Parties with
respect hereto and will be deemed joint work product of the Parties.

16.19 Bidding and Auction. On the first business day following the entry of the
Approval Order and consummation of the transactions contemplated by this Agreement or the date
on which Agent has received documentation of all of the Stalking Horse Bidder (as defined in the
Bid Procedures Order)’s expenditures described in this Section 16.19, whichever is later, Agent
shall pay to or for the benefit of the Stalking Horse Bidder an expense reimbursement of (x) up to
$500,000 to cover its reasonable out-of-pocket costs and expenses associated with due diligence
and professionals’ fees and expenses associated with, among other things, negotiating, drafting,
and obtaining approval of the Stalking Horse Agreement (as defined in the Bid Procedures Order),

42
and (y) up to $1,600,000 for any actual, reasonable costs incurred by the Stalking Horse Bidder to
acquire signage for the Sale (together (x) and (y), the “Expense Reimbursement”).

16.20 Potential Joint Ventures. Agent shall have the right, in its sole discretion,
to form a contractual joint venture with additional entities to serve as “Agent” hereunder as to this
Agreement. However, GA Joann Retail Partnership, LLC shall remain liable for all liabilities and
obligations of Agent hereunder.

16.21 Certain Definitions.

(a) “Action” means any action, suit, litigation, arbitration, mediation, audit,
proceeding (including any civil, criminal, administrative, investigative or appellate proceeding) or
prosecution, of any kind whatsoever, whether sounding in contract or tort, or whether at law or in
equity, or otherwise under any legal or equitable theory, commenced, brought, conducted or heard
by or before any governmental body.

(b) “Affiliate” means, with respect to any Person, any other Person that, directly
or indirectly through one or more intermediaries, controls, or is controlled by, or is under common
control with, such Person, and the term “control” (including the terms “controlled by” and “under
common control with”) means the possession, directly or indirectly, of the power to direct or cause
the direction of the management, affairs and policies of such Person, whether through ownership
of voting securities, by contract or otherwise.

(c) “Contract” means Merchant’s right, title, and interest in and to executory
contracts (together with all amendments, extensions, modifications, and other material documents
related thereto).

(d) “Excluded Assets” means:

(i) all documents prepared or received by Merchant or any of its
affiliates or on their behalf in connection with the sale of the Assets, this Agreement or the other
Agency Documents, the transactions contemplated by this Agreement, or the Bankruptcy Case,
including (a) all records and reports prepared or received by Merchant or any of its Affiliates or
representatives in connection with the sale of the Assets or the transactions contemplated by this
Agreement, including all analyses relating to the business of Merchant or any of its Affiliates so
prepared or received, (b) all bids and expressions of interest received from third parties with
respect to the acquisition of any of Merchant’s or any of its Affiliates’ businesses or assets, (c) all
privileged materials, documents and records of Merchant or any of its Affiliates, (d) copies of the
documents, materials and data related to liabilities prior to the Closing, (e) confidentiality
agreements with prospective purchasers of the Assets, and (f) any other files or records to the
extent relating to any Excluded Assets or liabilities or the Bankruptcy Case;

(ii) all current and prior insurance policies or employee benefit plans of
Merchant or any of its Affiliates, including for the avoidance of doubt all director and officer
insurance policies, and all rights and benefits of any nature of Merchant or any of its Affiliates
with respect thereto, including all insurance recoveries thereunder and rights to assert claims with
respect to any such insurance recoveries;

43
(iii) —_ all equity interests;

(iv) Merchant’s claims, causes of action or other rights under this
Agreement, including the Purchase Price, or any agreement, certificate, instrument, or other
document executed and delivered between Merchant or its Affiliates and Agent or any of its
Affiliates or designees in connection with the transactions contemplated by this Agreement, or any
other agreement between Merchant or any of its Affiliates and Agent or any of its Affiliates or
designees entered into on or after the date hereof;

(v) the Funded Reserve Account, as defined in the Cash Collateral
Order;

(vi) all liabilities or other amounts owing from Merchant or any of its
Affiliates;

(vil) all IT Systems; and

(vili) tax attributes of Merchant and its Affiliates other than those
transferring to Agent by operation of applicable tax law, and, for the avoidance of doubt, other
than the proceeds of any tax refunds or credits of Merchant and its Affiliates realized in cash or by
reduction of a cash tax liability in lieu of cash that otherwise could have been received.

(e) “TP Rights” means all intellectual property rights throughout the world
including all U.S. and foreign rights in any of the following: (a) patents, patent applications, patent
disclosures and inventions (whether or not protectable under patent law), together with all reissues,
continuations, continuations-in-part, revisions, divisionals, extensions, and reexaminations in
connection therewith; (b) trademarks, service marks, trade names (in each case, whether registered
or unregistered), domain names, logos, design rights, corporate names, and registrations and
applications for registration thereof and goodwill associated with any of the foregoing
(collectively, “Trademarks”); (c) copyrights and copyrightable works (registered or unregistered)
and registrations and applications for registration thereof; (d) computer programs (whether in
source code, object code, or other form), computer software, firmware, data, databases, and rights
therein, and all documentation, including user manuals and training materials, programmers’
annotations, notes, and other work product used to design, plan, organize, maintain, support or
develop, or related to any of the foregoing (collectively, “Software”); (e) confidential and
proprietary information, trade secrets and know-how, and all other inventions, proprietary
processes, formulae, models, and methodologies (collectively, together with Software, “Trade
Secrets”); (f) all customer information, customer lists, and related documentation and information;
and (g) all rights and remedies (including the right to sue for and recover damages) against past,
present, and future infringement, misappropriation, or other violation relating to any of the
foregoing.

(f) “TT Systems” means all (i) Software, computers, computer systems, servers,
hardware, telecommunications and network equipment firmware, middleware, websites,
databases, networks, servers, workstations, routers, hubs, switches, data communication
equipment and lines, telecommunications equipment and lines, co-location facilities and
equipment, and all other information technology equipment and related items of automated,

44
computerized or software systems, including any outsourced systems and processes and the data
transmitted thereby or thereon, in each case owned, leased or licensed by Merchant or used in or
relied on in connection with the business of Merchant.

(f) “Permitted Encumbrances” means (i) encumbrances for utilities and taxes
not yet due and payable, or that are being contested in good faith, or the nonpayment of which is
permitted or required by the Bankruptcy Code, (ii) easements, rights of way, restrictive covenants,
encroachments and similar non-monetary encumbrances or non-monetary impediments that do
not, individually or in the aggregate, adversely affect the operation of the Assets and, in the case
of the Leases, that do not, individually or in the aggregate, adversely affect the use or occupancy
of the respective leased real property, (iii) applicable zoning laws, building codes, land use
restrictions and other similar restrictions imposed by law, (iv) materialmans’, mechanics’,
artisans’, shippers’, warehousemans’ or other similar common law or statutory liens incurred in
the ordinary course for amounts not yet due and payable or that are being contested by appropriate
proceedings, (v) real estate taxes, assessments and other governmental levies, fees or charges
imposed with respect to real property which are not yet due or that are being contested in good
faith, (vi) licenses granted on a non-exclusive basis, and (vi) solely prior to Closing, any
encumbrances that will be removed or released by operation of the Approval Order.

(g) | “Person” means an individual, corporation, partnership, limited liability
company, joint venture, association, trust, unincorporated organization, labor union, organization,
estate, governmental body or other entity or group.

(h) “Proceeds” means all proceeds (cash or otherwise, including payments from
insurance on the Assets or Merchandise) of or from any of the Assets or Additional Agent
Merchandise except as otherwise set forth in this Agreement and exclusive of amounts to pay Sales
Taxes, including but not limited to all Proceeds arising from the sale, lease, licensing, assignment,
or other disposition of any of the Assets and all service or other revenue received in the Stores.

(i) “Related Party” means each of, and in each case in its capacity as such,
current: directors, managers, officers, committee members, members of any governing body,
equity holders (regardless of whether such interests are held directly or indirectly), subsidiaries,
Affiliates, employees, financial advisors, attorneys (including any other attorneys or professionals
retained by any current director or manager in his or her capacity as director or manager of an
Entity), investment bankers, representatives, and other professionals and advisors.

(j) “Term Loan Ad Hoc Group Advisors” means Gibson, Dunn & Crutcher
LLP, Glenn Agre Bergman & Fuentes LLP, and Morris, Nichols, Arsht & Tunnell LLP.

16.22 Rules of Interpretation. Unless otherwise expressly provided in this
Agreement, the following will apply to this Agreement, the Schedules and any other certificate,
instrument, agreement or other document contemplated hereby or delivered hereunder.

(a) The terms “hereof,” “herein” and “hereunder” and terms of similar import
are references to this Agreement as a whole and not to any particular provision of this Agreement,
section, clause, schedule and exhibit references contained in this Agreement are references to
sections, clauses, schedules and exhibits in or to this Agreement, unless otherwise specified. All

45
Exhibits and Schedules annexed hereto or referred to herein are hereby incorporated in and made
a part of this Agreement as if set forth in full herein. Any capitalized terms used in any Schedule
or Exhibit but not otherwise defined therein shall be defined as set forth in this Agreement.

37 ee

(b) Whenever the words “include,” “includes” or “including” are used in this
Agreement, they will be deemed to be followed (even if not actually followed) by the words
“without limitation.” Where the context permits, the use of the term “or” will be equivalent to the
use of the term “and/or.”

(c) The words “to the extent” shall mean “the degree by which” and not simply
“of”

(d) When calculating the period of time before which, within which or
following which any act is to be done or step taken pursuant to this Agreement, the date that is the
reference date in calculating such period will be excluded. If the last day of such period is a day
other than a business day, the period in question will end on the next succeeding business day.

(e) Words denoting any gender will include all genders, including the neutral
gender. Where a word is defined herein, references to the singular will include references to the
plural and vice versa.

(f) The word “will” will be construed to have the same meaning and effect as
the word “shall”. The words “shall,” “will,” or “agree(s)” are mandatory, and “may” is permissive.

(g) All references to a day or days will be deemed to refer to a calendar day or
calendar days, as applicable, unless otherwise specifically provided.

(h) Any reference to any agreement or Contract will be a reference to such
agreement or Contract, as amended, modified, supplemented or waived.

(i) Any reference to any particular Bankruptcy Code or Tax Code section or
any Law will be interpreted to include any amendment to, revision of or successor to that section
or Law regardless of how it is numbered or classified; provided that, for the purposes of the
representations and warranties set forth herein, with respect to any violation of or non-compliance
with, or alleged violation of or non-compliance, with any Bankruptcy Code or Tax Code section
or Law, the reference to such Bankruptcy Code or Tax Code section or Law means such
Bankruptcy Code or Tax Code section or Law as in effect at the time of such violation or
noncompliance or alleged violation or non-compliance.

(j) A reference to any Party to this Agreement or any other agreement or
document shall include such Party’s successors and assigns, but only if such successors and assigns
are not prohibited by this Agreement.

(k) | Areference to a Person ina particular capacity excludes such Person in any
other capacity or individually.

[signature pages follow]

46
Docusign Envelope ID: 1764540C-C4BE-4B43-9E54-27A3 1B66E31E

IN WITNESS WHEREOF, each Party hereby executes this Agreement by their
respective duly authorized representatives as a sealed instrument as of the day and year first
written above.

Merchant:

JOANN INC.

Signed by:
| Sefirey Dwyer
By: ADE1EABESE724E

Name: Jeff Dwyer

Title: Interim Chief Financial Officer

[Signature Page to Agency Agreement]
Docusign Envelope ID: DE56877F-63CD-4194-B90B-CE61B80DC154

Agent:

GA JOANN RETAIL PARTNERSHIP, LLC

By: Scott Carpuntur

Name: Scott K. Carpenter
Title: CEO

[Signature Page to Agency Agreement]
Term Agent:

WILMINGTON SAVINGS FUND SOCIETY, FSB

By: Qe

Name: Craig Cramer
Title: Trust Officer

Exhibit 1(a)(1)
Exhibit 1(a)(2)
Exhibit 2(b)(iv)
Exhibit 3.1(b)
Exhibit 3.1 (c)
Exhibit 3.1(e)
Exhibit 8.1
Exhibit 11.2(m)

List of Exhibits

Stores

Distribution Centers

Form of Asset Designation Notice
Wind-Down Budget

Central Services Budget

Term Loan Ad Hoc Group Direction Letter
Sale Guidelines

Promotional Calendar
Annex 1

JOANN INC.

Creative Tech Solutions LLC
Creativebug, LLC
Dittopatterns LLC

JAS Aviation, LLC

JOANN Ditto Holdings Inc.
JOANN Holdings 1, LLC
JOANN Holdings 2, LLC
Jo-Ann Stores, LLC

Jo-Ann Stores Support Center, Inc,
joann.com, LLC

Needle Holdings, LLC
WeaveUp, Inc.
Exhibit 1(a)(1)

Stores
Joann
Store List

Exhibit 1 (a) (1)

Selling

Str Name/Mall Address City ST Zip S.F.

102 Seven Corners Center 6320 Seven Corners Ctr Falls Church VA 22044 13,824
106 Diamond Square S/C 2A Bureau Dr Gaithersburg MD 20878 15,000
107 Middleton Market Place 232A South Main St Middleton MA 01949 18,500
112 Tamal Vista Blvd. 245 Tamal Vista Blvd Corte Madera CA 94925 12,450
123 Beltway Plaza Mall 6200 Greenbelt Rd Greenbelt MD 20770 14,000
132 Hooksett Village Shops 1328 Hooksett Rd Hooksett NH 03106 12,500
135 Flagler Park Plaza 8257 W Flagler St Miami FL 33144 12,016
138 ~~‘ Rivercrest Centre 4917 Cal Sag Rd Crestwood IL 60445 14,000
140 DanadaSquareWestS/C 36 Danada Sq W Wheaton IL 60189 12,629
145 Macarthur Towne Center 2570 Macarthur Rd Ste 12 Whitehall PA 18052 31,000
153. Salisbury Plaza 580 Old Country Rd Westbury NY 11590 15,574
154 Industrial Drive 3620 Industrial Dr Santa Rosa CA 95403 15,000
168 Creekside Plaza 1830 E Parks Hwy Ste A122 Wasilla AK 99654 12,243
171 Darrow Road 5381 Darrow Rd Hudson OH 44236 46,700
172 Town & Country S/C 1015 S Broadway Minot ND 58701 11,981
173 Merchants Crossing S/C 15201 N Cleveland Ave Ste 400 Fort Myers FL 33903 16,000
176 Oak Valley Center 2897 Oak Valley Dr Ann Arbor MI 48103 12,750
177 = Dartmouth Town Ctr 454 State Rd North DartmouttMA = 02747 12,000
181 Parkview Plaza 838 Plaza Blvd Lancaster PA 17601 17,014
206 Queensbury Plaza 756 Upper Glen St Ste 15 Queensbury NY 12804 15,260
221 Great Southern S/C 1155 Washington Pike Bridgeville PA 15017 22,461
224 Pullman Square 160 Pullman Sq Butler PA 16001 16,905
227 ~~ Lima Center 2720 Elida Rd Lima OH 45805 16,608
236 Suburban Plaza 505 Benner Pike State College PA 16801 16,960
245 ~~ Annapolis Plaza 150 Jennifer Rd Ste C Annapolis MD 21401 10,562
257 ~+Great South Bay S/C 735 W Montauk Hwy West Babylon NY 11704 18,469
266 Newington Park 2064 Woodbury Ave Ste 302 Newington NH 03801 22,500
279 Southland Plaza 2576 S Main St Adrian MI 49221 12,103
284 = =St Clair Plaza 15765 State Route 170 Ste 1 East Liverpool OH 43920 12,000
289 Green Mountain S/C 308 Us Route 7S Rutland Town VT 05701 16,800
292 Dalton Ave Plaza 457 Dalton Ave Pittsfield MA 01201 12,000
294 Northwest Plaza 1910 N Saginaw Rd Midland MI 48640 15,000
301 Chautauqua Mall 318 E Fairmount Ave Rm 106 Lakewood NY 14750 11,612
305 ~—- Felch Street Plaza 12635 Felch St Ste 60 Holland MI 49424 15,194
306 Grosse Pointe Farms 18850 Mack Ave Grosse Pointe Ml 48236 17,000
308 = Springfield Plaza S/C 1608J Upper Valley Pike Ste C9 Springfield OH 45504 12,800
309 ~—— Potter Village 1212 Oak Harbor Rd Fremont OH 43420 13,120
312 North Lakeland Plaza 4241 Us Highway 98 N Lakeland FL 33809 19,100
319 East Town Plaza 2021 Zeier Rd Madison WI 53704 20,000
324 Silver Nail S/C 2020 Silvernail Rd Pewaukee Wi 53072 10,462
328 Five Points Mall 1129 N Baldwin Ave Ste 32 Marion IN 46952 11,160
329 Topsham Fair Mall 49 Topsham Fair Mall Rd Ste 17 Topsham ME 04086 17,900
333 Lakewood Plaza 4387 Commercial Way Spring Hill FL 34606 14,000
348 Bear Point Plaza 2686 Us Highway 23 S Alpena MI 49707 13,000
351 Twenty-Fourth Avenue 4405 24Th Ave Fort Gratiot MI 48059 20,000
354 ~~ Kent Hill Plaza 25810 104Th Ave Se Kent WA 98030 18,067
358 Riverside Plaza 162 Clinton St#2 Cortland NY 13045 14,132
363. Memorial Bridge Plaza 2311 Ohio Ave Unit C Parkersburg WV 26101 14,000
372 South Park Plaza 18921 Park Avenue Plz Meadville PA 16335 18,000
378 — Hollywood City Center 282 S Hollywood Blvd Steubenville OH 43952 15,800
379 Reynolds Plaza 2559 S Reynolds Rd Toledo OH 43614 17,193
384 Zane Plaza 1080 N Bridge St Chillicothe OH 45601 10,032
387 Dubois Mall 5456 Shaffer Rd Du Bois PA 15801 18,000
395 Westminster S/C 20 Englar Rd Westminster MD 21157 14,000
403 Hanover Commons 1302 Washington St Hanover MA 02339 13,280
408 Worcester Road 244 Worcester Rd Natick MA 01760 20,300
410 — Jfk Mall 180 Jfk Plz Waterville ME 04901 12,500
414 —_ East Bay Plaza 724 Munson Ave Traverse City MI 49686 22,606

Joann
Store List
Exhibit 1 (a) (1)

Selling

Str Name/Mall Address City ST Zip S.F.

417 ‘Tri-County Plaza 1500 Canton Rd Akron OH 44312 13,600
418 = Milford Plaza 91 Medway Rd Ste#3 Milford MA 01757 23,250
429 ‘Pine Tree S/C 1064 Brighton Ave Portland ME 04102 21,025
431 Patuxent Crossing 22576 Macarthur Blvd Ste 300 California MD 20619 14,058
455 Niagara Square 2429 Military Rd Niagara Falls NY 14304 13,001
461 The Shoppes at Dove Creek 4908 State Hwy 30 Ste#8 Amsterdam NY 12010 14,000
472 Westford Valley Mkt 174 Littleton Rd Westford MA 01886 11,620
473 Bonaventure Plaza 1635 Plymouth Rd Minnetonka MN 55305 18,000
477 ~— Shaw'S Plaza 300 New State Hwy Raynham MA 02767 15,775
480 South End S/c 1109 Maryland Ave Hagerstown MD 21740 17,344
485 Summit Town Center 7200 Peach St Unit 150 Erie PA 16509 15,000
492 Majestic Square 2950 Center Ave Essexville MI 48732 14,672
495 —_ Lincoln Way East S/C 1678 Lincoln Way E#7 Chambersburg PA 17201 12,432
498 Toy'S R'Us Plaza 6151 S Westnedge Ave Portage MI 49002 20,016
503 Quincy Mall 425 N 32Nd St Quincy IL 62301 15,193
506 Lafayette Center 448 Pike St Marietta OH 45750 9,000
507 West Side Mall 150 W Side Mall Ste 150 Edwardsville PA 18704 24,000
511 Millwood Pike 1092 Millwood Pike Winchester VA 22602 13,440
516 ~—— Plaza 41 (Former Holz Haus) 2725 West 41St Street Sioux Falls SD 57105 21,110
518 Division Street Plaza 3332 W Division St Saint Cloud MN = 56301 20,600
521 University Plaza S/C 1332 E Main St Carbondale IL 62901 12,004
523. Edgewood Plaza 1216 N Memorial Dr Lancaster OH 43130 15,000
525 Northwest Plaza 1625 W Mcgalliard Rd Muncie IN 47304 18,000
526 Commerce Square 45 Hinesburg Rd South Burlingtor VT 05403 19,560
527 Eagle Center 1920 N Henderson St Galesburg IL 61401 14,040
539 New Towne Centre 44740 Ford Rd Canton MI 48187 35,303
545 “Festival At Hamilton S/C 3926 Festival At Hamilton Mays Landing NJ 08330 11,910
551 Mercer On One 3371 Brunswick Ave Lawrenceville NJ 08648 18,115
557 — Soldotna Plaza 35535 Kenai Spur Hwy Soldotna AK 99669 12,525
566 ~~ Lake Park S/C 4333 Franklin St Michigan City IN 46360 15,000
569 =‘ Fletcher Square 9 Fletcher Sq Dunbar WV 25064 17,211
573. Wal-Mart Plaza 3527 E Main St Richmond IN 47374 13,600
583 JOANN Fabrics Plaza 10875 Caribbean Blvd Miami FL 33189 19,557
593 Shrewsbury Plaza 1026 Broad St Shrewsbury NJ 07702 15,000
603 Beavercreek Towne Centre 2850 Centre Dr Ste G Fairborn OH 45324 19,800
605 ‘Portal Plaza 19765 Stevens Creek Blvd Cupertino CA 95014 17,614
607 Whitehall Plaza 3483 W 3Rd St Bloomington IN 47404 28,365
608 Shiloh Springs Plaza 5001 Salem Ave Dayton OH 45426 18,172
615  Norriton Square S/C 45 E Germantown Pike Norristown PA 19401 12,250
630 Centre At Dover 283 N Dupont Hwy Ste F Dover DE 19901 11,602
631 Wegmans Plaza 2157 Penfield Rd Penfield NY 14526 15,675
633  Meminnville Town Ctr 1401 N Highway 99W Meminnville OR 97128 12,000
640 —_— Lavala Plaza S/C 1313 National Hwy Lavale MD 21502 9,000
644 Cedar Crest Sq S/C 1860 Quentin Rd Lebanon PA 17042 14,000
645 Kingston Plaza 1385 Ulster Ave Kingston NY 12401 14,678
653 Columbia Junction Mall 2781 32Nd Ave S Grand Forks ND 58201 12,000
665 Wilshire Plaza 5612 Grape Rd Mishawaka IN 46545 21,690
683 Tri-County Plaza 360 Tri County Ln Belle Vernon PA 15012 10,560
690 Madison Place S/C 32065 John R Rd Madison Height Ml 48071 35,861
692 Regency Mall 1570 Oakland Ave Indiana PA 15701 14,965
697 — lrongate Mall 990 W 41St St Ste 2 Hibbing MN 55746 15,750
701 Clinton Commons S/C 274 E Main St Clinton CT 06413 10,000
728 — Rivers Edge Mall 401 Bernard St Watertown Wi 53094 11,300
730 ~~ South El Camino Real 1948 S El Camino Real San Mateo CA 94403 14,008
733 ~~ Bloomfield Village Sq 4107 Telegraph Rd Bloomfield Hills Ml 48302 28,000
736 Capitol Plaza 1802 Thomasville Rd Tallahassee FL 32303 18,765
753 ~~ Lapeer S/C 1865 W Genesee St Lapeer MI 48446 12,650
772 ~—«*Village Market Place 365 E Burleigh Blvd Tavares FL 32778 20,306

Joann

Store List
Exhibit 1 (a) (1)

Selling

Str Name/Mall Address City ST Zip S.F.

77? ~~ Middlesex Commons 43 Middlesex Tpke Burlington MA 01803 15,000
783 ~~ Tieton Village S/C 3702 Tieton Dr Yakima WA 98902 22,500
784 ~—s Five Mile S/C 1840 W Francis Ave Spokane WA 99205 28,000
789 Cascade Plaza 7601 Evergreen Way Everett WA = 98203 19,284
791 Holiday Village 1900 Brooks St Missoula MT 59801 24,265
792 ~——«CBi-Mart Plaza 2248 Santiam Hwy Se Albany OR 97322 13,500
793 Northeast Sunset Blvd. 2823 Ne Sunset Blvd Renton WA 98056 15,804
794 ~~ High Point S/C 1029 Bethel Ave Port Orchard WA 98366 12,648
796 ~=Federal Way Plaza 3275 S Federal Way Boise ID 83705 16,000
800 Mohawk Market Place 2122 Marcola Rd Springfield OR 9/477 14,040
802 — Port Angeles Plaza 150 Port Angeles Plz PortAngeles WA 98362 14,300
805 Aurora Ave North 15236 Aurora Ave N Shoreline WA 98133 22,880
810 Gateway Square 470 Bridge St Clarkston WA 99403 17,089
812 Harris Street 510 Harris St Eureka CA 95503 15,990
814 Christmas Tree Promenade 665 lyannough Rd Hyannis MA 02601 17,645
816 Mariner Plaza 224B Eglin Pkwy Ne Fort Walton Bee FL 32547 15,750
820 Warrenton Center 251 W Lee Hwy Ste 659 Warrenton VA 20186 12,000
822 K-Mart Plaza 228 W Main St Ste 12 Malone NY 12953 10,408
824 Seacoast S/C 270 Lafayette Rd Unit 8 Seabrook NH 03874 12,000
826 Big Y Plaza 433 Center St Ste B Ludlow MA 01056 15,228
830 Belknap Mall S/C 12 Old State Rd Belmont NH 03220 16,395
850 Vacaville Commons 2051 Harbison Dr Vacaville CA 95687 15,052
856 Butte Plaza Mall 3100 Harrison Ave Butte MT 59701 9,000
858 =‘ Treble Cove Plaza 199 Boston Rd North Billerica MA 01862 12,754
862 Packard Plaza 5656 S Packard Ave Cudahy WI 53110 14,310
863 — Hutchinson Mall 1060 Highway 15 Hutchinson MN 55350 13,060
866 ~=Park Plaza 789 Hebron Rd Heath OH 43056 15,200
870 ~—- Miracle Village S/C 4069 Nw Logan Rd Lincoln City OR 97367 18,500
871 Peninsula Boardwalk 308 Walnut St Redwood City CA 94063 16,336
873 ~~ Stillwater Avenue 710 Stillwater Ave Bangor ME 04401 23,400
875 Auburn Plaza 732 Center St Auburn ME 04210 12,189
889 —— Pilgrim Place S/C 1406 Pilgrim Lane Plymouth IN 46563 10,048
898 Dunning Farms S/C 88 Dunning Rd Ste 23 Middletown NY 10940 16,000
899 Vincennes Plaza 630 Niblack Blvd #6 Vincennes IN 47591 16,750
902 Shops At Avenue O 1522 3Rd St Sw Winter Haven FL 33880 12,375
904 ~—- Capitol S/C 80 Storrs St Ste 5 Concord NH 03301 18,872
915 Cascade Square 1324 W 6Th St The Dalles OR 97058 12,000
920 Skypark Plaza 2485 Notre Dame Blvd Ste 310 Chico CA 95928 20,664
944 ~=Miami Valley Crossing 1256 E Ash St Piqua OH 45356 27,500
957 ~—‘ Four Flaggs S/C 8245 W Golf Rd Niles IL 60714 16,985
968 The Greenery 7706 N Kendall Dr Miami FL 33156 18,490
970 Southland Four Seasons 513 Clairton Blvd Pittsburgh PA 15236 18,960
975 — Springfield S/C 594 N Lexington Springmill Rd Mansfield OH 44906 35,000
976 Hamden Mart 3/C 2300 Dixwell Ave Hamden CT 06514 25,494
995 Angola Plaza 2010 N Wayne St Ste G Angola IN 46703 7,500
998 The Landings 4934 S Tamiami Trl Sarasota FL 34231 20,411
1001 Shops At Soncy 3220 S Soncy Rd Amarillo TX 79124 30,000
1011 ~~ Fletcher Hills Town & Countn 2756 Fletcher Pkwy El Cajon CA 92020 27,384
1014 Ming Retail Center 3010 Ming Ave Bakersfield CA 93304 20,284
1021 Savannah Centre 7400 Abercorn St Savannah GA 31406 15,650
1023 Pompano Marketplace 1131 S Federal Hwy Pompano Beact FL 33062 20,200
1032 Staples Crossing S/C 5625 S Padre Island Dr#B Corpus Christi TX 78412 26,700
1044 ~— Hollywood Blvd 4700 Hollywood Blvd Hollywood FL 33021 19,880
1046 Central Mall 2259 S 9Th St Ste 38 Salina KS 67401 16,159
1073 Pleasant Valley S/C 3415 Pleasant Valley Blvd, Ste 78 Altoona PA 16602 14,220
1074 Centrum At Crossroads 2420 Walnut St Cary NC 27518 24,975
1078 Oakcreek Village S/C 4600 Chapel Hill Blvd Ste 8 Durham NC 27707 16,051
1089 Tops Plaza 2503B W State Street Olean NY 14760 17,855

Joann
Store List

Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
1094 DW Center 14346 Warwick Blvd Ste 480 Newport News VA 23602 15,300
1095 Southwest Commons 8601 W Cross Dr Unit Sm Littleton co 80123 25,650
1096 Nugget Mall 8745 Glacier Hwy Juneau AK 99801 22,176
1098 Cross Creek Plaza 1800 Skibo Rd Fayetteville NC 28303 20,905
1102 Dowlen Town Center 4035 N Dowlen Road Beaumont TX 77706 22,033
1103 South York Crossing 2136 S Queen St York PA 17403 16,316
1106 Colonia Plaza 1272 State Rt 27 Colonia NJ 07067 15,700
1107 Venice Village 4143 Tamiami Trl S Bay 20 Venice FL 34293 10,080
1126 Fountain S/C 1200 Charleston Hwy West Columbia SC 29169 15,000
1131 West Shore Plaza 1200 Market St Lemoyne PA 17043 20,125
1149 Sagamore @ 26 Shopping C:'311 Sagamore Pkwy N Lafayette IN 47904 18,728
1152 Los Coyotes Centers 3588 Palo Verde Ave Long Beach CA 90808 12,000
1185 Gateway S/C 153 E Swedesford Rd Wayne PA 19087 12,000
1223 Conejo Valley Plaza 1516 N Moorpark Rd Thousand Oaks CA 91360 30,000
1227 East Mockingbird Lane 6330 E Mockingbird Ln Dallas TX 75214 17,959
1244 Shady Oaks Shopping Cente 2405 Sw 27Th Ave Ocala FL 34471 25,304
1268 Tejas Center 725 E Villa Maria Rd Ste 4100 Bryan TX 77802 15,140
1270 Riverdale Plaza 1076 W Mercury Blvd Hampton VA 23666 14,000
1288 La Verne Plaza 2086 Foothill Blvd Ste A La Verne CA 91750 11,350
1291 ~~ Village At Collin Creek 700 Alma Dr Plano TX 75075 25,014
1305 Buckhorn Plaza 6136 E Main St Mesa AZ 85205 9,967
1309 Pan America Plaza 1711 E University Ave Las Cruces NM ~ 88001 9,550
1333 Home Depot Plaza 10057 Us Highway 19 Port Richey FL 34668 35,000
1402 Copperfield Crossing 15520 Fm 529 Rd Houston TX 77095 14,500
1404 Santa Fe Square 965 S Gilbert Rd Mesa AZ 85204 21,638
1433  Willowchase Center 12918 Willow Chase Dr Houston TX 77070 20,918
1440 Country Side Center 2250 Griffin Way Corona CA 92879 20,540
1447 Towne House Plaza 9901 Adams Ave Huntington Bea CA 92646 19,000
1452 ~~ Riverwalk Shopping Plaza 1632 S Federal Hwy Boynton Beach FL 33435 14,938
1464 Camino Town & Country S/C 2227 S El Camino Real Ste C Oceanside CA 92054 17,262
1471 ~~ University Centre 352 3 College Rd Ste 24 Wilmington NC 28403 14,000
1478 ~The Falls Centre 4412 Falls Of Neuse Rd Ste 101 Raleigh NC 27609 18,250
1488 Rockridge Plaza 5217 82Nd St Unit 123 Lubbock TX 79424 15,595
1495 Hillcrest Plaza 603 N Belt Hwy Saint Joseph MO 64506 14,350
1511 The Shoppes On Market 4644 W Market St Greensboro NC 27407 19,175
1524 Cottonwood West Shopping (10131 Coors Blvd Nw Ste D3 Albuquerque NM 87114 16,000
1549 Douglas Corners S/C 9439 Highway 5 Douglasville GA 30135 24,000
1568 Arden Square 3130 Arden Way Sacramento CA 95825 19,500
1577 Capital Mall 3600 Country Club Dr Spc 408 Jefferson City MO 65109 17,043
1579 Norridge Marketplace 4514 N Harlem Ave Norridge IL 60706 14,558
1583 Columbus Park Crossing 5555 Whittlesey Blvd Ste 2900 Columbus GA 31909 21,000
1585 Rib Mountain Drive 3300 Rib Mountain Dr Wausau Wi 54401 23,000
1586 Southland S/C 6901 Pearl Rd Middleburg Heig OH 44130 29,887
1588 Quakertown Plaza 1465 W Broad St Ste 20 Quakertown PA 18951 22,888
1589 Countryside Plaza 20 Countryside Plaza Countryside IL 60525 26,653
1590 Courtland Center 4190 E Court St Ste 101 Burton MI 48509 26,000
1591 Sw4Th Ave 2255 Sw 4Th Ave Ontario OR 97914 25,600
1592 Medina Grande Shoppes 5005 Grande Blvd Medina OH 44256 24,126
1594 Bear Creek Plaza 1608 Anderson Rd Petoskey MI 49770 20,026
1595 Volusia Plaza 2400 W International Spdwy Blvd Daytona Beach FL 32114 22,352
1596 Margate Shopping Center 3340 Nw 62Nd Ave Margate FL 33063 21,441
1598 Village Crossroads 540 N Us Hwy 441 Lady Lake FL 32159 21,600
1602 ~=Village Square 19 Clifton Country Rd Clifton Park NY 12065 10,500
1603 Poughkeepsie Plaza Mall 2600 South Rd Poughkeepsie NY 12601 11,370
1604 New Hartford S/C 120 Genesee St New Hartford NY 13413 25,000
1607 Ames S/C 117 Salem Tpke Norwich CT 06360 14,006
1609 Hampshire Mall 367 Russell St Ste A06 Hadley MA 01035 15,000
1610 Village Mall 436 Broadway Methuen MA 01844 14,600

Joann
Store List
Exhibit 1 (a) (1)

Selling

Str Name/Mall Address City ST Zip S.F.

1611 Old Shrewsbury Village 1000 Boston Tpke Shrewsbury MA 01545 20,000
1614 Target Plaza 200 S Main St Rt 12A West Lebanon NH 03784 15,573
1621 Village Crossing 10400 Reading Rd Evendale OH 45244 17,138
1626 Montgomery Commons S/C 1200 Welsh Rd North Wales PA 19454 9,812
1637 = Metro S/C 4700 N University St Peoria IL 61614 20,200
1645 Village S/C 902 W Kimberly Rd Ste 41 Davenport IA 52806 25,200
1649 Primrose Market Place 3370 S Glenstone Ave Springfield MO 65804 16,000
1650 Lincoln Center 632 Lincoln Way Ames IA 50010 12,000
1666 Paul Bunyan Mall 1401 Paul Bunyan Dr Nw Ste 60 Bemidji MN 56601 14,766
1668 Plaza Princessa S/C 3140 Cerrillos Rd Ste B Santa Fe NM 87507 12,000
1669 Wyoming Blvd Northeast 2240 Wyoming Blvd Ne Albuquerque NM 87112 24,000
1672 Aurora City Square 13861 E Exposition Ave Aurora co 80012 15,500
1674 Arapahoe Village S/C 2440 Arapahoe Ave Boulder co 80302 17,258
1683 Karcher Mall 1509 Caldwell Blvd Nampa ID 83651 21,120
1687 North Wilber Avenue 481 N Wilbur Ave Walla Walla WA 99362 15,000
1692 American Plaza 840 Blue Lakes Blvd N Twin Falls ID 83301 11,985
1695 Gallatin Valley Mall 2825 W Main St Unit S Bozeman MT 59718 20,020
1696  Shopko Plaza 3131 N Montana Ave Helena MT 59602 12,000
1697 Brookstone Square 2165 Hwy 2 East Suite E Kalispell MT 59901 18,000
1700 Valley Mall Parkway 300 Valley Mall Pkwy East WenatcheeWA 98802 12,000
1701 East 29Th Avenue 2801 E 29Th Ave Spokane WA = 99223 21,647
1711. Nw 57Th Street 2217 Nw 57Th St Seattle WA 98107 14,000
1725 Sunset Square 1125 E Sunset Dr Ste 125 Bellingham WA = 98226 28,000
1731. Pony Village Mall 1611 Virginia Ave North Bend OR 97459 17,522
1739 Poplar Drive 2350 Poplar Dr Medford OR 97504 19,980
1742 Molalla Avenue 1842 Molalla Ave Oregon City OR 97045 20,000
1752 South Main Street 190 S Main St Logan UT 84321 20,839
1756 The Family Center AtOrem 172 E University Pkwy Orem UT 84058 27,873
1763 Expressway Mall 425 Rohnert Park Expy W Rohnert Park CA 94928 20,000
1769 Carson Mall 1344 S Stewart St Carson City NV 89701 10,240
1771 Westgate S/C 375 W Main St Ste E Woodland CA 95695 12,024
1774 Peckham Square 3750 Kietzke Ln Reno NV 89502 24,700
1782 Standiford Avenue 200 Standiford Ave Modesto CA 95350 19,400
1787 = Tennant Station S/C 225 Tennant Sta Morgan Hill CA 95037 14,720
1798 Costco Plaza 2115 W Commonwealth Ave Alhambra CA 91803 13,472
1803 Foothill Blvd. 2160 Foothill Blvd La Canada CA 91011 8,400
1809 Shopping At The Rose 2351 N Rose Ave Oxnard CA 93036 15,000
1818 Santa Susana Plaza 2242 Tapo St Simi Valley CA 93063 22,869
1831 South Riordan Ranch Road 1514 S Riordan Ranch St Flagstaff AZ 86001 17,520
1843 Poway Center 12313 Poway Rd Poway CA 92064 20,250
1845 Point Loma Plaza 3633 Midway Dr San Diego CA 92110 14,950
1858 Marketplace AtNorthglenn 341 W 104Th Ave #3 Northglenn co 80234 21,916
1859 ~—- Village At The Boulder 1260 Gail Gardner Way Prescott AZ 86305 22,400
1861 Market Square at Tampa Pali6234 Commerce Palms Blvd Tampa FL 33647 21,600
1862 Shoppes at Isla Verde 940 S State Road 7 Wellington FL 33414 21,600
1863 Kokomo Shopping Center 2130 E Markland Ave Kokomo IN 46901 20,700
1864 Kandi Mall 1605 18tSts Willmar MN 56201 17,519
1865 TJ Maxx Plaza 4340 13Th Ave S Ste 101 Fargo ND 58103 19,952
1866 Oak Pointe Plaza 4045 Commonwealth Ave Eau Claire Wi 54701 23,028
1867 Twin City S/C 700 Ocean Beach Hwy Ste 100 Longview WA 98632 19,457
1868 Southern Tier Crossing 1530 County Route 64 Horseheads NY 14845 20,331
1869 = Indian Hills Plaza 4208 E. Bluegrass Rd Ste A Mount Pleasant Ml 48858 21,060
1872 Market Pointe | 15110 E. Indiana Ave Spokane Valley WA 99216 23,452
1873 Former Warehouse Music 5255 Lakewood Blvd Lakewood CA 90712 14,850
1874 Southaven Town Center 6535 Towne Center Crossing Southaven MS 38671 18,243
1875 ~~‘ Fairfax Towne Center 12124 Fairfax Towne Center Fairfax VA 22033 23,000
1876 Crossroads of Roseville 1649 W. County Rd B2 Roseville MN 55113 23,023
1877 Stadium Center 2210 Daniels St Manteca CA 95337 20,807

Joann
Store List
Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
1878 Safeway SC 4950 Almaden Expy Ste 10 San Jose CA 95118 23,563
1879 Mall at Whitney Field 100 Commercial Rd Space H Leominster MA = 01453 18,304
1886 Bay Plaza S/C 1410 E Plaza Blvd Ste A National City CA 91950 13,300
1891 Shoppes at River Crossing 5080 Riverside Dr Ste 1300 Macon GA 31210 20,331
1892 Westgate Mall 14136 Baxter Drive Suite 120 Brainerd MN 56401 15,945
1893 Towne Centre 1923 Old Fort Pkwy Murfreesboro TN 37129 20,010
1894 Spring Creek Centre 3835 North Mall Ave Fayetteville AR 72703 19,284
1900 Belden Parke Crossing 5487 Dressler Rd Nw North Canton OH 44720 46,042
1901 Saginaw Square 2920 Tittabawassee Rd Saginaw MI 48604 31,000
1902 Tamarack Village 8208 Tamarack Vig Woodbury MN 55125 45,215
1903 Best In The West S/C 2160 N Rainbow Blvd Las Vegas NV 89108 46,140
1905 Cool Springs Market 2000 Mallory Ln Ste 270 Franklin TN 37067 43,000
1906 Columbia Crossing 6161 Columbia Crossing Dr Columbia MD 21045 45,218
1907 Erie Commons 8000 Plaza Blvd Mentor OH 44060 35,984
1908 Colonial Landing 3562 E Colonial Dr Orlando FL 32803 37,308
1910 Castle Glen Plaza 8714 Castle Creek Parkway East Dr Indianapolis IN 46250 35,264
1912 Tollgate Plaza 615 Bel Air Rd Ste F Bel Air MD 21014 46,000
1913 North Valley S/C 8195 W Bell Rd Ste M-3 Peoria AZ 85382 40,734
1915 Brantley Square 924 W State Road 436 Ste 1450 Altamonte Sprin FL 32714 50,228
1917 Ahwatuckee Foothills Towne 5021 E Ray Rd Phoenix AZ 85044 46,535
1918 Bolger Square 3810 Crackerneck Rd Independence MO 64055 46,350
1919 Del Amo Fashion Center 21800 Hawthorne Blvd Ste 100 Torrance CA 90503 50,000
1920 Commons At Temecula 40462 Winchester Rd Temecula CA 92591 35,150
1921 Pleasant Hill Square 2255 Pleasant Hill Rd Ste 200 Duluth GA 30096 26,000
1922 South Plaza 4610 S Cleveland Ave Fort Myers FL 33907 45,000
1923 Great Northern S/C 26337 Brookpark Rd North Olmsted OH 44070 45,161
1924 Plaza At Buckland Hills 1440 Pleasant Valley Rd Manchester CT 06042 45,900
1925 Argyle S/C 6001 Argyle Forest Blvd Ste 11 Jacksonville FL 32244 48,945
1926 Overland Park S/C 11401 Metcalf Ave Overland Park KS 66210 42,810
1927 Shelby Town Center 14367 Hall Rd Shelby Townshij Ml 48315 31,941
1928 Polaris Towne Centre 1265 Polaris Pkwy Columbus OH 43240 45,650
1929 Northway Mall 1440 Central Ave Ste 2 Albany NY 12205 45,491
1930 Burlington Plaza 1551 Niagara Falls Blvd Amherst NY 14228 38,668
1932 McKinley Milestrip Plaza 3540 Mckinley Pkwy Blasdell NY 14219 48,592
1933. West Oaks ll 43570 W Oaks Dr # B-3 Novi MI 48377 49,675
1935 Arbor Lakes S/C 12550 Elm Creek Blvd N Maple Grove MN 55369 46,000
1940 Freestanding (Former Circuit 20550 E. 13 Mile Road Roseville MI 48066 32,863
1941 Riverdale Village 12779 Riverdale Blvd Nw Coon Rapids MN 55448 45,850
1942 Berlin Turnpike 3105 Berlin Tpke Newington CT 06111 39,239
1943 Southtown Plaza 3333 W Henrietta Rd Ste 90 Rochester NY 14623 45,460
1944 Pavilions Centre 31523 Pacific Hwy S FederalWay WA 98003 43,506
1947 The Festival At Sawmill 2747 Festival Ln Dublin OH 43017 48,737
1948 The Crossings At Taylor 23877 Eureka Rd Taylor MI 48180 45,000
1949 JOANN / Petsmart Plaza 3042 Ridge Rd W Rochester NY 14626 25,000
1950 Southcenter Parkway 17501 Southcenter Pkwy Tukwila WA 98188 43,056
1951 Frederick County S/C 1003-C West Patrick St. Frederick MD 21702 39,063
1952 Apple Valley Square 7614 150Th StW Apple Valley MN 55124 45,384
1954 = Porter Ranch Town Center 19819 Rinaldi St Northridge CA 91326 45,000
1958 = Plaza At Citrus Park 12635 Citrus Plaza Dr Tampa FL 33625 45,965
1959 Lake Brandon Plaza S/C 11215 Causeway Blvd Brandon FL 33511 41,947
1960 North Point Commons 965 N Point Dr Alpharetta GA 30022 38,418
1962 The Auburn Mile 600 Brown Rd Auburn Hills MI 48326 44,015
1965 Desert Ridge Market Place 21001 N Tatum Blvd Phoenix AZ 85050 45,000
1966 Avon Town Square 10401 E Us Highway 36 Avon IN 46123 28,000
2001 Easton Square 3880 Morse Rd Columbus OH 43219 51,950
2003 ~~ Brighton Mall 8449 W Grand River Ave Brighton MI 48116 36,280
2004 = Valley View Center S/C 3737 Carpenter Rd Ypsilanti MI 48197 45,000
2005 Presidential Commons 1630 Scenic Hwy N Ste O Snellville GA 30078 37,312

Joann
Store List
Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
2007 ~— Silverdale Plaza 2886 Nw Bucklin Hill Rd Silverdale WA 98383 29,903
2010 Cox Creek Plaza 354 Cox Creek Pkwy Florence AL 35630 17,542
2012 = Taylor Square S/C 2891 Taylor Rd Reynoldsburg OH 43068 42,420
2013 Pueblo Mall 3449 Dillon Dr Pueblo CO 81008 15,350
2015 Sunmark Plaza 651 Marks St Henderson NV 89014 42,000
2016 Fayette Pavilion 250 Pavilion Pkwy Fayetteville GA 30214 42,000
2017 Genessee Commons S/C G3603 Miller Rd Flint MI 48507 42,901
2021 Acme Plaza 3977 Medina Rd Akron OH 44333 29,198
2022 = Frandor S/C 533 Mall Ct Lansing MI 48912 30,077
2024 Naper West Plaza 526 S State Route 59 Naperville IL 60540 36,493
2025 Tyrone Corners SC 2500 66Th St N Saint Petersbur FL 33710 34,076
2026 Yorktown Mall 3411 Hazelton Rd Edina MN 55435 34,066
2027 South Frisco Village 2930 Preston Rd Ste 800 Frisco TX 75034 35,000
2030 Greenwood Pavilion 1260 Us 31 North Greenwood IN 46142 35,007
2031 Curlew Crossing 2343 Curlew Road Dunedin FL 34698 41,865
2032 Waterford Lakes Town Cente 825 N Alafaya Trail Orlando FL 32828 35,000
2033 Elk Grove Marketplace 8509 Bond Road Elk Grove CA 95624 35,000
2035 William D Tate Ave 1250 William D Tate Ave Grapevine TX 76051 26,185
2038 ~= Target Place Plaza 2725 Harrison Ave Nw Ste 500 Olympia WA = 98502 38,187
2039 StJohns Town Center 10261 River Marsh Drive Ste 149 Jacksonville FL 32246 35,000
2042 = East Broadway Blvd 7255 East Broadway Blvd Tucson AZ 85710 36,454
2044 Meridian Town Center 13410 Meridian East Ste A Puyallup WA 98373 35,023
2045 Ross Towne Center 7375 Mcknight Road Pittsburgh PA 15237 38,542
2046 Greenfield Fashion Center 4950 South 74Th St Greenfield WI 53220 37,420
2048 Bloomingdale Court 362 W Army Trail Rd Ste 230 Bloomingdale = IL 60108 25,802
2050 Cranberry Mall 20111 Rt 19 Cranberry Twp PA 16066 36,301
2051 ~~ William Penn Hwy 3700 William Penn Highway Monroeville PA 15146 36,500
2053 =Robinson Town Centre 1800 Park Manor Blvd Unit 5 Pittsburgh PA 15205 40,684
2054 Lincoln Village Plaza 4600 W Broad Street Columbus OH 43228 30,743
2055 Yosemite Park Mall 9090 East Phillips Place Centennial co 80112 35,350
2057 Marketplace at Vernon Hills 413 N Milwaukee Ave Unit 500 Vernon Hills IL 60061 40,024
2058 TargetAtKissimmee West 4801 W Irlo Bronson Memorial Hwy Kissimmee FL 34746 35,000
2059 Greengate Centre 1600 Greengate Centre Blvd Greensburg PA 15601 35,250
2061 Hampton Plaza 2105 S Rochester Road Rochester Hills Ml 48307 37,500
2062 ~~ First & Main Town Center 3795 Bloomington St Colorado Spring CO 80922 35,000
2063 Christiana Town Center 341 W Main St Newark DE 19702 36,250
2064 Towne Center At Fayetteville 330 Towne Center Dr Fayetteville NY 13066 35,252
2065 The Shoppes At Geneva Con 714 Commons Drive Geneva IL 60134 35,350
2067 Cross Roads S/C 15600 Ne 8Th Street Ste H1 Bellevue WA 98008 35,090
2068 The Shoppes Of Schererville 715 Us Highway 41 Schererville IN 46375 35,266
2070 West 63Rd Street 11215 West 63Rd Street Shawnee KS 66203 35,488
2071 Saddle Rock Village 7360 South Gartrell Road Aurora co 80016 35,000
2074 The Crossroads of Taylorsvill 5790 S Redwood Rd Taylorsville UT 84123 40,057
2075 = Santan Village Marketplace 2753 S. Market Street Gilbert AZ 85295 35,000
2077 The Shoppes at Naples Cent 6424 Naples Blvd Suite 501 Naples FL 34109 24,816
2078 Ashbridge Square 931 E Lancaster Ave Downingtown PA 19335 28,258
2079 Brookfield Fashion Center 16800 W Bluemound Road Brookfield WI 53005 31,901
2081 Lynnwood Center 5824 196Th Street Sw Lynnwood WA = 98036 42,538
2082 Fairway Commons 5811 Five Star Blvd Roseville CA 95678 35,000
2083 Market Street Village 1439 W Pipeline Rd Hurst TX 76053 35,384
2084 ~~ River Park Plaza 8062 N Blackstone Ave Fresno CA 93720 35,000
2086 Westland Plaza 6741 Odana Road Madison WI 53719 35,000
2087 JOANN Plaza 4101 Transit Road Ste 1 Williamsville NY 14221 38,903
2089 Centerton Square 66 Centerton Road Mount Laurel NJ 08054 35,350
2090 ~=— Perring Plaza 1951 Joppa Road Parkville MD 21234 34,421
2091 Platte Purchase Plaza 2201 Nw Barry Road Kansas City MO 64154 35,406
2092 The Court At Oxford Valley 320 Commerce Blvd Fairless Hills PA 19030 36,525
2093 Boulevard Centre 4104 Tacoma Mall Blvd Tacoma WA 98409 42,584

Joann
Store List

Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
2096 Orange Tree Marketplace 1625 W Lugonia Avenue Redlands CA 92374 35,350
2099 Bayside Market Place 2777 S. Oneida Street Green Bay Wi 54304 37,777
2101. Crossroads at Orenco Statior 7270 Ne Butler St Hillsboro OR 97124 35,399
2102 Orchards Market Center 11505 Ne Fourth Plain Blvd Ste 86 Vancouver WA 98662 35,546
2103 Lake View Plaza 15752 S.La Grange Rd Orland Park IL 60462 34,050
2104 = Independence Market Place 23125 Outer Drive Allen Park MI 48101 35,000
2106 Ridgemar Town Square 1400 Green Oaks Rd Fort Worth TX 76116 36,805
2107 Family Center at Riverdale 4978 South 1050 West Riverdale UT 84405 35,347
2108 JOANN Plaza 4616 Coldwater Rd Fort Wayne IN 46825 35,400
2109 ~=Tradewinds S/C 6601 N. Davis Highway Ste 25 Pensacola FL 32504 35,190
2111. Marple Crossroads 400 S. State Rd Springfield PA 19064 30,600
2113. Town & Country SC 373 E Palatine Road Arlington Height IL 60004 36,400
2114 ~Gavora Mall 250 3Rd St Ste1 Fairbanks AK 99701 35,800
2116 Lake Crossings 5663 Harvey Street Norton Shores Ml 49444 35,350
2117 ~~ Riverfront Plaza 2639 N. Elston Ave Chicago IL 60647 43,233
2118 Shoppes of West Melbourne 1537 W New Haven Ave West Melbourne FL 32904 35,759
2119 Buena Park Promenade 5885 Lincoln Avenue Buena Park CA 90620 35,872
2120 ~~ Tigard Shopping Plaza 11945 Sw Pacific Hyw Ste 250 Tigard OR 97223 32,108
2121 ~~ Draper Retail Center 268 E 123005 Draper UT 84020 35,000
2122 Wisner Street Plaza 1099 N Wisner St Jackson MI 49202 37,232
2123 = Milford Crossing 1405 Boston Post Road Milford CT 06460 35,000
2124 The Marketplace at Centerra 1601 Fall River Drive Loveland co 80538 35,231
2125 Marketplace Center 1500 Bald Hill Road Ste A Warwick RI 02886 35,000
2126 Von Karmen Plaza 2170 Barranca Pkwy Irvine CA 92606 35,700
2128 Shoe Carnival Towne Centre 929 N Green River Rd Evansville IN 47715 37,227
2129 North Attleboro Marketplace 1360 South Washington St Unit 3 North Attleboro MA = 02760 35,000
2131 Town Center Plaza 120 N Entrance Road Sanford FL 32771 36,988
2132 Alameda Crossing 1717 N Dysart Road Avondale AZ 85392 25,308
2133 Park & Shop 1675 B Willow Pass Road Concord CA 94520 38,088
2134 = Arlington Highlands S/C 137 Merchants Row Ste 165 Arlington TX 76018 35,000
2135 Providence Marketplace 401 S Mount Juliet Rd Ste 640 Mount Juliet =N 37122 35,384
2136 South Towne Centre 2270 Miamisburg Centerville Rd Dayton OH 45459 36,293
2137 ~The Riverview at Dobson 825 N Dobson Road Mesa AZ 85201 35,000
2139 Orlando Market 3379 Daniels Road Winter Garden FL 34787 35,314
2140 Shops at Arbor Walk 10515 N Mo Pac Expy Bldg 1 Austin TX 78759 35,000
2141 Westchester Commons 125 Perimeter Dr Midlothian VA 23113 35,194
2142 Monterey Marketplace II 72765 Dinah Shore Dr Rancho Mirage CA 92270 31,419
2143 ~~ Richmond Plaza 3435 Wrightsboro Road Augusta GA 30909 36,736
2144 =11251 Pines Blvd. 11251 Pines Blvd Pembroke Pines FL 33026 27,109
2145 Shelbyville Road Plaza 4600 Shelbyville Rd Ste 280 Louisville KY 40207 30,236
2147 = Arbor Square 8125 Arbor Square Drive Mason OH 45040 29,768
2148 Brandywine Crossing 15920 Crain Highway Se Brandywine MD 20613 25,310
2149 ~~‘ Fox River Valley SC 720 N Casaloma Drive Appleton Wi 54913 24,962
2150 ~~ El Cerrito Plaza 300 El Cerrito Plz El Cerrito CA 94530 34,310
2152 ~~ Baybrook Village 1529 W Bay Area Blvd Webster TX 77598 29,668
2153 Central Plaza 15355 Manchester Rd Ballwin MO 63011 30,244
2155 ~~ University Oaks 201 University Oaks Blvd Round Rock TX 78665 25,000
2156 Commerce Plaza 10865 Lincoln Trl Fairview Heights IL 62208 25,546
2157 ~=—- The Pavillions 25 Ne Loop 410 Ste 114 SanAntonio TX 78216 33,735
2158 ~~ Prince William Square 14350 Smoke Town Rd Woodbridge VA 22192 23,890
2159  Cosner's Corner 9685 Jefferson Davis Hwy Fredericksburg VA 22407 25,331
2160 Colonial Commons 5084 Jonestown Rd Harrisburg PA 17112 25,500
2161 Broadway Shopping Center 1073 Broadway Saugus MA 01906 22,500
2162 Milwaukee Market Place 1085 N. Milwaukee St Boise ID 83704 37,783
2163 The Shoppes At Centerpoint 3665 28Th St Se Grand Rapids Ml 49512 38,500
2164 Square One Shopping Cente 3563 Nw Federal Hwy Jensen Beach FL 34957 28,004
2165 Honey Creek Commons 5705 Us Hwy 41 Terre Haute IN 47802 25,127
2166 ~~ Viking Plaza Mall 3015 Highway 29 South Alexandria MN 56308 18,336

Joann
Store List
Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
2167 The Fountains 801 South University Dr Suite 75 Plantation FL 33324 20,000
2168 Pioneer Crossing 61284 S Highway 97 Bend OR 97702 23,290
2169 Riverchase Promenade 1709 Montgomery Hwy S Hoover AL 35244 25,677
2170 Governors Crossing 208 Collier Dr Sevierville TN 37862 12,000
2171 ~Hamilton Village 2020 Gunbarrel Road Suite 198 Chattanooga TN 37421 24,200
2172 ~Northpointe Commons 10050 Two Notch Rd Ste 13 Columbia sc 29223 21,500
2173 Gateway Shopping Center 3704 172Nd St Ne Ste F Arlington WA 98223 22,864
2175 Baker Square 13415 W Center Rd Omaha NE 68144 31,837
2176 Chestnut Court 7511 Lemont Rd Ste 101 Darien IL 60561 25,000
2177 Eastchase Market SC 7951 Eastchase Pkwy Montgomery AL 36117 30,247
2178 = Mid Rivers 5610 Suemandy Rd St Peters MO 63376 34,250
2179 ~~ University Hills 2580 South Colorado Blvd Denver co 80222 26,300
2180 Renaissance Square 622 South Main Street Cedar City UT 84720 19,424
2181 Eastgate Crossing 4530 Eastgate Blvd. Cincinnati OH 45245 16,730
2182 Shop Rite Plaza 143 Federal Rd Brookfield CT 06804 12,859
2183  ~Pocatello Square 1790 Hurley Dr. Pocatello ID 83201 13,427
2184 Huntsville Plaza 5900 B University Drive Huntsville AL 35806 15,459
2185 Tower Shopping Center 2043 Colonial Ave Roanoke VA 24015 22,832
2186 ~— Riverview Mall 2303 Miracle Mile Road Bullhead City AZ 86442 23,545
2187 Forest Plaza 806 West Johnson Street Fond DuLac WI 54935 17,570
2189 Amador Plaza Rd 7177 Amador Plaza Road Dublin CA 94568 25,377
2191 Madison East Mall 1400 Madison Avenue Suite #500 Mankato MN 56001 19,080
2192 Grand Teton Plaza 2408 South 25Th East Idaho Falls ID 83404 24,000
2193 North Rock Road 3665 North Rock Road Wichita KS 67226 26,398
2194 The Columns 1185 Vann Dr Jackson TN 38305 15,000
2195 Arsenal Plaza 1283 Arsenal Street Watertown NY 13601 18,795
2197 The Plaza At Rockwall 1049 E. |.H. 30 Rockwall TX 75087 15,000
2198 High Point Centre 441 E Roosevelt Rd Space #410 Lombard IL 60148 17,040
2199 Mount Vernon Plaza 510 East College Way Mount Vernon WA = 98273 24,450
2200 Freestanding (Former Circuit 1535 South Bradley Road Santa Maria CA 93454 19,014
2201 ~~ Florence Mall 1945 West Palmetto Street #270 Florence sc 29501 14,501
2202 Sonora Crossroads 1151 Sanguinetti Road Sonora CA 95370 17,440
2203 Folsom Square 1010 East Bidwell Street Folsom CA 95630 17,270
2204 — Elko Junction 2759 Mountain City Hwy Elko NV 89801 15,000
2205 Mooresville Consumer Squar 221 Norman Station Blvd. Suite 2211 Mooresville NC 28117 12,000
2206 Colony Square 16626 Southwest Freeway Sugar Land TX 77479 27,134
2207 Westgate Crossing 660 Spartan Blvd. Spartanburg SC 29301 25,000
2208 Crossroads Commons 1407 Flammang Drive Waterloo IA 50702 18,197
2209 Newtown Shops on Main 5103 Main St. Williamsburg VA 23188 15,334
2210 ~~ ‘Tri Valley Plaza 1325 E. Florence Blvd Casa Grande AZ 85122 15,045
2211 Roseland Center 3225 State Route 364 Canandaigua NY 14424 19,389
2212  Rayzor Ranch 2640 West University Dr Denton TX 76201 21,890
2213 Freestanding (Former Alberts 852 N Main St Tooele UT 84074 15,000
2215 Crossroads Commons 1150 Meridian Drive Plover Wi 54467 15,000
2216 Corvallis Crossing 932 Nw Circle Blvd Corvallis OR 97330 18,656
2217 Freestanding (Former Comp 30A & 5S Drive Paramus NJ 07652 30,000
2218 Lancaster Mall 783 Lancaster Dr. Ne. Suite #133 Salem OR 97301 26,218
2219 Former Circuit City 6910 S. Lindbergh Blvd Saint Louis MOQ 63125 28,575
2220 = Joliet Commons 2741 Plainfield Road Joliet IL 60435 15,000
2222 Merchant's Walk 7504 West Broad Richmond VA 23294 18,419
2223 ~~ Frontier Mall 1400 Del Range Blvd Cheyenne WY = 82009 14,458
2225 Big Oaks Crossing 3875 North Gloster Street Tupelo MS 38804 22,000
2226 ~~ Price Plaza 1219 North Fry Road Katy TX 77449 33,890
2227 New Towne Mall 400 Mill Ave Se Suite 15 New Philadelphi OH 44663 26,579
2228 Thunderbird Plaza 2701 S. College Ave. Unit 160 Fort Collins co 80525 22,220
2229 Washington Plaza 10030 East Washington Street Indianapolis IN 46229 21,500
2232 Un-Named Shopping Center 180 Se Neptune Drive, Suite A Warrenton OR 97146 16,214
2233 Owensboro Towne Center 5241 Frederica St. Space #3 Owensboro KY 42301 13,560

Joann
Store List
Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
2234 Freestanding, Former Circuit 10750 W Colfax Ave # 100 Lakewood co 80215 20,970
2236 = =Market Place SC 121 Commerce Street, Suite 1 Wisconsin Dells WI 53965 15,000
2238 Mesa Mall 2424 Highway 6 & 50. Space 0015 Grand Junction CO 81505 14,150
2239 Lakeshore Marketplace 834-A Dawsonville Highway Gainesville GA 30501 19,800
2240 Colerain Towne Center 10166 Colerain Avenue Cincinnati OH 45251 23,500
2241 Midway Plaza 965 Central Park Ave Scarsdale NY 10583 31,843
2242 ~Northtowne East 1001 N. Clinton St. Ste 01 Defiance OH 43512 22,527
2243 Gateway Mall 2700 State Street, Suite C Bismarck ND 58503 15,975
2246 ~~ Former Circuit City 3051 W. Wabash Avenue Springfield IL 62704 22,000
2247 Golden Isles Plaza 137 Golden Isles Plaza Parkway Brunswick GA 31520 14,663
2248 Carolina Pavilions 9523 South Blvd Charlotte NC 28273 23,500
2249 Metro North Shopping Centet 1205 Se 16Th Court, Suite 200 Ankeny IA 50021 18,250
2250 = Sterling Lincoln Center 3201 East Lincolnway Sterling IL 61081 15,000
2251 + Bandera Pointe 11655 Bandera Road San Antonio TX 78250 25,000
2252 ~— Berkley Mall 625 N Berkeley Blvd #H Goldsboro NC 27534 15,313
2253 Sutters Creek Crossing 572 Sutter’S Creek Blvd Rocky Mount NC 27804 14,355
2255 ~—- Rio Hill SC 1774 Rio Hill Center Charlottesville VA 22901 21,080
2256 Ambassador Row 3559 Ambassador Caffery Parkway Lafayette LA 70503 28,000
2257 Belton Marketplace 1153 E. North Avenue Belton MOQ 64012 21,000
2259 Shops At Fox River 3310 Shoppers Drive Mchenry IL 60050 17,172
2261 Houston Lakes 87 Spiral Drive Florence KY 41042 23,936
2262 ~—North Point Plaza 1150 Carlisle Street Suite #3 Hanover PA 17331 14,335
2263 Elk Park Center 19154 Freeport Street Nw Elk River MN 55330 18,009
2264 = Marketfair North 4154 State Route 31 Clay NY 13041 26,878
2265  Hulen Fashion Center 5212 8 Hulen Street Fort Worth TX 76132 21,795
2266 Freshwater Plaza 136 Elm Street, Suite A Enfield CT 06082 13,865
2267 Rockwell Plaza 8345 N. Rockwell Avenue Oklahoma City OK 73132 24,400
2268 The Junction 6361 I-55 North Jackson MS 39213 18,036
2269 Siegen Lane Marketplace 10545 South Mall Drive Baton Rouge LA 70809 22,000
2270 High Desert Gateway 12779 Main Street Hesperia CA 92340 20,004
2271 Greenhouse Marketplace 699 Lewelling Blvd Suite 230 SanLeandro CA 94579 25,000
2272 Golden Gate 1533 Golden Gate Plaza, Suite #153 Mayfield Heights OH 44124 23,528
2273 Northpark Mall 101 N Range Line Road, Suite 354 Joplin MO 64801 22,659
2274 Former Best Buy 3900 Alpine Ave. Nw Suite B Comstock Park Ml 49321 22,500
2277 White Lake Market Place 9052 Highland Road White Lake MI 48386 25,660
2279 Century Town Center 5921 20Th St. Unit B Vero Beach FL 32966 11,048
2280 Deer Trace Shopping Center 4079 Highway 28 Sheboygan Fall: WI 53085 20,388
2281 Queen Creek Marketplace 21238 S. Ellsworth Loop Road Queen Creek AZ 85142 19,920
2282 Shoppes at University Center 8441 Cooper Creek Blvd Bradenton FL 34201 20,303
2283 Dean Lakes 4120 Dean Lakes Boulevard Shakopee MN 55379 17,040
2284 Overlook Village 80 South Tunnel Road Suite 30 Asheville NC 28805 22,835
2286 Former Borders 1075 Woodland Road Reading PA 19610 25,023
2289 Rockbridge Shopping Center 509 East Nifong Columbia MO 65201 19,002
2290 Champaign Town Center 722 West Town Center Blvd. Champaign IL 61822 17,642
2291 Bradford Plaza 519 N Main St. Stillwater OK 74075 15,047
2292 Woodlands Home Center 25415 Interstate 45 Ste D Spring TX 77380 34,450
2294 = Twin City Plaza 101 Twin City Mall Crystal City MO 63019 15,614
2295 ~=Centerville Marketplace 302 North Marketplace Dr Centerville UT 84014 23,815
2296 Towne Center 2050 West University Dr Suite 250 Mc Kinney TX 75070 20,331
2297 Lakewood Village 2637 Lakewood Village Drive No Little Rock AR 72116 18,452
2298 23rd Street Plaza 413 East 23Rd Street Panama City = FL 32405 20,579
2300 Freestanding (frm Circuit City 4948 Monroe St Toledo OH 43623 31,903
2301 Rochester Crossing 160 Washington St Ste 606 Rochester NH 03839 13,037
2302 Oracle Wetmore 4380 N. Oracle Rd. Ste 150 Tucson AZ 85705 16,050
2303 Concordville Town Center 600 Town Centre Drive Suite D-108 Glen Mills PA 19342 13,199
2305 Village Of Rivergate 2088 Gallatin Pike North Madison ™ 37115 33,741
2306 Lindale Mall 255 Collins Road Ne Cedar Rapids IA 52402 20,600
2308 Sherman Commons 4127 N Hwy 75 Sherman TX 75090 20,451

Joann
Store List
Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
2309 ~~ River Ridge Mall 3405 Candlers Mountain Rd Lynchburg VA 24502 14,174
2310 Deer Creek Shopping Center 3200 Laclede Station Rd Saint Louis MO 63143 19,710
2311 Grants Pass Shopping Cente 1090 Northeast E Street Grants Pass OR 97526 16,500
2312 Greenbriar Shopping Center 1361 86Th Street West Indianapolis IN 46260 21,500
2313 Harvest Park Shopping Cente 4627 Greenway Drive Knoxville TN 37918 15,000
2314 Cross Pointe Plaza 840 Woods Crossing Road Greenville sc 29607 18,000
2315 Market Place 2833 King Avenue West Billings MT 59102 20,000
2317 Freestanding 1024 Green Acres Road Eugene OR 97408 20,491
2318 Morganton Heights E132 Morganton Heights Blvd Morganton NC 28655 12,500
2321 Jefferson Square 2880 South 6Th Street Klamath Falls OR 97603 22,839
2322 Geneva Commons 600 N. Edwards Blvd Lake Geneva WI 53147 15,000
2324 = Peru Mall 3940 Route 251 Suite A1 Peru IL 61354 15,000
2325 Chimney Rock 6351 E. Hwy 191 Odessa TX 79762 13,160
2326 ~— Silver Lake Mall 200 West Hanley Ave Suite 1101 Coeur D Alene ID 83815 18,335
2327 ~— Heritage Village 1645 North Spring St. BeaverDam WI 53916 14,900
2328 Ashley Crossing 2243 Ashley Crossing Dr, Suite C Charleston sc 29414 15,074
2329 Cotton Mill Shopping Center 720 W. Telegraph Washington UT 84780 23,500
2330 Sahuarita Plaza 18785 S I-19 Frontage Rd, Suite 113 Green Valley AZ 85614 13,043
2331 American Fork Shopping Cer 640 East State Road American Fork UT 84003 25,436
2332 Westland Shopping Center 3750 West Saginaw Street Lansing MI 48917 20,084
2333 Muscatine Mall 1903 Park Avenue Muscatine IA 52761 14,719
2334 = Clinton Towne Center 1803 West 1800 North Suite G1 Clinton UT 84015 23,985
2335 ‘Village of Amelia 463877 State Road 200 Yulee FL 32097 14,000
2338 University Park S/C 1425 Scalp Ave, Space 110 Johnstown PA 15904 18,614
2340 Central Vermont Shopping C: 1400 Us Route 302, Suite 10 Barre VT 05641 12,000
2341 Roxbury Mall 281-28 Rt 10E Succasunna NJ 07876 30,425
2343 Trademart Shopping Center 14569 N Us Highway 25 E, Unit 26 Corbin KY 40701 15,000
2344 West Loop Shopping Center 1000 West Loop Place, Ste 120 Manhattan KS 66502 22,000
2345 Susquehanna Valley Mall 1 Susquehanna Valley Mall Dr, D6 Selinsgrove PA 17870 12,958
2347 North Pointe Centre N78 W14531 Appleton Ave Menomonee Fal WI 53051 18,166
2348 =“ Koeller Plaza 1226 Koeller St Oshkosh Wi 54902 18,000
2349 Shackleford Crossing 2616 S Shackleford Rd, Ste A Little Rock AR 72205 14,000
2351 Main St Marketplace 1215-B North Main Street Summerville SC 29483 23,125
2352 ~—_ Blue Ridge Mall 1800 Four Seasons Blvd, Space D1 Hendersonville NC 28792 14,826
2353 ~=Freestanding 1175 Dana Drive Redding CA 96003 28,588
2354 Creekview Center 397 Easton Rd Warrington PA 18976 24,825
2355 Garden State Pavillion 2234 W Marlton Pike Rd Plot E3 Cherry Hill NJ 08002 25,287
2356 ~~ Fairview Plaza 160 Fairview Avenue Suite # 83 Hudson NY 12534 15,360
2357 ~=Boulevard Plaza 11000 Roosevelt Blvd Philadelphia PA 19116 30,330
2358 Shawnee Mall 4901 N. Kickapoo Street Shawnee OK 74804 13,863
2359 Conyers Plaza 1380 Dogwood Drive Conyers GA 30013 24,920
2361 Phoenix Center 1976 Phoenix Center Drive Washington MOQ ~~ 63090 15,000
2363 ‘Village at Northshore 105 Northshore Blvd Suite 135 Slidell LA 70460 20,125
2364 Newnan Pavilion 1074 Bullsboro Drive, Unit #6 Newnan GA 30265 18,239
2365 Gardner Towne Center 2089 West Hwy 40 Vernal UT 84078 15,032
2366 White Mountain Mall 2441 Foothill Blvd, Suite 5 Rock Springs WY 82901 15,716
2367 ~— Torrington Plaza 39 South Main St Torrington CT 06790 15,848
2371 East Park Plaza 220 N 66Th St Ste 270 Lincoln NE 68505 31,650
2373 = Merrillville Plaza 1916 E 80Th Ave No 14 Merrillville IN 46410 26,008
2374 ~~ ~Pride Center 22914 W Victory Blvd Woodland Hills CA 91367 28,434
2376 Mobile Festival Centre 3725 Airport Blvd, Unit 100-C Mobile AL 36608 21,364
2377 Minges Creek Plaza 5420 Beckley Road, Suite M Battle Creek Ml 49015 19,790
2378 Century Center 3323 Century Center St Sw Grandville MI 49418 21,177
2379 Northgate Shopping Center 1082 N Main Street Spanish Fork UT 84660 21,931
2380 Athens Mall 743 E. State Street, Suite O Athens OH 45701 20,152
2381 Fox Run Shopping Center 521 N. Solomon's Island Rd, Ste 34 Prince Frederick MD 20678 12,020
2382 Westfield Wheaton Plaza 11160 Veirs Mill Road, Unit 180 Wheaton MD 20902 22,218
2383 Riverdale Crossing 48 Route 23 Riverdale NJ 07457 21,807

Joann
Store List
Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
2386 Joffco Square 555 W. Roosevelt Road Chicago IL 60607 16,651
2387 = Interstate Plaza 1671 Ih-35 South, Suite 208 New Braunfels TX 78130 17,979
2389 Freestanding (former Alberts: 1000 South Central Avenue Glendale CA 91204 33,699
2390 Westminster City Center 9250 Sheridan Blvd #200 Westminster CO 80031 23,261
2391 The Esplanade At Butler Plaz 3202 Sw 35Th Blvd Gainesville FL 32608 36,185
2392 Ashland Towne Center 500 Winchester Ave, Suite 700 Ashland KY 41101 19,190
2393 Lawton Towne Center 449 Nw 2Nd St Lawton OK 73501 18,000
2394 Totem Pole 7907 Ne Highway 99 Vancouver WA = 98665 16,998
2396 Canyon Place 4005 Sw 117Th Street Beaverton OR 97005 17,442
2397 Freestanding 732 Sw 6Th Street Redmond OR 97756 15,300
2399 Willow Creek Crossing 500 Indianhead Drive Mason City IA 50401 18,000
2402 ~=Northgate Mall 1600 Jackson St. Northgate Mall Tullahoma TN 37388 15,000
2403 Walpole Mall 96 Providence Highway East Walpole MA 02032 24,760
2404 ~— Faribo West Mall 200 Western Ave Nw, Suite C10 Faribault MN 55021 14,544
2405 Livonia Commons 13489 Middlebelt Rd Livonia MI 48150 24,100
2406 La Cienega Square 1250 S La Cienega Blvd Los Angeles CA 90035 20,300
2407 Waterside Market Place 50809 Waterside Drive Chesterfield MI 48051 25,000
2409 1379 Hooper Avenue 1379 Hooper Avenue Toms River NJ 08753 20,000
2410 Midway Market Square 380 Market Drive Elyria OH 44035 25,594
2411 Shop Rite Plaza 774 Queen St. Southington CT 06489 19,693
2412 Suburban Plaza 2655 N. Decatur Road Decatur GA 30033 20,035
2414 Lakeland Plaza 540 A Lakeland Plaza Cumming GA 30040 17,793
2415 Witte Plaza 9960 Old Katy Rd Houston TX 77055 25,000
2418 Freeport Shopping Center 1611 South West Avenue Freeport IL 61032 18,018
2419 Barren River Plaza 376 North L Rogers Wells Blvd Glasgow KY 42141 17,163
2420 Monte Vista Crossing 2717 Countryside Drive Turlock CA 95380 18,000
2422 ‘Riverside Plaza 3635 Riverside Plaza Dr. Ste.240 Riverside CA 92506 15,131
2424 Broadmoor Plaza 1131 E. Ireland Road South Bend IN 46614 16,527
2426 ~=Monroe Mall 2115 W. Roosevelt Blvd, Suite 111 Monroe NC 28110 20,059
2428 Clovis Crossing Shopping Ce 1065 Herndon Ave. Clovis CA 93611 18,000
2434 Crosswinds Commons 1133 Sw Wanamaker Rd Ste 200 Topeka KS 66604 24,709
2435 Northlake Commons 3942 Northlake Blvd West Palm Bea FL 33403 25,345
2438 Cross County Mall 700 Broadway East Mattoon IL 61938 13,670
2439 ~=Town Fair Center 1224 James Ave Bedford IN 47421 12,175
2441 Grocery Outlet SC 11N State Highway 49-88 Jackson CA 95642 12,564
2442 ~~ Fullerton Crossroads 3300 Yorba Linda Boulevard Fullerton CA 92831 20,100
2443 Town Center 1020 Stratford Road Moses Lake WA 98837 16,600
2444 Westridge Center 1425 N. Davis Road Salinas CA 93907 16,355
2445 Central Texas Marketplace 4633S. Jack Kultgen Expy Unit 104 Waco TX 76706 25,000
2446 = Yarbrough Plaza 10501 Gateway Blvd W Bld 9 El Paso TX 79925 27,515
2447 ~~ Pittsburgh Mills 133 Pittsburgh Mills Circle Tarentum PA 15084 21,903
2448 Former Home Depot 1991 Tiffin Avenue Findlay OH 45840 21,073
2449 Covina Town Square 1460 North Azusa Avenue Covina CA 91722 25,196
2450 Raleigh Mall 4293 Robert C. Byrd Drive Beckley WV 25801 21,000
2451 Crossings at Sandusky 756 Crossings Road Sandusky OH 44870 16,000
2452 Centre Point Village 26583 Carl Boyer Drive Santa Clarita CA 91350 24,970
2453 Scottsdale Center 206 S Promenade Blvd Rogers AR 72758 18,000
2454 “Village of Martinsville 240 Commonwealth Blvd W Martinsville VA 24112 14,957
2455 Village Mall 2917 North Vermillion Suite C17 Danville IL 61832 16,427
2456 Wolf Creek Plaza 10521 S. 15Th Street Bellevue NE 68123 23,865
2459 = Ohio Valley Mall 67800 Mall Ring Rd Unit 305 St. Clairsville OH 43950 16,398
2460 Westgate Market 6930 W. Kellogg Drive Wichita KS 67209 22,182
2461 Roseburg Marketplace 1438 Nw Garden Valley Blvd Roseburg OR 97471 18,000
2462 ~—-Raley's Center 704 West Onstott Rd Yuba City CA 95991 19,794
2464 ~=Pharr Town Center 500 N. Jackson Rd Pharr TX 78577 20,157
2465 Freestanding 2391 County Line Road Algonquin IL 60102 19,875
2468 Regency Mall 2629 S. Green Bay Road Racine Wi 53406 23,371
2469 Palouse Mall 1854 W. Pullman Road Moscow ID 83843 17,680

Joann
Store List
Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
2473 = Sequoia Plaza 3930 S. Mooney Blvd Visalia CA 93277 21,282
2474 = Park West Place 10916-B Trinity Parkway Stockton CA 95219 18,192
2475 Haines Station Plaza 2255 N Haines Avenue Rapid City SD 57701 11,622
2476 ~~ Freestanding Building 3911 16Th Street Moline IL 61265 16,900
2477 ~~ Burning Tree Plaza 5115 Burning Tree Plaza Duluth MN 55811 17,682
2478 Crossing Meadows Plaza 1220 Crossing Meadows Onalaska Wi 54650 17,885
2479 Governors Square Plaza 2831 Wilma Rudolph Clarksville TN 37040 26,079
2481 ~~ “Park Plaza 2108 W 27Th Street Lawrence KS 66047 14,148
2482 Park Central Shopping Cente 3206 South Clack Drive Abilene TX 79606 21,500
2483 ~~ University Plaza 2813 E Nettleton Avenue Jonesboro AR 72401 11,987
2485 City Base Landing 3142 Se Military Drive Suite 126 SanAntonio TX 78235 15,200
2486 Power Center 1804 Macarthur Blvd Alexandria LA 71301 16,327
2487 Marshfield Center 1919 N Central Avenue Marshfield WI 54449 12,325
2489 Towne Centre 219 Towne Drive Elizabethtown KY 42701 12,000
2490 Willow Lake Crossing 2951 Watson Blvd Warner Robins GA 31093 12,277
2492 Market Place Shopping Cent 123 Marketplace Drive Anderson sc 29621 11,250
2494 Johnson City Plaza 108 Johnson City Plaza Dr Johnson City TN 37601 8,000
2497 Freestanding 1702 Veterans Memorial Pkwy East Tuscaloosa AL 35404 10,098
2498 ~~ Fort Smith Marketplace 7609 Rogers Avenue Fort Smith AR 72903 = 11,985
2499 The Marketplace 3271 Marketplace Drive Suite: C1 Council Bluffs JA 51501 = 20,310
2500 Kingsport Shopping Center 1409 East Stone Drive Kingsport TN 37660 14,300
2501 Midlothian Towne Crossing 2000 F.M. 663 St 500 Midlothian TX 76065 = 15,000
2502 Boulevard Centre at Eastwoo 5555 Youngstown Warren Road #14 Niles OH 44446 22,341
2503  Eastbrook Plaza 2610 25Th Street Columbus IN 47201 14,329
2504 Bayou Walk Shopping Cente 6634 Youree Drive Shreveport LA 71105 23,500
2505 New River Valley Center 145 Shoppers Way Christiansburg VA 24073 = 20,525
2506 Dominion Square 705 Dominion Square S/C Culpeper VA 22701 12,000
2507 Crossways Shopping Center 1593 Crossways Blvd Chesapeake VA 23320 19,867
2508 Westside North Shopping Ce 91 Westbank Expressway Ste 490 Gretna LA 70053 17,935
2509 ~~ lowa City Marketplace 1676 Sycamore Street lowa City IA 52240 27,000
2510 Marketplace at Janesville 2/700 N. Pontiac Dr Ste 150 Janesville Wi 53545 = 18,774
2511. University Mall 930 22Nd Avenue S. Brookings SD 57006 12,335
2512 The Shops at Coventry 351 West Schuylkill Rd Pottstown PA 19465 14,310
2513 = Indian Springs Shopping Cen 3177 Princeton Road Hamilton OH 45011 22,400
2515 Germantown Center 3703 N. Newton St Jasper IN 47546 = 14,036
2517 ~Pine Tree Mall 2402 Roosevelt Road Marinette Wi 54143 =15,166
2519 Shops @ Boardman Park 441 Boardman Poland Road Youngstown OH 44512 28,881
2520 Hilltop Plaza 551 Hiltop Plaza Virginia Beach VA 23454 24,140
2521 ~~ Ferris Commons 1250 W. Perry Avenue Big Rapids MI 49307 15,000
2522 Arcadia Fiesta SC 3049 East Indian School Road Phoenix AZ 85016 16,000
2523 Orange Park Plaza 1411 .N. Tustin Streets Orange CA 92867 =. 18, 547
2526 ~—- Foothill Ranch Towne Center 26742 Portola Parkway Foothill Ranch CA 92610 22,500
2527 ~—-Village West Shopping Cente 2981 West Florida Avenue (Unit G1) Hemet CA 92545 21,398
2528 Former Dan's Market 2330 E. 3000 South (Temp) Salt Lake City UT 84109 23,445
2529 Chino Town Square 5545 Philadelphia St Chino CA 91710 18,369
2532 Market Centre 4024 Elkhart Road #25 Goshen IN 46526 = =21,494
2533 Westlake Shopping Center 423 Westlake Center (Second Level} Daly City CA 94015 22,900
2534 = Freestanding 3055 Atlanta Highway Athens GA 30606 21,500
2536 Shops of Forest Hill 3150 Village Shops Drive (Temp) Germantown TN 38138 24,970
2537 Coconut Pointe 8072 Mediterranean Drive Estero FL 33928 18,322
2538 Crossroads SC 125 East Reynolds Road, Suite 110 Lexington KY 40517 30,000
2540 ~=—~Plaza 20 2600 Dodge Street (Suite A-1)- Temp Dubuque IA 52003 18,000
2542 = Sunrise Village Shopping Ce! 5489 Sunrise Blvd Citrus Heights CA 95610 27,150
2544 ~ Wilshire Plaza 725 Veterans Blvd Metairie LA 70005 20,250
2545 ~~ University Center 3801 Old Seward Highway Anchorage AK 99503 30,637
2546 Riverside Woodman Plaza 13730 Riverside Drive Sherman Oaks CA 91423 46,956
2547 ~=Freestanding 501 Roberts Ct Kennesaw GA 30144 42,059
2548 Champtions Centre 530 Ed Noble Parkway Norman OK 73072 30,244

Joann
Store List
Exhibit 1 (a) (1)

Selling
Str Name/Mall Address City ST Zip S.F.
2550 Sugarland Crossing 47100 Community Plaza Sterling VA 20164 35,000
2552 ~Bloomington Commons 1719 E Empire Street Bloomington — IL 61704 21,828
2554 Former Salvation Army 10174 SE 82nd Avenue Clackamas OR 97086 40,259
2555 Scottdale Plaza 1800 M-139 Unit A Benton Harbor Ml 49022 25,470
2556 ~=—- Valley Court Shopping Cente 9999 University Avenue Clive IA 50325 33,330
2557 ~=Union Plaza 10007 E 71st St Tulsa OK 74133 = 34,392
2558 Deptford Plaza 1120 Hurffville Road Deptford NJ 8096 40,003
2559 Grand Plaza 177 South Las Posas Road San Marcos CA 92078 40,000
2560 Lakepointe Towne Crossing 715 Hebron Parkway Lewisville TX 75057 =. 33,862
2561 Meyerland Plaza 290 Meyerland Plaza Houston TX 77096 = - 333,733
2562 ~=Silas Creek Crossing 3208 Silas Creek Parkway Winston-Salem NC 27103 27,410
2563 The Centre at Deane Hill 276 Morrell Road Knoxville TN 37919 40,000
2564 Nashua Mall Plaza 31 Gusabel Avenue Nashua NH 3063 = 37,113
2565 Ann & Hope Plaza 85 Highland Avenue Seekonk MA 2771 = 21,700
2566 Seaboard Commons 1120 Seaboard St Myrtle Beach SC 29577 = 32,500
2567 Sayville Plaza 5159 Sunrise Hwy Bohemia NY 11716 §=©31,484
2568 Former Ralph's Market 27871 La Paz Rd Laguna Niguel CA 92677 31,518
2569 Waterford North 1025 Veterans Pkwy Clarksville IN 47129 24,961
2570 Deerbrook Marketplace 20424 US-59 Humble TX 77338 = 39,581
2571 Southpark Meadows 9500 S IH 35 Frontage Rd Austin TX 78748 35,000
2572 ~—- The Village at Cumberland P; 8950 S Broadway Ave Tyler TX 75703 28,751
2573 Rochester Marketplace 3839 Marketplace Drive NW Rochester MN 55901 23,725
2574 ~~‘ Dickson City Crossing 638 Commerce Blvd Dickson City PA 18519 20,000
2575 Marketplace at Towne Centre 19105 Lyndon B Johnson Fwy Mesquite TX 75150 23,755
2576 ~=Plaza Farmington 3558 E Main St Farmington NM 87402 20,020
2577 Columbia Center 1321 N Columbia Center Blvd Suite 456 Kennewick WA 99336 29,378
2579 = Parkway Plaza 3120 Vestal Parkway East Vestal NY 13850 30,000
2580 Shoppes at Paradise Key 4437 Commons Dr. Destin FL 32541 33,875
2582 Gresham Town Fair 604 NW Eastman Pkwy Gresham OR = 97030 24,948
2583 Westridge Plaza 1310 S Beach Blvd La Habra CA 90631 28,021
2585 Holiday Village Mall 1200 10th Ave S Great Falls MT 59405 21,062
2586 State Street Market 6360 E. State Street Rockford IL 61108 28,500
2587 Bradley Commons 2056 N State Rt. 50 (Unit 15) Bourbonnais — IL 60914 21,421
2589 Hyde Park Plaza 3872 C Paxton Avenue} Cincinnati OH 45209 24,393
2590 Town Center Square 10930 Foothill Blvd Rancho Cucamc« CA 91730 37,355
2596 Birch Run Station 1717 Beam Avenue Maplewood MN 55109 27,000
200 TJ Maxx Plaza 1746 E 3Rd St Williamsport PA 17701 10,400
235 Hermitage Towne Plaza 2481 E State St Hermitage PA 16148 13,960
677 — Holyoke Plaza 2267 Northampton St Holyoke MA = 01040 15,120
722 Garrison Forest Plaza 10377 Reisterstown Rd Owings Mills MD 21117 15,296
1484 Bayshore Village 4265 Tamiami Trl Unit | Port Charlotte FL 33980 9,500
2036 Preston ForestS C 11700 Preston Rd #810 Dallas TX 75230 48,686
2069 Destination Eight 39818 10Th Street W. Palmdale CA 93551 35,328
2342 Cayuga Mall 2309 N Triphammer Rd, Unit 1 Ithaca NY 14850 18,350
2400 Tifton Mall 612 Virginia Ave North Tifton GA 31794 16,233
2416 Burlington Commons 3200 Agency Street, Ste 110 Burlington IA 52601 18,000
2429 Ridgecrest Town Center 700 North China Lake Unit C Ridgecrest CA 93555 20,000
2480 ~=—- Valley Crossing 2102 Us Hwy 70 Se Hickory NC 28602 7,780
802 22,946
257 24,647

Exhibit 1(a)(2)

Distribution Centers

Joann
Distribution Center and Ecommerce Platform List
Exhibit 1 (a) (2)

Square
GRP Name/Mall Address City ST Zip Feet
Distribution Center Visalia DC(1) 2500 N Plaza Dr Visalia CA 93291 635,281
Distribution Center Visalia DC #2(2) 7530 W. Sunnyview Ave Visalia CA 93291 104,870
Distribution Center Opelika DC(1) 3101 Anderson Rd Opelika AL 36801 702,623
Distribution Center West Jefferson eComm FC 1020 Enterprise Pkwy West Jefferson OH 43162 832,600

Ecommerce Platform Hudson SSC, DC(1) 5555 Darrow Road Hudson OH 44236 1,453,419
Exhibit 2(b)(iv)

Form of Asset Designation Notice
Exhibit 2(b)(iv)
Asset Designation Notice

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
JOANN, INC., ef ai.,! Case No. 25-10068 (CTG)
Debtors. (Jointly Administered)

NOTICE OF DESIGNATION OF ASSET PURCHASER

PLEASE TAKE NOTICE that pursuant to the Order Approving Debtors’ Entry Into
Agency Agreement and Consummation of the Transactions Contemplated Thereby (the “Approval

Order’) [D.I. __],” Purchaser hereby designates the entity identified on Schedule A (“Designee”)

annexed hereto as the assignee of the Assets identified on Schedule A (the “Designated Assets”)
pursuant to the agreement between Purchaser, as agent for the Debtors, and Designee, an abstract

of which is annexed hereto as Exhibit A (the “Purchase Agreement”).

PLEASE TAKE FURTHER NOTICE that pursuant to the Approval Order, upon the
closing of the transaction pursuant to the Purchase Agreement, the Designated Assets shall be
deemed conveyed to Designee by the Debtors free and clear of all liens, claims, encumbrances,
and other interests of any kind.

Dated: [_], 2025
Wilmington, Delaware [COUNSEL TO PURCHASER]

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
is 5555 Darrow Road, Hudson, Ohio 44236.

Capitalized terms used but not defined in this Notice have the meanings given thereto in the Approval Order.

-|-
JUSISIG] SJISSYW Po VUsisog

V WTINGaHOS

dHON UOLVUSISIG JOSSV
(AD(q)z HqIUX]
Exhibit 3.1(b)

Wind-Down Budget

Exhibit 3.1 b Wind Down Budget

Debtor / UCC Professional Fees /Escrow Funding
ABL/FILO/TL Professional Fees

503b9 and Stub Rent

U.S. Trustee Fee

Total

22,100,000
4,260,000
39,000,000
500,000

65,860,000
Exhibit 3.1(c)

Central Services Budget

90

690

s]807) aJelodio5 AIEWUWINg /E]}O]

FLO
Oo

ro
£00

FLO
120

ro
£00

00'0
100
60'0
000
bro
90'0
£00

900
20

00'0
100
60'0
000
bro
90'0
Oo

60°0
000
sro
St
£20

60°0
000
sro
St
O10

6
sz-Aew
Stipes

St
sz-Aew
SUILLS

ib
sz-Aew
SZIOLS

9b
sz-Aew
SzieiS

rh
Se-idy
Saely

eb
seudy
Scie bie

zt
Sedy

bb
See
Seisiv StIBCIE Stee

OL
See

xedQ-lON ajesodio5

00°0 SBB{ BIMES YUEg puly PIED pad
FLO 81809 aahoidwy
PLO juaweBeueyy saquioe4
$00 JUBWLIEL SUZ 9 SIESyY ‘JAAS
- BOUEINSU| JAUIO B /eIaUued
ioF ABoOUUDa
alt S@21Me8S Bplsing
ooe JOge] ajeodion
$1503 ayesodiog Auewuwing
eyo]

o Pe waxy
Exhibit 3.1(e)

Term Loan Ad Hoc Group Direction Letter

Execution Version

February 22, 2025

Wilmington Savings Fund Society, FSB
Administrative Agent

500 Delaware Avenue, 11th Floor
Wilmington, DE 19801
Attention: Patrick Healy, Senior Vice President, Global Capital Markets

Re: _ Letter of Direction Regarding Credit Bid in Connection with Joint Bid with GA Joann
Retail Partnership, LLC

Dear Mr. Healy:

The undersigned entities are Lenders under (i) that certain Credit Agreement, dated as of
April 30, 2024 (as may be amended, restated, amended and restated, supplemented, or otherwise
modified from time to time, the “Credit Agreement”), among Needle Holdings LLC, a Delaware
limited liability company (the “Borrower”), JOANN Holdings 2, LLC, a Delaware limited
liability company (“Holdings,” and together with the Borrower and each of their affiliates and
subsidiaries, the “Company”), Wilmington Savings Fund Society, FSB, as Administrative Agent
and Collateral Agent (in such capacities, the “Administrative Agent”), and the other Lenders
party thereto, (ii) that certain Security Agreement, dated as of April 30, 2024 (as amended, restated,
amended and restated, supplemented, or otherwise modified from time to time, the “Security
Agreement”), among the Borrower, Holdings, the Subsidiary Guarantors party thereto from time
to time, and the Administrative Agent, and (it1) the other Loan Documents. Capitalized terms used
but not defined herein shall have the meanings ascribed to such terms in the Credit Agreement.

Pursuant to Sections 9.01 and 9.10 of the Credit Agreement, the undersigned Lenders, who
as of the date hereof, collectively hold an aggregate amount of Sg of the outstanding
Loans under the Credit Agreement, constitute “Required Lenders” under the Credit Agreement,
hereby request and direct the Administrative Agent to authorize the Authorized Person (as defined
below) to, on behalf of the Lenders, make the Credit Bid (as defined below) pursuant to the agency
agreement in the form attached hereto as Exhibit A (the “Agency Agreement”) and the joint
venture letter agreement in the form attached hereto as Exhibit B (the “JV Letter Agreement”),
and any related and ancillary agreements or documents that the Required Lenders deem necessary,
for the purpose of bidding and making settlement or payment of the purchase price under the
Agency Agreement and the JV Letter Agreement for certain Collateral pledged pursuant to the
Security Agreement (such Collateral, the “Auctioned Collateral”) to be sold to Purchaser (as
defined in the Agency Agreement) (the “Bidder”), a direct or indirect subsidiary of Bidder, or
another entity, in each case as designated by Purchaser or contemplated by the Agency Agreement
and the JV Letter Agreement (the Bidder or any other such entity that acquires the Auctioned
Collateral, the “Buyer’’), upon the consummation of the sale of the Auctioned Collateral to Buyer
(such sale being referred to herein as the “363 Sale”) to be provided in the order approving the 363
Sale, in accordance with bidding procedures approved by the United States Bankruptcy Court for
the District of Delaware (the “Bidding Procedures”), including, if necessary, at an auction to be
conducted in accordance with the Bidding Procedures (the “Auction”). In addition to and in

1
connection with the foregoing, the Required Lenders request and direct the Administrative Agent
to:

A, reasonably cooperate with such steps necessary to distribute, issue, assign, and/or
cancel interests (as applicable) in Bidder in accordance with the Loan Documents
and applicable law;

B. assign to the relevant director and/or officer of Bidder or such other person
authorized by Joann Retail Partnership, LLC (the “Authorized Person’) all rights
of the Administrative Agent under the Credit Agreement, the Security Agreement,
and the other Loan Documents to credit bid up to $105,000,000 of the Obligations
under the Credit Agreement on behalf of the Required Lenders thereunder as
consideration for the 363 Sale involving the Company (the “Credit Bid’) (it being
understood for the avoidance of doubt that any such Obligations shall not be utilized
for such Credit Bid, and shall not be transferred to the applicable debtor, until the
consummation of the 363 Sale); provided that the Required Lenders reserve the
right, at any time, to request and direct the Administrative Agent, through the
Lenders’ Counsel (as defined below), to increase the amount of the Credit Bid in
connection with the sale process or the Auction, if any, and thereby authorize the
Authorized Person to Credit Bid such increased amount pursuant to the terms of
the Agency Agreement;

C, assign an amount of the Obligations equal to the amount of the Credit Bid to Buyer
at the consummation of the 363 Sale;

D. reasonably cooperate with the Lenders and the Authorized Person with respect to
any actions necessary or required in furtherance of the Credit Bid, the Auction, or
any other aspect of the 363 Sale;

E. execute the Agency Agreement; and

F. execute the JV Letter Agreement,

Each undersigned Lender represents and warrants and covenants, severally and not jointly,
that (1) it is a Lender under the Credit Agreement and that it has the power and authority to enter
into this letter of direction (the “Letter of Direction”) and (ii) such Lender owns the amount of
the Loans set forth on its signature page hereto. The Administrative Agent, in its capacity as
Agent, shall have no obligations to comply with any direction pursuant to this Letter of Direction
if it reasonably concludes that the Lenders signatory hereto no longer constitute Required Lenders.
Each Lender signatory hereto hereby confirms and agrees that this Letter of Direction shall not be
revoked except by another written direction issued by or on behalf of the Required Lenders;
provided the same is delivered sufficiently in advance to halt the exercise of such remedies.
Notwithstanding anything to the contrary contained here, all actions or inactions of the
Administrative Agent in connection with this Letter of Direction shall be at the Direction of the
Required Lenders; provided that the Administrative Agent shall be entitled to rely upon, and shall
not incur any liability for relying upon, any written direction or instruction from Lenders Counsel
(or any other designated Lender Advisor) that is purported to be a Direction of the Required
Lenders, and the Administrative Agent shall not have any responsibility to independently
determine whether such direction has in fact been authorized by Required Lenders.

Each undersigned Lender acknowledges and agrees that: (i) the Lenders are being
represented by Gibson, Dunn & Crutcher LLP, Glenn Agre Bergman & Fuentes LLP, and Morris,
Nichols, Arsht & Tunnell LLP (collectively, the “Lenders Counsel”) in this matter and have relied
exclusively upon the legal advice of Lenders Counsel and not upon the legal advice of the
Administrative Agent, the Company, or their respective counsel; (ii) the Lenders are not relying
upon any information provided to the Lenders by the Administrative Agent or its counsel; and (ili)
the Administrative Agent and the Lenders reserve all of their respective rights and remedies under
the Loan Documents, at law, and in equity, including the right to object to the form of any proposed
order relating to the subject matter of this Letter of Direction.

To the extent that the structure of the 363 Sale requires Buyer to be an entity other than
Bidder or any of its direct or indirect subsidiaries, the Administrative Agent acknowledges that the
directions and instructions as described above may be modified or amended to reflect such
structure; provided that in no event will the Administrative Agent be required to form or own
Buyer.

The Administrative Agent shall enjoy all rights and benefits under the Credit Agreement
and the other Loan Documents, including, as applicable, (i) the rights and immunities of the Agent
set forth in the Credit Agreement and (11) the exculpatory, expense reimbursement and
indemnification provisions in favor of the Agent set forth in the Credit Agreement in connection
with any act or omission taken pursuant to this Letter of Direction. Nothing in this Letter of
Direction shall alter, limit, or waive any such rights, remedies, limitations of liability, exculpations,
reimbursements, indemnities, and other protections of the Indemnitees under, and to the extent set
forth in, the Credit Agreement or the other applicable Loan Documents, all of which are hereby
reserved. It is expressly understood and agreed that the foregoing rights, remedies, limitations of
liability, exculpations, reimbursements, indemnities, and other protections apply to any actions
taken by the Administrative Agent in accordance with this Letter of Direction. The Authorized
Person shall be an express third party beneficiary of clause (x) of the second paragraph of this
Letter of Direction.

The Administrative Agent acknowledges that, by signing this Letter of Direction, the
Administrative Agent is authorizing the Authorized Person to Credit Bid pursuant to the terms of
the Agency Agreement and the JV Letter Agreement.

The rights and remedies conferred hereunder shall be cumulative and the exercise or waiver
of any such right or remedy shall not preclude or inhibit the exercise of additional rights or
remedies or the subsequent exercise of such right or remedy.

This Letter of Direction shall be interpreted and enforced under the laws of the State of
New York without regard to the conflict of laws principles thereof and shall inure to the benefit
of, and the obligations created hereby shall be binding upon, the successors and permitted assigns
of the Lenders and the Administrative Agent.
This letter may be executed by the Lenders in separate counterparts and the Administrative
Agent is hereby instructed to accept the signature pages of such counterparts. Facsimile or
electronically transmitted signature pages shall constitute originals for all purposes.

If any of this Letter of Direction is held invalid or unenforceable by any court of competent
jurisdiction, the other provisions of this Letter of Direction will remain in full force and effect.
Any provision of this Letter of Direction held invalid or unenforceable only in part or degree will
remain in full force and effect to the extent not held invalid or unenforceable. This Letter of
Direction is delivered pursuant to and shall be governed in accordance with the Credit Agreement.

[ The remainder of this page is intentionally left blank. |
IN WITNESS WHEREOF, the undersigned have executed this Letter of Direction effective
as of the date first written above.

[Signature Pages on File]

[Signature Page to Direction to Credit Bid]
Exhibit A

Agency Agreement

[On File]
Exhibit B

JV Letter Agreement

[On file with the Buyer]
Exhibit 8.1

Sale Guidelines

EXHIBIT 8.1
SALE GUIDELINES

A. The Sale shall be conducted so that the Stores in which sales are to occur will remain open no
longer than during the normal hours of operation provided for in the respective leases for the Stores.

B. The Sale shall be conducted in accordance with applicable state and local “Blue Laws,” where
applicable, so that no Sale shall be conducted on Sunday unless the Merchant had been operating such
Store on a Sunday.

C. On “shopping center” property, Agent shall not distribute handbills, leaflets or other written
materials to customers outside of any Stores’ premises, unless permitted by the lease or, if distribution
is customary in the “shopping center” in which such Store is located; provided that Agent may solicit
customers in the Stores themselves. On “shopping center” property, Agent shall not use any flashing
lights or amplified sound to advertise the Sale or solicit customers, except as permitted under the
applicable lease or agreed to by the landlord.

D. At the conclusion of the Sale or the Lease/Contract Designation Rights Period, as applicable,
Agent shall vacate the Stores in broom clean condition; provided that Agent may abandon any FF&E
not sold in the Sale at the Stores, the Distribution Centers, or Merchant’s corporate offices at the
conclusion of the Sale or the Lease/Contract Designation Rights Period, as applicable, without cost or
liability of any kind to Agent. Any abandoned FF&E left in a Store or Distribution Center or
Merchant’s corporate offices after a lease is rejected shall be deemed abandoned to the landlord having
a right to dispose of the same as the landlord chooses without any liability whatsoever on the part of
the landlord to any party and without waiver of any damage claims against the Merchant. For the
avoidance of doubt, as of the Sale Termination Date or the conclusion of the Lease/Contract
Designation Rights Period, as applicable, Agent may abandon, in place and without further
responsibility or liability of any kind, any FF&E located at a Store or Distribution Center or
Merchant’s corporate offices.

E. Following, and subject to, the entry of the Approval Order, Agent may advertise the Sale as a
“store closing,” “going out of business,” “sale on everything,” “everything must go,” or similar-themed
sale, as dictated by the Approval Order.

F. Agent shall be permitted to utilize display, hanging signs, and interior banners in connection
with the Sale; provided, however, that such display, hanging signs, and interior banners shall be
professionally produced and hung in a professional manner. The Merchant and Agent shall not use
neon or day-glo on its display, hanging signs, or interior banners. Furthermore, with respect to
enclosed mall locations, no exterior signs or signs in common areas of a mall shall be used unless
otherwise expressly permitted in these Sale Guidelines. In addition, the Merchant and Agent shall be
permitted to utilize exterior banners at (i) non-enclosed mall Stores and (ii) enclosed mall Stores to the
extent the entrance to the applicable Store does not require entry into the enclosed mall common area;
provided, however, that such banners shall be located or hung so as to make clear that the Sale is being
conducted only at the affected Store, shall not be wider than the storefront of the Store, and shall not be
larger than 4 feet x 40 feet. In addition, the Merchant and Agent shall be permitted to utilize sign
walkers in a safe and professional manner and in accordance with the terms of the Approval Order.
Nothing contained in these Sale Guidelines shall be construed to create or impose upon Agent any
additional restrictions not contained in the applicable lease agreement.

F, Conspicuous signs shall be posted in the cash register areas of each of the affected Stores to
effect that “all sales are final.”

G. Except with respect to the hanging of exterior banners, Agent shall not make any alterations to
the storefront or exterior walls of any Stores.

H. Agent shall not make any alterations to interior or exterior Store lighting. No property of the
landlord of a Store shall be removed or sold during the Sale. The hanging of exterior banners or in-
Store signage and banners shall not constitute an alteration to a Store.

I. Agent shall keep Store premises and surrounding areas clear and orderly consistent with
present practices.

J. Subject to the provisions of the Agreement, Agent shall have the right to sell all Owned FF&E
at the Stores and Distribution Centers and Merchant’s corporate offices. Agent may advertise the sale
of the Owned FF&E in a manner consistent with these guidelines at the Closing Stores. The
purchasers of any Owned FF&E sold during the sale shall be permitted to remove the Owned FF&E
either through the back shipping areas at any time, or through other areas after applicable business
hours. For the avoidance of doubt, as of the Sale Termination Date or the termination of the
Lease/Contract Designation Rights Period, as applicable, Agent may abandon, in place and without
further responsibility, any FF&E at the Stores, the Distribution Centers, and Merchant’s corporate
offices.

K. Agent shall be entitled to include Additional Agent Merchandise in the Sale in accordance with
the terms of the Approval Order and the Agreement.

L. At the conclusion of the Sale at each Store, pending assumption or rejection of applicable
leases, the landlords of the Stores shall have reasonable access to the Stores’ premises as set forth in
the applicable leases. The Merchant, Agent and their agents and representatives shall continue to have
access to the Stores as provided for in the Agreement.

M. __ Post-petition rents shall be paid by the Merchant as required by the Bankruptcy Code until the
rejection or assumption and assignment of each lease. Agent shall have no responsibility to the
landlords therefor.

N. The rights of landlords against Merchant for any damages to a Store shall be reserved in
accordance with the provisions of the applicable lease.

O. If and to the extent that the landlord of any Store affected hereby contends that Agent or
Merchant is in breach of or default under these Sale Guidelines, such landlord shall email or deliver
written notice by overnight delivery on Merchant and Agent as follows:

If to Agent:

GA Joann Retail Partnership, LLC

c/o GA Group

30870 Russell Ranch Road, Suite 250

Westlake Village, CA 91362

Attention: Scott K. Carpenter and Tim Shilling
scarpenter@brileyfin.com; tshilling@brileyfin.com; legal@brileyfin.com

2
With copies (which shall not constitute notice) to:

Lowenstein Sandler LLP

One Lowenstein Drive
Roseland, NJ 07068
Attention: Andrew Behlmann
Tel: (973) 597-2332
abehImann@lowenstein.com

If to Merchant:

JOANN Inc.

5555 Darrow Rd.

Hudson, Ohio 44236

Attn: Ann Aber

Email: ann.aber@joann.com

With copies (which shall not constitute notice) to:

Kirkland & Ellis LLP

601 Lexington Avenue

New York, New York 10022

Attn: Joshua A. Sussberg, P.C. and Aparna Yenamandra, P.C.

Email: joshua.sussberg@kirkland.com; aparna.yenamandra@kirkland.com

-and-

Kirkland & Ellis LLP

333 West Wolf Point Plaza

Chicago, Illinois 60654

Attn: Anup Sathy, P.C; Jeffrey Michalik; and Lindsey Blumenthal

Email: anup.sathy@kirkland.com; jeffmichalik@kirkland.com; and lindsey.blumenthal@kirkland.com

Exhibit 11.2(m)

Promotional Calendar
see serie

9IT
suse esHol] sute6 7sHo) (oa) foa)] ene seoerert 6e | NWT
e Nos j/eara Rag INO, Jeon.
Se MOE / EST nee / 00/2657 %OF OF Oe %Ob [ea] uno), |eanay P20 MCA IEA on azfet| quanyoe/et
AY “OAM
SH466 2540) Sud66 2540) (ba) tay] COM gene /a/T 6p | NVI
ei JNO, [Bar Bag ING, Jeon \
moe NOES veSe/sH02/%6ST HOF OF OF 60h JE@q] INO, |EanoY IP8G IMOATPAAPY) a snyazyet| quar] 92/21
aay “OAd
: , ep r+ Td) Ball uns/seoe/s/T 6h [NVI
6rSSud (a) digeoz OF OF { (dip) a1ws ‘Has Aep-p
*s ) puapee Bp) JTyS ANS AED-E P¥) quangge/et] wena 9¢/zt
ebMd/ap [33d
. . . (9d (dl) yes[seoe/e/T ep [oad
* 4 App 4 ABP
6bSsHd (a) aissoz (3)%05 (o)s605] — (a)s605 “Or (a) 9805 ‘sor (ip) 31ws “ans Aep-e) ip) Svs eHANS AEPY! a ge fet) quangoz/2t
. . . ' eLpAet 9) (a) (aa}] wa] seoe/e/T ep | 290
‘ay " Aep- ay 4 Aepe
6rssud (a) digeoz (abaos (o)ao0s) (3) 0S “Or 405 60P (Sip) aiws ‘ans Aep-_e| = (Sp) ays ‘z#ans Aep-y Meee) esq 92/ct
: . ‘ Dal faa} nun seoe/e/t ep [330
‘ a ‘ang Aep- ‘si ‘ Aepy
6eSSu4 (a) dee (3) 05 (o)05] (3) 805 “Ob (3) 805 “360P (ip)aivs ‘ans Aep-e) (2p) ws ‘Zw#ans Aep-y Meera) esq 92/ct
Dal (od)) pam|seoe/ T/T ep | 90
e . + Arg sJba, Ma
OC S<SUI66 ES (a) aissoz (a) da Ls0€ Hd LOE OF OF OF 60h PUSHPA MON] os onsazyet| quanyae/zt
(a) (aa)] ani[eeoe/te/et [er | 3390
a | a
OC S<SUI66 ES (a) aissoz (a) da Ls0€ Hd LOE OF OF HOF 60h eel w9so7/z1
(oa) fog) NOW] Peoe/oE/er Ya [530
5 5 ( 5
OC S<SUI66 ES (a) aissoz Hd LOE wor] 15 “S60 eel w9so7/z1
Dal faa} uns/pene/eefet fer [ad
< . i" 2 " axe Ap) 90 * Aep- ap) $a0 * AgpH . .
OC S<SUI66 ES (a) aissoz (3)%05 (als0s ‘OF (Col ss0s ‘seop] (pu P} 5,90 “ANS Aep-e (31p) sag "ans Aepe eel 9s o7/z1

fb) ep | 4d

an . . ' (9d (od) qes/eeoe/ee/er = [ee | a0
* mip) sad“ Apps ‘dip) sad" Ap
O2S<SU466 ES (a) dee (3) 05 (o)05] (3) 805 “Ob (3) 805 “360P (Sip) aq ‘ans Aep-¢ (Sip) sad “ans Aep-e eect wen o2/z1
a : . ‘ Dal faa} uafeenefveser fee [330
* mip) sad“ Apps ‘dip) sad" Ap
O2S<SU466 ES (a) dee (3) 05 (o)05] (3) 805 “Ob (3) 805 “360P (Sip) aq ‘ans Aep-¢ (Sip) sad “ans Aep-e Meee wen o2/z1
Dal a} nuLfeenefsefet ee [aad
a . a x ‘ 5,00 ‘ans Aep- ap) 5,0" ARP
OC S<SUI66 ES (a) aissoz (3)%05 (o)s605] — (a)s605 “Or (a) 9805 ‘sor (Sip) sag "ans Aep-¢ (31p) sag "ans Aep-y wanggz/et| sang sz/zt
pam[peo/se/et [zr | 59d
. S00 JO ues Apes ou (Dd) (od+1}
. . . A
O@s<S4 (a) diseoz ()s05 Ca)sas]  f 5,90] 40 HEIs Ajeo aug dea seunsuyy] quangaz/2t| wena s/t
a bal] (addi) ani fezoe/re/er fer | a0
} BUSI p) 4, Agp-
ORS<SUI66 ES sor) (3) 9605 “KOR 9608 (1evStP) S80 AOMTAEPL| oy gzyer| — quang s/zt
WWINSS+ Da (adil) uow)peoe/eeet ep | 33d
. Aep-
OCS<SH466 ES OF OF Ob Aeg seunsiiy {rewBip) sia@ AOdT AeP-£ quang ¢/2T) wang c/21
i ur
OC S<SUI66 ES OF OF OF 60h aeiangs WuALWeL a coasnay] NYO VG
(1ey@ip) aq AOd) Aep-2 quan f/2T) wang 6/27
+ (WEI) $80 AGT AEP e a fe

Sh |S | 390
SBUUEYD IE OT a yes] Peoe/Te/21 op | 34d
as ons (ad474) (od+1} Mere
O2S<SH466'ES| llouj ssauddng, eOr BOF eOr Ono Bg SIND] SuO}S Papuapy quang f/2T wary S/ZT
(a) dseoz (1ev@ip) aq AOd] Aep-2
SSUUEYD YE Wd) pee foe /eT op | 940
3d*14 (d+14}
OZS<SH466E$) wo ssouddns, *OF OF OF 0b {leap} 5,40 AGG] Aepy (0 94 wan ie quany G/2E
(a) diseoz + (1eUeIp) $80 AOdT Aep-e
SPOULIELD TE] 5 , tog414) foarigy| ME peo2/eL/el = |r | 330
O@S<SH466 ES] wow sseuddng, Oe OF Oe Ob | . .
$ 8 ' * {1ev3ip} 5,90 ADT AEP-L quang get) wang s/2T
(a) diwoe
(a414) (addi) pam)ecoe/et/er lar | 330
BG Bap) s, Aep- .
02 S<SH466 ES (a) aiwoe Oe HOE Oe 0b (ewip) $90 AOd] Aep-t (lewsip)s;aq Ad Aep-c| qweng g/t) wang s/zt
a . a+14) (addi) anLfezoe seer [ar | 330
BS apg ay
O2S<SHdB6 ES (a) dee *OP 0b OF SOP ayes ang Suu wong g/t] wang s/zt
a+14) (addi) UoWw)Peoe/atfet ap | 330
i 4 BES GUS GIN
OR S<SH 466 ES (a) diseoz OF OP OF OP NES OWS CUA] aise efeT|  w)Aa S/T
ung/peoe/st/et = [ab [53d
{ev@ip}
(/ewaip) sad AG Aep-e+
papaaul se s.qq puayaaya, 3d*14 (d+14}
OR S<SH 466 ES (a) diseoz OF OF OF 60h (Quid) 5,aq p { !
(uud)sqq]) quang zfet] — quang G/T
LMOP JUNOT SBLUIISY ABp-p
Up se woY AEPOH AEp-p
sb] sp | 99d
StAd StAd vid StAd veAd StAd ved Std vid Std ved Std veAd Std StAd wd OWN
ONIddIHS sidO08 1eri10 qd jegig Wid Feajaig 40/pue upd wud
/AjuQ au, dil Id juanaqns quang Areulid

JOpUaoy /OVONOLUIOS GFOZAD
peany) paloig

(w) ZT awa

JEPUAED [EUCHOWOd TO Tad
see serie

910%
eames | NVI
AHN] Hsia (5) 9909 7 ‘a} yes|aene/T/e zs | NVI
6pssud (a) aiggoz (sh909) dv (3) %0S) fa} s05 “KOR (quud) sows ‘ans Aep-e| — (quud) avs“ans Aep-e a a
. quany Lz quany 0/1
dd¥ (3) 605
dH/Na) dia (5) 609 (oa) aa) wa] seoe/Te/T zs | NWI
GrSsus (a) aissoz (sheiog)ddv(2)905) fa} eos ‘OF fund) sivs ‘ans Aep-e| — Quud)anys’ansAepe]
: JT/2) wang oe/T
dav (3) 905
dH/na| dH/ina (s) 09 oa gon) Ba) ny fseoe/oE/T zs | NWI
GrSsus (a) aissoz (sheng) dd (3) 9905) fa} eK05 “HOF (quud) sys ‘ans Aep-¢) Quid) aivs‘ans Aep-€ :
dav (3) 9405 query T/2) eng 08/T
a pam] sece/6e/T zs | NWI
1
6eSSu4 (a) dee OF OF OF SeOb | (3) yang duqe4 yooqs aunjug alu preys AWey Ate ia (14}quang 6/7
[aH ONT a an] [sane /ee/T zs | NVI
5 OF dH ON “y) quiang SUqey 4yD0]g au a and 6
6eSSu4 (a) dee “oy OF S40p | (3) yang uqey yaqqg aun an T/T (14}quang 6/7
tu) wow] sen /ee/T zs | NWI
“3 qWaarg dUqe4 yao]5 augu Wd ue: T
6bSsHd (a) also HOF OF HOF seb) (J) aang auqey yoors eanUy and T/T (14}quang 6/
tu) ung [sene/ae/T zs | NWI
6bSSud (a) diseoz OF OP OF S60b | (3) wuang suqey yI01s auNUg ee (14) 1uang 6/T
(dd tu) aes een /se/T Ts [NV
erssud (a) also ous} dumOB] ou (al sos ‘60r (o}esos ‘s60r) — {lewetp) ITWs “GMs Aep-E) (eUelp) FTyS'ERANS AEPE] Ty a (14}quang G/T
(abesos
1 WU. T T
6eSSu4 (a) dee (3) 05 (3) 9805 “OF (3) 805 “360P (reveip) as “ans Aep-e) (jey8ip) Tiws"ewanis Aep-e Ate . i tajqwangert} 4 seneivert Sy Nw
Oa nyifsenefee/T Ts | NVI
6rsoud (a) aissoz (abe (oo “Or (o}esos ‘s60r) — {lewetp) ITWs “GMs Aep-E) (eUelp) FTyS'ERANS AEPE] Ty a (14}quang G/T Heel
4 am |Sseue/ee/T Ts [NV
6bSSud (a) diseoz OF OP OF 0b AES BUS GUNUG ; na) (1y}quag 6/T p Fees
quang TL/T
ld an. I T
erssud (a) aioe Oe OF Oe Ob ayes aug SUU enh : (14) quand 6/T Lyseoe/ tet S| NV
1 uo] T T
6rSSHd (a) aloe atte Oe yes aug aU Mal 1a) quang er] LOM] scoe/oe/t Ss | MW
wang T/T
—— Tandy Osi ung [seoe/6/T Ts | NVI
{a’s) 9609 * Ua:
6bSSud (a) diseoz OF OF 5) 9609 SOF 5,80 NAMM ‘ANS Aep-p wang TL/T (14). 6/T
osMa[os | NVI
, (qu : 4 . qes[seoe/et/T 05 | NV
*05 quud " § a
6pssud (05 “OP OP saa nmm‘ansAep-y| ue) aarewans ee (14)quang 6/T
| bo) fund) Oa wf seoe se t/T 05 | NVI
(3) to iG quud " § a
6rSsud : (3) 805 “Ob OP saa nmm‘ansAep-y| uve) aarewans eh (14)quang 6/T
Tandy : Osi ny [seo /ot/T os | NVI
305 uid " AEp-S Ua:
SbSsud 105 “MOF 260 sganma‘angdepy| — M4) sa’ewans yuang rt) (3) aa 6
4 am |sece/S0/T 0s | NVI
6bSSud (0) disoe OF OP OF 0b 5,90] 40 HEIs Ajeo aug SUID $5,910 LEIS Aey yuany : ” (14}1uang 6/T p isu
ld an. T, T
epssud (a) aioe Ob “OP Ob ago] AMO auN|UO 5,90 IA) puapa SIPS OWS INET) ang we tafquang est] ML] SCOe/b1/T os | NV
{ fa) wow Seo /ET/T 05 | NVI
6pssud (a) aioe ns Aep-s ales apg aug (14) quand 6/T
ki wang T/T
Ed) AA
Quand Gund} fay ung/seoe/et/T os | NWI
i Thus T
sresud (a) aissoe $40 NM ‘ans Aep-< Sad nMM.ans Aep-p] quay TIT Ta)awend 6/
6ravder | NWT
. wu 14 . yes [Seoe/ TTT 6p | NVI
6rSSud (a) deo 14) quay
*s ) { S80 NAW “ANS AEDS S00 1M as Mee] aay TIT { 6fl
fund) Gund} Osi wi] seoe/oL/T 6p | NVI
F . . q4}queg 6/1
erSsud {a) aio ( 5,80 NM ‘ANS | saa nmmans.dep-r| quang ris] 9 6!
und) und} tial! nyi [seo /6/T 6b | NVI
F . 1uaA,
erSsud {a) aio ( 5,80 NM ‘ANS: sad 1M ans auang prt] 3) 49" 6
- - (a) (od) paral seoe/e/t 6b | NVI
SUIUG Ss, ye e: LIU S. bys AWE:
6pssud (a) aioe Oe OF Oe %Ob yuo sag weIS Aueg aumluo S90 WEIS AVA! sa azyet| quang ge/et
Std StAd rtd StAd PEA StAd bead std rtd std bead std bead Std Std Md OWN
SNiddlHs $id08 jevidig uli jeueig Wid FEM 20 pue dulid Wid
J Aug suljUuG di Id juanaqns quaAy ALeWwId

JEPUAED [EUCHOWOd TO Tad

Seance

QE
uo
60e sor sb Oe Oe frag ino, eavay 44 /Bujeds waqse9 "Y3e| “ayqIpaNUONAD dH (oaeaauesg gfe] adetu}aueng gayz] Cubawana gaye) “MYStOeIOMe 4 a
(Des {o)so0s) (3) sa09 e0P Oe (uw) ays ‘ans Aea-¢| Lo suarEe [e1(igp Aep-T uosuape [enip Aep-t] Sana)immea eye] debwanaeeiz] fabaveaeciz| SLOZ/6/E 4 al
(abso (ales) (3) sao5) (Shes kor] (3) e005 er (uw) ays ‘ans Aea-¢| fund) ays ‘ans 4eq-e| (iuyd) tvs ‘ans 4ea-c| (arta) quea efe]  foaeta}ivenage/z| fu}iuergee/e)  3]5°8% ve 5 aw
J.
(abso (ales) (3) sao5) (Shes kor] (3) e005 er (uw) ays ‘ans Aea-¢| fund) ays ‘ans 4eq-e| (iuyd) tvs ‘ans ea-c Qarta)quera cfc] oaeta}awenaez/z] fuauerazese) seneiere 5 we
fi
60 (o)eeos) (3) 8805 (2) 9605 "HOF] (314809 eOe suaysnqunog BURL (upd) ar¥s “ans 4e0-e| ‘huyd) ayys‘ans dea-e] (arts) quaea Efe] (oder) wvanaee/2| (iauang geje| MH SeHEIE 5 awe
nna Sroe/S/E s uv
ee ‘wh ‘SOb le ee S819N¢200g BURL) dH @1g)pS.5u0n0> / (Bag ane, jeaney (ad14) 184g E/E) (odsTd}awerg gave] fa} awang ¢2/e pe ‘
Sa]sm ul
cone a ‘OF OP “oP ae en dH a|qipanuoye / [Pag ING, [EANaY (oarta}tuena gfe] {oaets}auena ez/z| tupauena zcje| “| S7OEM*E 5 ai
Sa]sm ul ‘uO
ae oy ‘Ov ‘SOP se ae en 4H a]qIpanuoyo> | [Pad INO, jearay (agtia)iusea efe|  fodstabwuana gz/z| fus}auana az/e] UE SEHEIEIE 5 we
Fao TEP ung|s2nzfese a wy
saaysn Aep- sm Aep-[ #eu uae S050 App
(a) disse (z} OP %OP le stu fines spur eee ot ee Tel + (puaiae fy) susrsmquoog AEp-e) (aga) iuerd Efe] (adetd}awerdge/z] {14} auang sz/c|
SLL Aue 7% SPURL
ed a4
SRISNC OO Aep-£] JU) SSM IOOG ADE] JUL) SSM ARp-¢| ves]seaz/Tve F wd
(olalsse (2 ‘ie he ro espe mnt sntst sl Aitueng  spuajsy] ATTA) WONG Ele) (ode Ts)amang gee] (14) uaNa Lz/e '
: Seysnq 00g Aep-g| fund) ssaisnquong Fep-E fund) Saisnquoog Fep-¢ ta] scoe/eere P wa
(a) dbsasz (21 OP OP Sid AUR > SPUN Syd AjuueS SPURL sal uy @ spuayy] 2S HVRRA E/E) (daetsauana gee] (ab ruera cz/e
- Tundy siaisnqioog Aep-F| Tandy saismqioog Fep-¢) Td ny | Seog stele * a4
(3) assez (z}} OP Oe auyN Ayes LeIs suaysnqoo SL MIURA SpUBL 5.4 ANURS  SpUBL quad st/e (adei)auanagefz| (1a) suang c2/z
Ta) qed
COPE e05 ee 12) 32984 S05 Sat or soy 13) SUEY S605 "Sette Sng FOH SUgUO BUC A] eey (ods Tdbawerg §Tf2) fab wang eL/e Pann) senie/sere . a3
3) a an
13) Suey 605 12) 32984 S05 Sat Tayouqes 13) SUEY S605 "Sette (a)soera Sng FOH SUgUO Byes us eun.uy (ods Tdbawerg §Tf2) fab wang eL/e i ]seaeisele . as
° wor]
(o)ougerseos| (3) 2u0ey ss05 “sor! (2) ouqed sos “OP sing 20H auguC) aps ans guy oastbauang stfz| fabauang enfe) “ME SEORPEIE ¥ 4
ul
(Sheets} (3) eeqea aos “Seo (3) 2uqey 820s “OR (und) ais ‘ans Aeg-£) OSU Ne [ey fiap Aep-T bo suape [el fig Aep-T (aeTsp wen ST/z} a} aueag ere] inspseucsecie . 33
EME a4
(>) se0s {ass} (3) 05) (abse0s kor] (3) 605 eo (upd) ays ‘ans Aea-¢| fquud) ats ‘ans tea-¢ (auud) atvs ‘ans fec-e astibiwegst/z| fabaueg cr/e) MS]SeOe EEE £ wd
J.
(Des {o)so0s) (3) sa09 (D)se0s “kor (3) s005 “eon (und) ais ‘ans Aeg-£) upd) anys ‘ans 4ea-e {aud ais ‘ans dea-¢ a bashed stz| fabiuewa ete) senettee £ a4
Ad fi
ee To)s0s) (3) 308 COPS "HOR] 12) 805 S60 ‘BIES S415 Supuy fupd) 31s ‘ans Aed-e (upd) 31ys ‘ans Aed-e ae (ods Tdbawerg §Tf2) fab wang eL/e ‘upseucsoere é a3
FH iM SEOCIBTE E a
ee ‘wh ‘SOb le ee ‘BIES S415 Supuy (Sueygo Id) SPU Gey ae (ods Tdbawerg §Tf2) fab wang eL/e pe
OP Ot a0 OP OP @[PS aus Bua (sagpo va) spud aed a Qaruhwera sti] Gajewa rz] SCOgEWe £ a
ang ‘ae! . Quid) sueqsiquocg ABB Abc) Say (Quumud) sueysnqyoog) Aep-y AB S824 (Quaud) sueysnqyoog) Aep-y ABg s8aq Td} . mown) sends e Bie & a4
fabseog is)s0a) — (s) 509 {shoes “sson] {s) 609 “EOF penteaeenee fas ea S,1apisa sg Pei (detpaweng st/z]  fa}aueg et/e
vid ul
{ahyso9 {s)eso9] —(s)ss09 {s}9e09 "90%] {5)3809 "60% fuji) sseasnquoog feg-» Aeg so44 upd) sseisnqaoog Aeg-g 4eg a4 fauna) sssnqicag aea-steasoig] PSN) aergyauara stye] tuytamana erje] S/O Te ms
amalé aad
y
(3) aL sao7| OP ele fund) sarsmqoog Aeg-p ded sadd fluid) ssisnquoog Aggy Aeq sasd upd) ssaysnquoog eq Ae sarq Daetdbaweg stiz} faba exe] es /ScuciS Ee ‘ a3
. upd) seisnqsoog deq-—7 Apg said ya) Sze ene z wd
(3) aL ssog ‘ie he (aud) sseysnquoog Aeg-y deg $344 (aud) ssranquoog Aeg-s Aeg say eg 5, 2UR BORER wong gr/e| Od b wea ST/Z) Cu} auasd et/e
TL zt aad
(3) diese OF 80% (Aep He} @uI]uo Aeg seug 14695) {iuud) ssersnquoag segs AeQ $044 fauna sseasnquoeg Meas AEM 84d) ag Ee (oderalauens stfez| (rglauengenfe| EPEOR/ERIE
. (Hep 92) SuqnD Ae Seay 1215) fy UCT) AYO e+ Td Od see] pans |szog iene z wd
ue e0t| 0b %OF ule sAng 10H @ugUg) Ara 5, auyu wer Ayeq)  gonjiwasdg z/z a uaa O/T
SANg OH SURI) Spuly ej M20 FeAl id Od afeete any senesEL/e é a4
: a ie N
OP Ot a0 OP OP an pea WORN WOdNOD AW Dd] Sa aisag zfet (oa) aaa T/z 1W9Na OE/T
Spun Gea fed FA Da Ded of eelt wow Seng Obie z wi
SAI ul LO POWILUOT Lod nos Apuo LMS:
te OF ‘s0F ‘ie 608 1 POH SUNIL) Pe eae HOUIIO UOANOD ANU Dd] Oy esas zi (3a) ang 1/e 1989 O6/T
TOGUNUED UoNOS AyD q+ Da ad of ett scoz/6/e z wi
waoq! 1a,
ee ‘wh ‘SOb le ee 26 [mod sading 5 eg moqedns| goniueeaz/z (a) 4d Wwe
Ta] aad
. WOLJOWMINT) UOMO) APU he d Dd ofeeitia) ves szoz/e/e T Wd
. " . "ans dep: ‘juai App : Vea:
(O05 To)s0s) (3) 308 COPS "HOR] 12) 805 S60 (evap) Tvs “ans Aep-g) C ) FS "ais AEP e 1d) jvS"ans4ep-e] goniaussa z/z (a) 4d Wwe 1uaN] OE/T
DOOUMEDD UOTNOD Ayu Ie De Ded of eelt wal sear yee T wd
. " "ans dep: ‘juai "ans AED : Vea:
Cobos (owes) (o)809 (obseos "9une] Co) S808 "ee (eve) Tvs ‘ans Aep-e| (uud) aTys "ans Aep-e| (ue) syys’ans Aep-e| gonauesg z/el (ad) wuaeg Tz 1989 O6/T
od nui eeoeraye T aad
YOLJOUNUD UOMO: ApUO d+ {Dd Od 9/z+(tea))
(UO) SUD |S ap | . . " . " Agp- usu, ABp- ; ua,
a ee Cobos (owes) (o)809 (obseos "9une] Co) S808 "ee (eve) Tvs ‘ans Aep-e| (uud) aTys "ans Aep-e| (ue) syys’ans Aep-e| gonauesg z/el (ad) wuaeg Tz pacer
na GOES IE T wd
ee ‘wh ‘SOb le ead Ino, jearay 7S ABp-£ yO LEIS Ajaee BuyUCy| ‘Buy Mes AYES goT)quERg Ee (ag) dwaeg Te] (Ed }awang O/T pe ‘
De an seo ele T aaa
ce A
0 at ‘30P OP Frag nog aay rag AmsAyy Feed MOA HAUS ame zie (oa) use Tz) (fia) auerd o¢/T
id wo) S20 Fe T a4
Hi A
0 at ‘30P OP Frag nog aay rag AmsAyy Feed MOA HAUS ame zie (oa) use Tz) (fia) auerd o¢/T
{Dd uns] szoz/efe t 34
- ay 3 LMS: Lees:
ee ‘wh ‘SOb le PEEL z Ses 3eqeY go1)u843 z/z (ag) dwaeg Te] (Ed }awang O/T
OTAd wzAd SZAd OzAd SZAd OzAd #iAd SZAd gzAd wEAd SZAd ozAd OTAd Nd OW
meg aul (eH Jo/pure puny JULses
tel quaAegns uA APU

JOPUBIOD (MOIOWN YT IZ0ZAF
peasy yDelo4g

SEPUBIED |EUOTOUWOId TO TLAd

Seance

S50 p

oid uy
4 - 4 4 4 yes Sz0Z/ST/E Wi

(>) se0s (D)se0s “kor (3) s005 “eon (rasp) aivs “ans Aep-y {reagp) ad “ans Aep-y (revamp) ga “ans Aep-r| (adtaj uae cf) (Ddetdpauenagefz] fa} auea sz/z|
S2/E- ELE SOd1 SAN Dee eet ae ua) sete sete uy

(>) se0s (D)se0s “kor (3) s005 “eon Ard 5 35ed 1S ieee ae (revamp) ga “ans Aep-r| (adtaj uae cf) (Ddetdpauenagefz] fa} auea sz/z|

(evap) v5 “ans dep
4 - 4 4 4 MUL) SZOZ/ELS Uv
OP (Shes kor] (3) e005 er (rasp) aivs “ans Aep-y {reagp) ad “ans Aep-y (rua) gq ‘ans Aep-p] aera) wera c/e] (at td}awanage/z] {4} iuena szfz "|
Oe SP 0b OP Oe Fad Ino, ooy “PAL “S| qIpAnUoNOS idH (aala}ieeg eve) {adetabaeeged/z) fi} ae rz/e) Panmpscocie lie we
‘any
ee ‘wh ‘SOb le ee ead Ino, jearay 4 ups “SSE “YS! | “S| PBIIUONIOD 6H (ad14) 184g E/E) (odsTd}awerg gave] fa} awang ¢2/e Asenerture awe
ozAd wrAd SzAd ozAd SzAd ozAd PrAd SzAd ‘BzAg wad SzAd ‘SZAd ozAd OM
meg sue fevdiig Jo/pue yung Ue
tel quaAegns uA APU

SEPUBIED |EUOTOUWOId TO TLAd
Seance

Japon fesse eS VD PeGe

Sud 66°85.

Sapo FEsesudoG'eS + (DGS

TOhAL 452 (2)

(ahd 1 we (2)

Cob Leese (2)

To) dbs (2)

(oh Se (2)

gyo5
; ; wor] soz /0We a Wi
SU 66°25 (olnsz'(o}s0e (OPS T:0Ay (a) auseaz wv
puo SSeS IGG TS + SES AEST Sui66°¢S JopuO SES<SU166 TS + SES<(a EST (a) arseoz tims /Scaci6/e 8 aw
spo Sesesus6e 2S + (A ROE Sui66°¢S FapIO SES<Sud66 7S + (AOE (a) arseoz es/ Sc0c B/E 5 aw
spo Sesesus6e 2S + (A ROE Sui66°¢S FapIO SES<Sud66 7S + (AOE (a) arseoz wayseneiese 5 we
ti
s9p00 SeS<Sus667S + (BPKOZ sus66'2 sopun geS<sses 2S + (KO (a) a1%oz tufsene/sle 5 awe
Suse c6+(Ohese/or/sr Suse co+(Ohese/or/sr pana scog/s/e S uv
- ;
SOPUO SehesU the eS + (APE + faz Jap FES csidbe eS + Ae + faz
- Tsee coe OMese Nese Risee eo" OMese NSE any sco /P/E a avi
FPO SES<Su166 7S + (arene (SeUUENS pe) sHiog OU ane
- Tsee coe OMese Nese Risee eo" OMese NSE boyy | sence e s uy
FPO SES<Su166 7S + (arene (SeUUENS pe) sHiog OU ane
ung) Seng ere g uy
Japio GES<5466°ES + {I PeGE SHA 66°ES pio GES<SuI66 ES + (DST {o) aL esc {z) (DhaLsz (z)] (DbdLsesz (Zz) (a) dissz-z) (D>) dase (z}

a
yes] seng/T/e r an

JapIo SeS<s466 eS + [Dee Sud 6676S apo SES<SwdG6' ES + (DPEST {Dhal esz fz) (Shabsese(z}) (ba.sesz (z) {ajabsse{z} (D}dbsasz (zh wa}sene/me/e e au
ti
Japuo Ses<sudeg €$ + (OReac Sud 66°85 apie Ses<susee' eS + (OhasZ (Ohansz(zi] (obarssz (z) (Ohansse (2) Misenerere ¥ ay
S990 GES<U.466'75 + (HOT Sud 66°ES saplo GES<S11166°7S + (az (a) aiesz pana /Se0e/acie * 34
ann Seog feere ¥ aa
sapio GES<SU966'2S + (AOL Sud 66°TS sapuo SeS<Si1166°2S + (ae0z (a) deoz
sp SES<SUI66 7S + {A PEOZ SHA 66°TS FapIO SES<Sud66 7S + (AOE (a) auseoz WOW) SEOE LIE e a
ul
pio GES<Su466 TS + {a ROE SHA 6671S apn SeS<5us6e zs + (aROZ (a) aiseoz ing) See FEL * wad
tana] e wa
Sudee rs +(e Peoc Sud 66°TS Sud66 bs + (a eeOr fa) aoe WS/Sc0g/ee/2 E ad
Sudee bs + (Bee Sud 66S Su466 bs + (aor fa) asoz Ha sene Tele £ Wa
ti
Sud66'rS + (A)02 Sad 66°TS Sus66'S + (aleeoz (a) doz ub Szoe/ocse £ a4
sus66'rS + (BRKOR Sud 66°TS SiLi66 pS + talnanz (a) aioe penn[scneietie |e au
Susee rs +{apeor Sud 66°TS Sude6 bs + (aeoz fa) ancoz anu seog eye £ wa
uo
Winsd + (a Bez WISE Winsa + falscoz fo) asa wn) sz0eseL/e £ aad
ul
Fined +(ameoe ins pinisa = (alone {o) aieaz ins szoz sole £ 4
a
v
Sui86 TS + {ROE SHA 66°TS SHI66 TS + (DiRDE (a) ausoz (Dhansoz] (Dhan soz (a)ansoz| — ()anseoz) PSHE é 33
.
suls66 TS + (3602 Su 66°TS Sus66ES + (bM0z (1 asoz (ohaLsne] — CobdL soz {ovaieoe| —Codanswoe| SOE Ye a
TL z a
ss66'TS + LalReOE Hd 66'S Su466' TS + (alone (ohdiswoz] — CobaL ome (a) aL woe aenereHre
Sut66 6S + (a PeOr Sud 66°65 {Oud Lit “Suse °es + faeoz fo) area Sd uy (apaaseoe| Pam) Sc0e/e tz t ad
ony
sus6e ES + (apeoz suie6 "eS + (aleenz (a) arseoz Sa uy (ahanseae! MY ScoesTUe ‘ 4
uo
SUs66'ES + (aIOZ sud66°eS + (aleeng (a) aueoz oe Uh Ca eOe WW se0z/0e z ad
u
SUs66'TS + (AROOZ Sud66'TS + (aloe (a) diseoz ad Ul (ahd bss07 ns|szoz//e e a
Teal E a
jOUNe}
suse6'?S + (aneOz wile aa sidee'2S + (along (a) aiseoz Sel Ul Cahdaeoz yes} szoz/e/é t 4
jOUNe} L
SUs66'25 + (BOOZ wile aa Sud66 2 + (aoe (a) diseoz ad Ul (ahd bss07 va)scoeiere r aa
nui eeoeraye T aad
jOUNe}
Sus66'7S + (AOR aeons Sus66°2S + (aleeOz (a) deoz Od UI (aL602
Sud 66°75
| na GOES IE T wd
{Su466'TS + (0) S2’02"ST GAY {owne}erSsa (suj66'TS + (ob 92°02"ST GAM (a) deoz Od UI (aL602 me ‘
{sus66TS +{0) scor'st gAu {oanelerssa (swiss 1S + fo} se'or'st ae fo) sz'or’st aaa Da 1 (apanse0z om |scozieie t wa
uot
{sus66TS +{0) scor'st gAu jomne}erssa (sui66°TS + (Oh se'0e'sT Ag fo) szoz'st asg Da ul (a hdasene| Wi) Scoctere t aay
u r
sus66'TS + (aneaz {omelersss sides TS + (alse (a) aiseoz Sel Ul Cahdaeoz Ins) SzORs ee 4
pA Std ‘ozAd pA STAd ‘ozAd pA StAd ‘otha zd Std ozAd Nd OW
feaig qu
SNIddIKS Sld08 FAG SUING) dl

JOPUBIOD (MOIOWN YT IZ0ZAF
peasy yDelo4g

SEPUBIED |EUOTOUWOId TO TLAd

Seance

gyo9

| [ve
pio SeSems66 TS + SESe(a ROT SHd66 EStd. | OUD Japuo SeS<SU466 TS + SPS<la Oe S166 EStd.L OqUIOD a wes] sr02/ST/E q AVI
lo ual szog/ele a wl

po TS + Hh wo Jay TS + Hh wo

pao SESESUIGETS + SES<La)BO SHIGE ES td L OM PuO SESeSUIGE TS + SEGA KOZ pce = dd) (0) Aloe
Sapo SESeSU466 TS + SESoLA OL SHIE6 EStd 1 OMUIOD Japuo GES<Sud66 TS + SESla OZ SHIG6 EStd 1 OMIT ae mu) SZ0Z/Et/ 3 =|
fobsz!(oksoz (ove tae (a) aiseoz pana [ Sense ble 5 wl
any
{olsz'(olsoe'tolssT :aKy (a) ausoz ulscoeinie = [8 wi
vEAd Std [ezag vEAd SzAd ‘OzAd vEAd SEAd ozAd wiAd Stag SzAd wa OW
feaig qu
SNIdd IHS sidog / Aug oem, dl

SEPUBIED |EUOTOUWOId TO TLAd
